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                                 Exhibit 1

                     Solicitation and Voting Procedures
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )      Chapter 11
                                                                         )
                                                         1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                              )      Case No. 22-10943 (MEW)
                                                                         )
                                          Debtors.                       )      (Jointly Administered)
                                                                         )

                                    SOLICITATION AND VOTING PROCEDURES

PLEASE TAKE NOTICE THAT on [●], 2023, the United States Bankruptcy Court for the Southern District of New
York (the “Court”) entered an order [Docket No. [●]] (the “Disclosure Statement Order”) that (a) conditionally
approved the Second Amended Disclosure Statement Relating to the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. [●]] (as modified,
amended, or supplemented from time to time, the “Disclosure Statement”) for the purposes of solicitation, (b)
authorized the Debtors to solicit votes with regard to the acceptance or rejection of the Third Amended Joint Plan of
Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
[●]] (as modified, amended, or supplemented from time to time, the “Plan”),2 (c) approved the solicitation materials
and documents to be included in the solicitation packages (the “Solicitation Packages”); and (d) approved procedures
for soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan.

             1.      The Voting Record Date.

The Court has approved January 10, 2023 as the record date for purposes of determining which Holders of Claims
in Class 3 (Account Holder Claims), Class 4A (OpCo General Unsecured Claims), Class 4B (HoldCo General
Unsecured Claims) and Class 4C (TopCo General Unsecured Claims) are entitled to vote on the Plan
(the “Voting Record Date”).




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

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       Capitalized terms not otherwise defined herein shall have the meaning given to them in the Debtors’ Motion for Entry of an
       Order (I) Scheduling a Combined Disclosure Statement Approval and Plan Confirmation Hearing (II) Conditionally
       Approving the Adequacy of the Debtors’ Disclosure Statement, (III) Approving (A) Procedures for Solicitation, (B) Forms of
       Ballots and Notices, (C) Procedures for Tabulation of Votes and (D) Procedures for Objections, and (IV) Granting Related
       Relief [Docket No. 779] or the Plan, as applicable.
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         2.       The Voting Deadline.

The Court has approved February 22, 2023, at 4:00 p.m. prevailing Eastern Time as the voting deadline
(the “Voting Deadline”) for the Plan. The Debtors may extend the Voting Deadline, in their discretion, without further
order of the Court. The Voting Deadline for any counterparty to an Unexpired Lease or Executory Contract which is
identified as rejected through the Notice Regarding Executory Contracts and Unexpired Leases to be Rejected
Pursuant to the Plan mailed later than five (5) days prior to the Voting Deadline shall be extended by two (2) Business
Days.

To be counted as votes to accept or reject the Plan, all ballots (the “Ballots”) must be executed, completed, and
delivered pursuant to the instructions set forth on the applicable Ballot so that they are actually received by Stretto,
Inc. (the “Claims, Noticing, and Solicitation Agent”) no later than the Voting Deadline. Delivery of a Ballot to the
Claims, Noticing, and Solicitation Agent by e-mail, facsimile, or other electronic means, other than via the Stretto
online voting portal at https://cases.stretto.com/Voyager/balloting, shall not be valid.

         3.       Form, Content, and Manner of Notices.

         (i)      The Solicitation Package.

                  The following materials shall constitute the solicitation package (the “Solicitation Package”):

                  a.       a copy of these Solicitation and Voting Procedures;

                  b.       the applicable opt-in release notice, substantially in form attached as Exhibit 2A and
                           Exhibit 2B to the Disclosure Statement Order, as applicable;

                  c.       the applicable form of Ballot, substantially in the form attached as Exhibit 3A, Exhibit 3B,
                           Exhibit 3C, or Exhibit 3D, to the Disclosure Statement Order, as applicable;

                  d.       a pre-paid, pre-addressed return envelope for Holders of Claims in Class 4A (OpCo
                           General Unsecured Claims), Class 4B (HoldCo General Unsecured Claims), and Class 4C
                           (TopCo General Unsecured Claims);

                  e.       the Cover Letter, which describes the contents of the Solicitation Package and urges
                           Holders of Claims in each of the Voting Classes to vote to accept the Plan;

                  f.       the Committee Letter,

                  g.       the conditionally approved Disclosure Statement (and exhibits thereto, including the Plan);

                  h.       the Disclosure Statement Order (excluding exhibits, except for these Solicitation and
                           Voting Procedures);

                  i.       the Combined Hearing Notice; and

                  j.       any additional documents that the Court has ordered to be made available.

         (ii)     Distribution of the Solicitation Package.

The Solicitation Package shall provide the Plan, the Disclosure Statement, and the Disclosure Statement Order
(without exhibits, except the Solicitation and Voting Procedures) in electronic format, and all other contents of the
Solicitation Package, including the Ballots and the Cover Letter, shall be provided in paper format, except with respect
to Holders of Claims in Class 3 (Account Holder Claims), who shall receive the entire Solicitation Package in
electronic format. Any party that receives the materials in electronic format but would prefer paper format may contact
the Claims, Noticing, and Solicitation Agent by: calling the Claims, Noticing, and Solicitation Agent at (855) 473-

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8665 (Toll-Free) or +1 (949) 271-6507 (International); (b) e-mailing the Claims, Noticing, and Solicitation Agent at
VoyagerInquiries@Stretto.com with a reference to “In re: Voyager - Solicitation Inquiry” in the subject line; or
(c) writing to the Claims, Noticing, and Solicitation Agent at Voyager Inquiries, c/o Stretto 410 Exchange, Suite 100
Irvine, CA 92602.

The Debtors shall serve, or cause to be served, all of the materials in the Solicitation Package (excluding the Ballots)
on the U.S. Trustee and all parties who have requested service of papers in this case pursuant to Bankruptcy Rule 2002
as of the Voting Record Date. In addition, the Debtors shall distribute, or cause to be distributed, the Solicitation
Package to all Holders of Claims in the Voting Classes on or before January 25, 2023 who are entitled to vote, as
described in Section 4(i) below.

To avoid duplication and reduce expenses, the Debtors will make every reasonable effort to ensure that any Holder of
a Claim who has filed duplicative Claims against a Debtor (whether against the same or multiple Debtors) that are
classified under the Plan in the same Voting Class receives no more than one Solicitation Package (and, therefore, one
Ballot) on account of such Claim and with respect to that Class as against that Debtor.

         (iii)    Resolution of Disputed Claims for Voting Purposes; Resolution Event.

                  a.       The Debtors shall have until ten days prior to the Voting Deadline to object to Proofs of
                           Claims for purposes of voting on the Plan (the “Voting Claims Objection Deadline”). To
                           the extent the Debtors wish to object to a Proof of Claim that is timely filed following the
                           Voting Claims Objection Deadline but prior to the Voting Deadline, the Debtors shall
                           promptly file such objection. Any such objection that remains pending as of the Combined
                           Hearing Date will be heard on an emergency basis at the Combined Hearing.

                  b.       If a Claim in a Voting Class is subject to an objection that is filed with the Court on or prior
                           to seven days before the Voting Deadline: (i) the Debtors shall cause the applicable Holder
                           to be served with the Notice of Non-Voting Status with Respect to Disputed Claims
                           substantially in the form annexed as Exhibit 2C to the Disclosure Statement Order; and
                           (ii) the applicable Holder shall not be entitled to vote to accept or reject the Plan on account
                           of such Claim unless a Resolution Event (as defined herein) occurs as provided herein.

                  c.       If a Claim in a Voting Class is subject to an objection that is filed with the Court less than
                           seven days prior to the Voting Deadline, the applicable Claim shall be deemed temporarily
                           allowed for voting purposes only, without further action by the Holder of such Claim and
                           without further order of the Court, unless the Court orders otherwise.

                  d.       A “Resolution Event” means the occurrence of one or more of the following events no later
                           than two business days prior to the Voting Deadline:

                               i.   an order of the Court is entered allowing such Claim pursuant to section 502(b)
                                    of the Bankruptcy Code;

                              ii.   an order of the Court is entered temporarily allowing such Claim for voting
                                    purposes only pursuant to Bankruptcy Rule 3018(a);

                             iii.   a stipulation or other agreement is executed between the Holder of such Claim
                                    and the Debtors resolving the objection and allowing such Claim in an agreed
                                    upon amount; or

                             iv.    the pending objection is voluntarily withdrawn by the objecting party.

                  e.       No later than one Business Day following the occurrence of a Resolution Event, the
                           Debtors shall cause the Claims, Noticing, and Solicitation Agent to distribute via email,



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                           hand delivery, or overnight courier service a Solicitation Package and a pre-addressed,
                           postage pre-paid envelope to the relevant Holder.

         (iv)     Non-Voting Status Notices for Unimpaired Classes and Classes Deemed to Reject the Plan.

Certain Holders of Claims and Interests that are not classified in accordance with section 1123(a)(1) of the Bankruptcy
Code or who are not entitled to vote because they are Unimpaired or otherwise presumed to accept the Plan under
section 1126(f) of the Bankruptcy Code will receive the Notice of Non-Voting Status to Holders of Unimpaired Claims
Conclusively Presumed to Accept the Plan, substantially in the form annexed as Exhibit 2A to the Disclosure
Statement Order, and will also receive the Disclosure Statement (including the Plan) and the Committee Letter if they
are being asked to release claims against non-Debtors and/or to contribute claims to a trust. The notice will instruct
Holders who do not receive Solicitation Packages as to how they may obtain copies of the documents contained in the
Solicitation Package (excluding Ballots). Certain Holders of Claims or Interests who are not entitled to vote because
they are deemed to reject the Plan under section 1126(g) of the Bankruptcy Code will receive the Notice of Non-Voting
Status to Holders of Impaired Claims and Interests Deemed to Reject the Plan, substantially in the form annexed as
Exhibit 2B to the Disclosure Statement Order, and will receive the Disclosure Statement (including the Plan) and the
Committee Letter.

         (v)      Notices in Respect of Executory Contracts and Unexpired Leases.

Counterparties to Executory Contracts and Unexpired Leases that receive a Notice of Rejection of Executory Contracts
and Unexpired Leases substantially in the form attached as Exhibit 8 or a Notice of Assumption and Assignment of
Executory Contracts and Unexpired Leases substantially in the form attached as Exhibit 9 or a Notice of Assumption
of Executory Contracts and Unexpired Leases substantially in the form attached as Exhibit 10, as applicable, to the
Disclosure Statement Order, may file an objection to the Debtors’ proposed assumption, rejection, or cure amount, as
applicable. Such objections must be in writing and filed with the Clerk of the United States Bankruptcy Court for the
Southern District of New York on or before February 22, 2023, at 4:00 p.m. and shall be served as set forth in the
applicable notice of assumption or rejection.

Notwithstanding the foregoing, if (pursuant to the Binance US Purchase Agreement) any party receives a Notice of
Assumption and Assignment of Executory Contracts and Unexpired Leases after February 1, 2023, such party shall
have 21 days from the mailing of such notice to object to any proposed cure and to object to any proposed assumption
or assignment of such Executory Contract or Unexpired Lease, and the confirmation of the Plan and the approval and
effectuation of the Binance.US Transaction shall not be contingent upon or affected by the resolution of such
objections.

         4.       Voting and Tabulation Procedures.

         (i)      Holders of Claims Entitled to Vote.

Only the following Holders of Claims in the Voting Classes shall be entitled to vote with regard to such Claims:

                  a.       Holders of Claims who, on or before the Voting Record Date, have timely filed a Proof of
                           Claim (or an untimely Proof of Claim that has been Allowed as timely by the Court under
                           applicable law on or before the Voting Record Date) that: (i) has not been expunged,
                           disallowed, disqualified, withdrawn, or superseded prior to the Voting Record Date; and
                           (ii) is not the subject of a pending objection filed with the Court at least seven (7) days
                           prior to the Voting Deadline, pending a Resolution Event as provided herein; provided that
                           a Holder of a Claim that is the subject of a pending objection on a “reduce and allow” basis
                           shall receive a Solicitation Package and be entitled to vote such Claim in the reduced
                           amount contained in such objection absent a further order of the Court;

                  b.       Holders of Claims that are listed in the Schedules, provided that Claims that are scheduled
                           as contingent, unliquidated, or disputed (excluding such scheduled disputed, contingent, or
                           unliquidated Claims that have been paid or superseded by a timely Filed Proof of Claim)


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                           shall be allowed to vote only in the amounts set forth in Section 4(ii) of these Solicitation
                           and Voting Procedures; provided, further, that if the Schedules are amended to schedule
                           Claims against multiple Debtor entities, then votes on account of such Claims shall be
                           tabulated for each applicable Debtor entity;

                  c.       Holders whose Claims arise: (i) pursuant to an agreement or settlement with the Debtors,
                           as reflected in a document filed with the Court; (ii) from an order entered by the Court; or
                           (iii) from a document executed by the Debtors pursuant to authority granted by the Court,
                           in each case regardless of whether a Proof of Claim has been filed or the Claim was
                           scheduled as contingent, unliquidated, or disputed;

                  d.       Holders of any Claim that has been temporarily allowed to vote on the Plan pursuant to
                           Bankruptcy Rule 3018; and

                  e.       with respect to any Entity described in subparagraphs (a) through (d) above, who, on or
                           before the Voting Record Date, has transferred such Entity’s Claim to another Entity, the
                           assignee of such Claim; provided that such transfer or assignment has been fully
                           effectuated pursuant to the procedures set forth in Bankruptcy Rule 3001(e) and such
                           transfer is reflected on the Claims Register on the Voting Record Date.

         (ii)     Establishing Claim Amounts for Voting Purposes.

Filed and Scheduled Claims. The Claim amounts established herein shall control for voting purposes only and shall
not constitute the Allowed amount of any Claim. Moreover, any amounts filled in on Ballots by the Debtors through
the Claims, Noticing, and Solicitation Agent, as applicable, are not binding for purposes of allowance and distribution.
In tabulating votes, the amount of the Claim associated with each claimant’s vote shall be determined as follows:

                  a.       the Claim amount: (i) settled and/or agreed upon by the Debtors, as reflected in a
                           document filed with the Court; (ii) set forth in an order of the Court; or (iii) set forth in a
                           document executed by the Debtors pursuant to authority granted by the Court;

                  b.       the Claim amount Allowed (temporarily or otherwise) pursuant to a Resolution Event;

                  c.       the Claim amount contained in a Proof of Claim that has been timely filed (or deemed
                           timely filed by the Court under applicable law), except for any amounts asserted on account
                           of any interest accrued after the Petition Date; provided, however, that Ballots cast by
                           Holders of Class 4A, Class 4B, and Class 4C Claims who timely file a Proof of Claim in
                           respect of a contingent Class 4A, Class 4B, and/or Class 4C Claim or in a
                           wholly-unliquidated or unknown amount that is not the subject of a pending objection,
                           based on a reasonable review of the Proof of Claim and supporting documentation by the
                           Debtors or their advisors, will count for satisfying the numerosity requirement of
                           section 1126(c) of the Bankruptcy Code and will count in the amount of $1.00 solely for
                           the purposes of satisfying the dollar amount provisions of section 1126(c) of the
                           Bankruptcy Code, and, if such Proof of Claim is filed as partially liquidated and partially
                           unliquidated, such Class 4A, Class 4B, and/or Class 4C Claim will be Allowed for voting
                           purposes only in the liquidated amount; provided, further, however, that to the extent that
                           any Claim amount contained in a Proof of Claim is different from the Claim amount set
                           forth in a document filed with the Court referenced in subparagraph (a) above, the Claim
                           amount in the document filed with the Court shall supersede the Claim amount set forth on
                           the respective Proof of Claim;

                  d.       the Claim amount listed in the Schedules (to the extent such Claim is not superseded by a
                           timely Filed Proof of Claim), provided that such Claim is not scheduled as contingent,
                           disputed, or unliquidated; if a Claim is listed in the Debtors’ Schedules as contingent,
                           unliquidated, or disputed and a proof of claim was not (i) filed by the applicable bar date


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                           for filing Proofs of Claim established by the Court or (ii) deemed timely filed by an order
                           of the Court prior to the Voting Record Date, such Claim shall be disallowed for voting
                           purposes;

                  e.       Holders of Proofs of Claim filed for $0.00 or zero (0) Cryptocurrency, as applicable, are
                           not entitled to vote;

                  f.       Claims that have been paid, scheduled to be paid in the ordinary course, or otherwise
                           satisfied are disallowed for voting purposes;

                  g.       notwithstanding anything to the contrary contained herein, any creditor who has filed or
                           purchased duplicate Claims within the same Voting Class shall, to the extent possible, be
                           provided with only one Solicitation Package and one Ballot for voting a single Claim in
                           such Class, regardless of whether the Debtors have objected to such duplicate Claims; and

                  h.       in the absence of any of the foregoing, such Claim shall be disallowed for voting purposes.

If a Proof of Claim is amended, the last filed Claim shall be subject to these rules and will supersede any earlier filed
Claim, and any earlier filed Claim will be disallowed for voting purposes.

         (iii)    Voting and Ballot Tabulation Procedures.

The following voting procedures and standard assumptions shall be used in tabulating Ballots, subject to the Debtors’
right to waive any of the below specified requirements for completion and submission of Ballots, so long as such
requirement is not otherwise required by the Bankruptcy Code, Bankruptcy Rules, or Local Rules:

                  a.       each Claim asserted in currency other than U.S. dollars (other than Cryptocurrency) shall
                           be automatically deemed converted to the equivalent U.S. dollar value using the conversion
                           rate for the applicable currency at prevailing market prices as of 8:00 a.m. (prevailing
                           Eastern Time) on the Petition Date;

                  b.       each Claim asserted in Cryptocurrency shall be automatically deemed converted using the
                           fair market value of the Cryptocurrency (based in U.S. Dollars) as of July 5, 2022 at
                           00:00 UTC. Such conversion shall be for voting tabulation purposes only and shall not be
                           binding for any other purpose on the Debtors, including, without limitation, for purposes
                           of allowance of, and distribution with respect to, Claims under the Plan;

                  c.       except as otherwise provided in the Solicitation and Voting Procedures, unless the Ballot
                           being furnished is timely submitted and actually received by the Claims, Noticing, and
                           Solicitation Agent on or prior to the Voting Deadline (as the same may be extended by the
                           Debtors), the Debtors shall reject such Ballot as invalid and, therefore, shall not count it in
                           connection with confirmation of the Plan;

                  d.       the Claims, Noticing, and Solicitation Agent will date-stamp all Ballots when received.
                           The Claims, Noticing, and Solicitation Agent shall retain the original Ballots and an
                           electronic copy of the same for a period of one year after the Effective Date of the Plan,
                           unless otherwise ordered by the Court;

                  e.       the Claims, Noticing, and Solicitation Agent shall tabulate Ballots on a Debtor-by-Debtor
                           basis;

                  f.       the Debtors will file the Voting Report by February 28, 2023 at 4:00 p.m. prevailing
                           Eastern Time. The Voting Report shall, among other things, delineate every Ballot that
                           does not conform to the voting instructions or that contains any form of irregularity (each
                           an “Irregular Ballot”), including those Ballots that are late or (in whole or in material part)


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               illegible, unidentifiable, lacking signatures or other necessary information, or damaged.
               The Voting Report shall indicate the Debtors’ decision with regard to such Irregular
               Ballots;

        g.     the method of delivery of Ballots to be sent to the Claims, Noticing, and Solicitation Agent
               is at the election and risk of each Holder, and except as otherwise provided, a Ballot will
               be deemed delivered only when the Claims, Noticing, and Solicitation Agent actually
               receives the executed Ballot;

        h.     an executed Ballot is required to be submitted by the Entity submitting such Ballot.
               Delivery of a Ballot to the Claims, Noticing, and Solicitation Agent by facsimile, or any
               electronic means other than expressly provided in these Solicitation and Voting Procedures
               will not be valid;

        i.     no Ballot should be sent to the Debtors, the Debtors’ agents (other than the Claims,
               Noticing, and Solicitation Agent), or the Debtors’ financial or legal advisors, and, if so
               sent, will not be counted;

        j.     if multiple Ballots are received from the same Holder with respect to the same Claim or
               Interest prior to the Voting Deadline, the last properly executed Ballot timely received will
               be deemed to reflect that voter’s intent and will supersede and revoke any prior received
               Ballot;

        k.     Holders must vote all of their Claims within a particular Class either to accept or reject the
               Plan and may not split any votes. Accordingly, a Ballot that partially rejects and partially
               accepts the Plan will not be counted. Further, to the extent there are multiple Claims within
               the same Class, the applicable Debtor may, in its discretion, aggregate the Claims of any
               particular Holder within a Class for the purpose of counting votes;

        l.     a person signing a Ballot in its capacity as a trustee, executor, administrator, guardian,
               attorney in fact, officer of a corporation, or otherwise acting in a fiduciary or representative
               capacity of a Holder of Claims must indicate such capacity when signing;

        m.     the Debtors, subject to a contrary order of the Court, may waive any defects or irregularities
               as to any particular Irregular Ballot at any time, either before or after the close of voting,
               and any such waivers will be documented in the Voting Report;

        n.     unless waived or as ordered by the Court, any defects or irregularities in connection with
               deliveries of Ballots must be cured prior to the Voting Deadline or such Ballots will not be
               counted; provided that the Debtors shall notify any Holder who submitted a Ballot not in
               proper form of any such defects and their intent to reject such Ballot if the alleged defects
               are not remedied prior to the Voting Deadline after receipt of notice of such alleged defect;

        o.     in the event a designation of lack of good faith is requested by a party in interest under
               section 1126(e) of the Bankruptcy Code, the Court will determine whether any vote to
               accept and/or reject the Plan cast with respect to that Claim will be counted for purposes
               of determining whether the Plan has been accepted and/or rejected;

        p.     subject to any order of the Court, the Debtors reserve the right to reject any and all Ballots
               not in proper form, the acceptance of which, in the opinion of the Debtors, would not be in
               accordance with the provisions of the Bankruptcy Code or the Bankruptcy Rules; provided
               that any such rejections will be documented in the Voting Report;




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                 q.       if a Claim has been estimated or otherwise Allowed only for voting purposes by order of
                          the Court, such Claim shall be temporarily Allowed in the amount so estimated or Allowed
                          by the Court for voting purposes only, and not for purposes of allowance or distribution;

                 r.       if an objection to a Claim is filed, such Claim shall be treated in accordance with the
                          procedures set forth herein;

                 s.       the following Ballots shall not be counted in determining the acceptance or rejection of the
                          Plan: (i) any Ballot that is illegible or contains insufficient information to permit the
                          identification of the Holder of such Claim; (ii) any Ballot cast by any Entity that does not
                          hold a Claim in a Voting Class; (iii) any Ballot cast for an OpCo General Unsecured Claim,
                          HoldCo General Unsecured Claim, or TopCo General Unsecured Claim scheduled as
                          unliquidated, contingent, or disputed for which no Proof of Claim was timely filed by the
                          Voting Record Date (unless the applicable bar date has not yet passed, in which case such
                          Claim shall be entitled to vote in the amount of $1.00); (iv) any unsigned Ballot or Ballot
                          lacking an original signature (for the avoidance of doubt, a Ballot submitted via the Claims,
                          Noticing, and Solicitation Agent’s online balloting portal shall be deemed an original
                          signature); (v) any Ballot not marked to accept or reject the Plan or marked both to accept
                          and reject the Plan; (vi) any Ballot transmitted by facsimile, email, or other electronic
                          means not specifically approved pursuant to the Disclosure Statement Order; (vii) any
                          Ballot sent to any of the Debtors, the Debtors’ agents or representatives, or the Debtors’
                          advisors (other than the Claims, Noticing, and Solicitation Agent); and (viii) any Ballot
                          submitted by any Entity not entitled to vote pursuant to the procedures described herein;

                 t.       after the Voting Deadline, no Ballot may be withdrawn or modified without the prior
                          written consent of the Debtors or further order of the Court;

                 u.       the Debtors are authorized to enter into stipulations with the Holder of any Claim agreeing
                          to the amount of a Claim for voting purposes; and

                 v.       where any portion of a single Claim has been transferred to a transferee, all holders of any
                          portion of such single Claim will be (a) treated as a single creditor for purposes of the
                          numerosity requirements in section 1126(c) of the Bankruptcy Code (and for the other
                          solicitation and voting procedures set forth herein) and (b) required to vote every portion
                          of such Claim collectively to accept or reject the Plan. In the event that (a) a Ballot, (b) a
                          group of Ballots within a Voting Class received from a single creditor, or (c) a group of
                          Ballots received from the various Holders of multiple portions of a single Claim or partially
                          reject and partially accept the Plan, such Ballots shall not be counted.

        5.       Amendments to the Plan and Solicitation and Voting Procedures.

         The Debtors reserve the right to make non-substantive or immaterial changes to the Plan, Disclosure
Statement, Combined Hearing Notice, Solicitation Packages, Non-Voting Status Notices, Ballots, Publication Notice,
Cover Letter, the Committee Letter, these Solicitation and Voting Procedures, Plan Supplement Notice, Rejection
Notice, Assumption and Assignment Notice, Assumption Notice, and any related documents without further order of
the Court, including changes to correct typographical and grammatical errors, if any, and to make conforming changes
to the any materials in the Solicitation Packages before distribution.

                                       *        *         *        *         *




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                                Exhibit 2A

                   Unimpaired Non-Voting Status Notice
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          )
    In re:                                                                )      Chapter 11
                                                                          )
                                                          1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                               )      Case No. 22-10943 (MEW)
                                                                          )
                                           Debtors.                       )      (Jointly Administered)
                                                                          )

                                       NOTICE OF
                               (I) NON-VOTING STATUS TO
                   HOLDERS OF UNIMPAIRED CLAIMS CONCLUSIVELY
           PRESUMED TO ACCEPT THE PLAN, (II) OPPORTUNITY TO OPT IN TO THE
    THIRD-PARTY RELEASES, AND (III) OPPORTUNITY TO CONTRIBUTE THIRD-PARTY CLAIMS

PLEASE TAKE NOTICE THAT on [●], 2023, the United States Bankruptcy Court for the Southern District of New
York (the “Court”) entered an order [Docket No. [●]] (the “Disclosure Statement Order”) that (a) conditionally
approved the Second Amended Disclosure Statement Relating to the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. [●]] (as modified,
amended, or supplemented from time to time, the “Disclosure Statement”) for the purposes of solicitation, (b)
authorized the Debtors to solicit votes with regard to the acceptance or rejection of the Third Amended Joint Plan of
Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
[●]] (as modified, amended, or supplemented from time to time, the “Plan”),2 (c) approved the solicitation materials
and documents to be included in the solicitation packages (the “Solicitation Packages”); and (d) approved procedures
for soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan.

PLEASE TAKE FURTHER NOTICE THAT because of the nature and treatment of your Claim under the Plan,
you are not entitled to vote on the Plan. Specifically, under the terms of the Plan, as a Holder of a Claim (as
currently asserted against the Debtors) that is Unimpaired and conclusively presumed to have accepted the Plan
pursuant to section 1126(f) of the Bankruptcy Code, you are not entitled to vote on the Plan.

PLEASE TAKE FURTHER NOTICE THAT because you are receiving an opt in form (the “Opt-In Notice”), the
Disclosure Statement (including the Plan) and the Committee Letter are included with this notice so that you may
review the release provisions and all other disclosure to inform your decision as to whether to complete the Opt-In
Form or to contribute your Contributed Third-Party Claims to the Wind-Down Entity.


1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2      Capitalized terms not otherwise defined herein shall have the meaning given to them in the Plan.
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PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will consider approval of the
Disclosure Statement and Confirmation of the Plan (the “Combined Hearing”) will commence on March 2, 2023 at
[●]:00 [●].m. prevailing Eastern Time, or such other time as the Court determines, before the Honorable Michael E.
Wiles, in the United States Bankruptcy Court for the Southern District of New York, located at One Bowling Green,
New York, New York 10004. In accordance with General Order M-543 dated March 20, 2020, the Hearing will be
conducted telephonically. Any parties wishing to participate must do so by making arrangements through
CourtSolutions by visiting https://www.court-solutions.com.

PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to confirmation of the Plan and the
adequacy of the Disclosure Statement is February 22, 2023 at 4:00 p.m. prevailing Eastern Time (the “Plan and
Disclosure Statement Objection Deadline”). Any objection to the Plan must: (a) be in writing; (b) conform to the
Bankruptcy Rules, the Local Rules, and any orders of the Court; (c) state with particularity the basis and nature of any
objection to the Plan and, if practicable, a proposed modification to the Plan that would resolve such objection; and
(d) be filed with the Court (contemporaneously with a proof of service) and served upon the following parties so as to
be actually received on or before February 22, 2023 at 4:00 p.m. prevailing Eastern Time:

                                                       Debtors

                                          Voyager Digital Holdings, Inc.
                                             33 Irving Place, Suite 3060
                                               New York, NY 10003
                                   Attention: Stephen Ehrlich and David Brosgol

                 Counsel to the Debtors                                     Counsel to the Committee

                 Kirkland & Ellis LLP                                    McDermott Will & Emery LLP
                 601 Lexington Avenue                                        One Vanderbilt Avenue
              New York, New York 10022                                     New York, NY 10017-3852
  Attention: Joshua A. Sussberg; Christopher Marcus;           Attention: Darren Azman; Joseph B. Evans; Grayson
          Christine A. Okike; Allyson B. Smith                             Williams; Gregg Steinman

                                                United States Trustee

                   Office of the United States Trustee for the Southern District of New York
                                           U.S. Federal Office Building
                                          201 Varick Street, Room 1006
                                              New York, NY 10014
                                    Attention: Richard Morrissey; Mark Bruh


PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of any of the related documents,
you should contact Stretto, Inc., the claims, noticing, and solicitation agent retained by the Debtors in these chapter
11 cases (the “Claims, Noticing, and Solicitation Agent”), by: (a) calling the Claims, Noticing, and Solicitation Agent
at (855) 473-8665 (Toll Free) or +1 (949) 271-6507 (International); (b) e-mailing the Claims, Noticing, and
Solicitation Agent at VoyagerInquiries@Stretto.com with a reference to “In re: Voyager - Solicitation Inquiry” in the
subject line; or (c) writing to the Claims, Noticing, and Solicitation Agent at Voyager Inquiries, c/o Stretto 410
Exchange, Suite 100 Irvine, CA 92602. You may also obtain copies of any pleadings filed with the Court for free by
visiting the Debtors’ restructuring website, https://cases.stretto.com/Voyager/, or for a fee via PACER at:
http://pacer.psc.uscourts.gov.




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                                   OPTIONAL: RELEASE OPT IN NOTICE

You are receiving this Opt-In Notice because you are a Holder of a Claim that is not entitled to vote on the Plan.
Article IV of the Plan contains certain information regarding contribution of Contributed Third-Party Claims. Article
VIII of the Plan contains certain release, injunction, and exculpation provisions, including the Third-Party Releases
set forth below. You are advised to carefully review and consider the Plan, including the release, injunction, and
exculpation provisions, as your rights may be affected. Your decision to complete and return the Opt-In Notice is
entirely voluntary and not a requirement under the Plan or applicable law.

If you choose to opt into the Third-Party Release set forth in Article VIII.B of the Plan and/or to contribute
your Contributed Third-Party Claim(s) to the Wind-Down Entity, you may submit your election to opt-in by
submitting the electronic version of your Opt In Notice through the e-balloting portal (the “E-Balloting
Portal”),      which      can    be      accessed     via      the     Debtors’     restructuring     website,
https://cases.stretto.com/Voyager/balloting, according to instructions provided below

THIS OPT IN NOTICE MUST BE ACTUALLY RECEIVED BY THE CLAIMS, NOTICING, AND
SOLICITATION AGENT BY FEBRUARY 22, 2023, AT 4:00 P.M. PREVAILING EASTERN TIME
(THE “OPT IN DEADLINE”).

Item 1. Amount of Claim.

The undersigned hereby certifies that, as of January 10, 2023 (the “Voting Record Date”), the undersigned was the
Holder of Claims in one or more of Classes 1 or 2 in the following aggregate amount of claims (insert amount in box
below):



                                   Class 1 $ _____________________________

                                   Class 2 $ _____________________________




                                                         3
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Item 2.            Important information regarding the Third-Party Release.

AS A HOLDER OF A CLAIM, YOU ARE A “RELEASING PARTY” UNDER THE PLAN IF YOU OPT IN TO
THE RELEASES CONTAINED IN THE PLAN. YOU MAY CHECK THE BOX BELOW TO ELECT TO GRANT
THE RELEASE CONTAINED IN ARTICLE VIII.B OF THE PLAN. YOU WILL BE CONSIDERED A
“RELEASING PARTY” UNDER THE PLAN ONLY IF (I) THE COURT DETERMINES THAT YOU HAVE THE
RIGHT TO OPT IN TO THE RELEASES AND (II) YOU CHECK THE BOX BELOW AND SUBMIT THE OPT
IN NOTICE BY THE OPT IN DEADLINE.


          By checking this box, you elect to opt IN to the Third-Party Releases.


Article VIII.B of the Plan contains the following Third-Party Release:

          Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of the Releasing
Parties, in each case on behalf of themselves and their respective successors, assigns, and representatives, from
any and all Causes of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims asserted
or assertable on behalf of any of the Debtors, that such Entity would have been legally entitled to assert in its
own right (whether individually or collectively or on behalf of the Holder of any Claim against, or Interest in,
a Debtor or other Entity), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their capital structure, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Debtors’ out-of-court restructuring efforts,
intercompany transactions between or among a Debtor and another Debtor, the formulation, preparation,
dissemination, negotiation, filing, or consummation of the Definitive Documents or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Definitive Documents, the pursuit of consummation of the Plan, the administration and
implementation of the Restructuring Transactions, or upon any other act or omission, transaction, agreement,
event, or other occurrence related to the Debtors taking place on or before the Effective Date, provided that
nothing in Article VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful
misconduct, or gross negligence as determined by a Final Order.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.B of the Plan, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
Court’s finding that each release described in Article VIII.B of the Plan is: (1) in exchange for the good and
valuable consideration provided by the Released Parties; (2) a good-faith settlement and compromise of such
Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair,
equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; (6) a sound exercise
of the Debtors’ business judgment; and (7) except to the extent contemplated by Article IV.E and Article IV.F
of the Plan, a bar to any of the Releasing Parties or the Debtors or Wind-Down Debtors or their respective
Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.

Definitions Related to the Debtor Release and the Third-Party Release:

          Under the Plan, “Released Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
          (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
          Professionals; (e) Purchaser and each of its Related Parties; and (f) each of the Released Voyager Employees
          (subject to the limitations contained in Article IV.E and Article IV.F of the Plan); provided that, if the Asset



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         Purchase Agreement is terminated, Purchaser and each of its Related Parties shall not be “Released Parties”
         under the Plan.

         Under the Plan, “Releasing Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
         (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
         Professionals; (e) each of the Released Voyager Employees; (f) Purchaser and each of its Related Parties to
         the extent Purchaser is able to bind such Related Parties; (g) all Holders of Claims that vote to accept the
         Plan and affirmatively opt into the releases provided by the Plan; (h) all Holders of Claims that vote to reject
         the Plan and affirmatively opt into the releases provided by the Plan; and (i) all Holders of Claims or Interests
         that abstain from voting (or are otherwise not entitled to vote) on the Plan and affirmatively opt into the
         releases provided by the Plan; provided that, if the Asset Purchase Agreement is terminated, Purchaser and
         each of its Related Parties shall not be “Releasing Parties” under the Plan.

Item 3. Contributed Third-Party Claims.

If the Plan is confirmed, all causes of action that the Debtors are entitled to bring against third parties not released
under the Plan (the “Litigation Targets”) will be transferred to the Wind-Down Entity. In addition to these causes of
action that can only be commenced by the Wind-Down Entity, certain creditors may have direct causes of action
against the Litigation Targets. However, it is difficult and expensive for individual creditors to sue third parties for
losses. Accordingly, creditors can elect to contribute direct causes of action to the Wind-Down Entity. By opting in
to contribute causes of action to the Wind-Down Entity, you are giving the Wind-Down Entity the right to pursue
those direct causes of action on your behalf together with other creditors. As a result, the Wind-Down Entity will be
able to use its resources to sue the Litigation Targets on those direct causes of action, and all recoveries will inure to
the benefit of all creditors and not just those that agreed to contribute their claims. For the avoidance of doubt, the
decision to “opt in” to contribute third-party claims is entirely voluntary, and the failure to “opt in” does not prejudice
any electing creditors’ rights.

By electing such option on this Ballot, you agree that, subject to the occurrence of the Effective Date and the formation
of the Wind-Down Entity, you will be deemed, without further action, (i) to have irrevocably contributed your
Contributed Third-Party Claims to the Wind-Down Entity, and (ii) to have agreed to execute any documents
reasonably requested by the Debtors or the Wind-Down Entity to memorialize and effectuate such contribution.

The Committee strongly encourages you to elect to contribute your Contributed Third-Party Claims to the
Wind-Down Entity, which will allow the Wind-Down Entity to potentially seek greater recoveries for the benefit
of Holders of Claims and Interests.


            By checking this box, you elect to contribute your Contributed Third-Party Claims to the Wind-Down
            Entity.



Definitions Related to Contributed Third-Party Claims:

         Under the Plan, “Contributed Third-Party Claims” means all direct Causes of Action that any Contributing
         Claimant has against any Person (other than a Debtor) that had a direct relationship with the Debtors, their
         predecessors, or respective affiliates and that harmed such Contributing Claimant in the claimant’s capacity
         as a creditor of Voyager, including (a) all Causes of Action based on, arising out of, or related to the
         marketing, sale, and issuance of Cryptocurrency that at any point was held or offered on Voyager’s platform;
         (b) all Causes of Action based on, arising out of, or related to the alleged misrepresentation of any of the
         Debtors’ financial information, business operations, or related internal controls; and (c) all Causes of Action
         based on, arising out of, or related to any alleged failure to disclose, or actual or attempted cover up or
         obfuscation of, any of the Debtors’ conduct prior to the Petition Date; provided, however, that Contributed
         Third-Party Claims do not include (i) any derivative claims of the Debtors; (ii) any direct claims against the
         Released Parties; (iii) any direct Causes of Action that any Contributing Claimant has against Mark Cuban,
         Dallas Basketball Limited d/b/a Dallas Mavericks, the National Basketball Association, and any of their


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           Related Parties; or (iv) any direct Causes of Action that any Contributing Claimant, in its capacity as an
           equity holder of Voyager Digital Ltd., has that are asserted in the currently filed complaint, dated as of July
           6, 2022, in the Ontario Superior Court of Justice by Francine De Sousa, against Voyager Digital Ltd., Stephen
           Ehrlich, Philip Eytan, Evan Psaropoulos, Lewis Bateman, Krisztian Toth, Jennifer Ackart, Glenn Stevens,
           and Brian Brooks.

Item 4.     Certifications.

By signing this Opt In Notice, the undersigned certifies:

    (a) that, as of the Record Date, either: (i) the Entity is the Holder of the Claims set forth in Item 1; or (ii) the
        Entity is an authorized signatory for an Entity that is a Holder of the Claims or Interests set forth in Item 1;

    (b) that the Holder has received a copy of the Notice of (I) Non-Voting Status to Holders of Unimpaired Claims
        Conclusively Presumed to Accept the Plan, (II) Opportunity to Opt In to the Third-Party Releases, and (III)
        Opportunity to Contribute Third-Party Claims and that this Opt In Notice is submitted pursuant to the terms
        and conditions set forth therein;

    (c) that the Entity has submitted the same respective election concerning the releases with respect to all Claims
        in a single Class set forth in Item 1; and

    (d) that no other Opt In Notice with respect to the amount(s) of Claims identified in Item 1 have been submitted
        or, if any other Opt In Notices have been submitted with respect to such Claims, then any such earlier Opt In
        Notices are hereby revoked.



Name of Holder:
                                                                    (Print or Type)
Signature:


Name of Signatory:
                                                                 (If other than Holder)

Title:


Address:




Telephone
Number:


Email:


Date Completed:




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IF YOU WISH TO MAKE THE OPT IN ELECTION AND/OR ELECT TO CONTRIBUTE YOUR
THIRD-PARTY CLAIMS, PLEASE SUBMIT THE ELECTRONIC VERSION OF YOUR OPT IN
NOTICE THROUGH THE E-BALLOTING PORTAL PER INSTRUCTIONS PROVIDED BELOW:

   To      submit     your    Opt   In    Notice     via    the     online    voting    portal,   please    visit
   https://cases.stretto.com/Voyager/balloting and follow the instructions to submit your Opt In Notice.


   The Claims, Noticing, and Solicitation Agent’s online voting platform is the sole manner in which Opt In
   Notices will be accepted via electronic or online transmission. Opt In Notices submitted by facsimile, e-mail,
   or other means of electronic transmission will not be counted.

     Please complete and submit an Opt In Notice for each Opt In Notice you receive, as applicable.

                                             *        *        *




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Dated: ______________, 2023       /s/ Draft
New York, New York                KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  Joshua A. Sussberg, P.C.
                                  Christopher Marcus, P.C.
                                  Christine A. Okike, P.C.
                                  Allyson B. Smith (admitted pro hac vice)
                                  601 Lexington Avenue
                                  New York, New York 10022
                                  Telephone:       (212) 446-4800
                                  Facsimile:       (212) 446-4900
                                  Email:           jsussberg@kirkland.com
                                                   cmarcus@kirkland.com
                                                   christine.okike@kirkland.com
                                                   allyson.smith@kirkland.com

                                  Counsel to the Debtors and Debtors in Possession




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                                Exhibit 2B

                     Impaired Non-Voting Status Notice
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    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    601 Lexington Avenue
    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          )
    In re:                                                                )      Chapter 11
                                                                          )
                                                          1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                               )      Case No. 22-10943 (MEW)
                                                                          )
                                           Debtors.                       )      (Jointly Administered)
                                                                          )

                         NOTICE OF (I) NON-VOTING STATUS TO HOLDERS
                  OF IMPAIRED CLAIMS OR INTERESTS CONCLUSIVELY PRESUMED
              TO REJECT THE PLAN, (II) OPPORTUNITY TO OPT IN TO THE THIRD-PARTY
              RELEASES, AND (III) OPPORTUNITY TO CONTRIBUTE THIRD-PARTY CLAIMS

PLEASE TAKE NOTICE THAT on [●], 2023, the United States Bankruptcy Court for the Southern District of New
York (the “Court”) entered an order [Docket No. [●]] (the “Disclosure Statement Order”) that (a) conditionally
approved the Second Amended Disclosure Statement Relating to the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. [●]] (as modified,
amended, or supplemented from time to time, the “Disclosure Statement”), for the purposes of solicitation, (b)
authorized the Debtors to solicit votes with regard to the acceptance or rejection of the Third Amended Joint Plan of
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[●]] (as modified, amended, or supplemented from time to time, the “Plan”),2 (c) approved the solicitation materials
and documents to be included in the solicitation packages (the “Solicitation Packages”); and (d) approved procedures
for soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan.

PLEASE TAKE FURTHER NOTICE THAT because of the nature and treatment of your Claim or Interest under
the Plan, you are not entitled to vote on the Plan. Specifically, under the terms of the Plan, as a Holder of a Claim
or Interest (as currently asserted against the Debtors) that may receive no distribution under the Plan, you are deemed
to reject the Plan pursuant to section 1126(g) of the Bankruptcy Code and are not entitled to vote on the Plan.
However, copies of the Disclosure Statement (including the Plan) and the Committee Letter are being provided to you
in compliance with the applicable Bankruptcy Rules and the Bankruptcy Court’s order.

PLEASE TAKE FURTHER NOTICE THAT you are receiving an opt in form (the “Opt-In Notice”) regarding
certain voluntary release provisions and provisions regarding the voluntary contributions of claims. The Plan and
Disclosure Statement should be reviewed to inform your decision as to whether to complete the Opt-In Form or to


1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2      Capitalized terms not otherwise defined herein shall have the meaning given to them in the Plan.




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contribute your Contributed Third-Party Claims to the Wind-Down Entity.

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                                                       Debtors

                                          Voyager Digital Holdings, Inc.
                                             33 Irving Place, Suite 3060
                                               New York, NY 10003
                                   Attention: Stephen Ehrlich and David Brosgol

                 Counsel to the Debtors                                     Counsel to the Committee

                 Kirkland & Ellis LLP                                    McDermott Will & Emery LLP
                 601 Lexington Avenue                                        One Vanderbilt Avenue
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  Attention: Joshua A. Sussberg; Christopher Marcus;           Attention: Darren Azman; Joseph B. Evans; Grayson
          Christine A. Okike; Allyson B. Smith                             Williams; Gregg Steinman

                                                United States Trustee

                   Office of the United States Trustee for the Southern District of New York
                                           U.S. Federal Office Building
                                          201 Varick Street, Room 1006
                                              New York, NY 10014
                                    Attention: Richard Morrissey; Mark Bruh


PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of any of the related documents,
you should contact Stretto, Inc., the claims, noticing, and solicitation agent retained by the Debtors in these chapter
11 cases (the “Claims, Noticing, and Solicitation Agent”), by: (a) calling the Claims, Noticing, and Solicitation Agent
at (855) 473-8665 (Toll Free) or +1 (949) 271-6507 (International); (b) e-mailing the Claims, Noticing, and
Solicitation Agent at VoyagerInquiries@Stretto.com with a reference to “In re: Voyager - Solicitation Inquiry” in the
subject line; or (c) writing to the Claims, Noticing, and Solicitation Agent at Voyager Inquiries, c/o Stretto 410
Exchange, Suite 100 Irvine, CA 92602. You may also obtain copies of any pleadings filed with the Court for free by
visiting the Debtors’ restructuring website, https://cases.stretto.com/Voyager/, or for a fee via PACER at:
http://pacer.psc.uscourts.gov.




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                                    OPTIONAL: RELEASE OPT IN NOTICE

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is entirely voluntary and not a requirement under the Plan or applicable law.

If you choose to opt into the Third-Party Release set forth in Article VIII.B of the Plan and/or to contribute
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Portal”),      which      can    be      accessed     via      the     Debtors’     restructuring     website,
https://cases.stretto.com/Voyager/balloting, according to instructions provided below

THIS OPT IN NOTICE MUST BE ACTUALLY RECEIVED BY THE CLAIMS, NOTICING, AND
SOLICITATION AGENT BY FEBRUARY 22, 2023, AT 4:00 P.M. PREVAILING EASTERN TIME
(THE “OPT IN DEADLINE”).

Item 1. Amount of Claim or Interest.

The undersigned hereby certifies that, as of January 10, 2023 (the “Voting Record Date”), the undersigned was the
Holder of Claims or Interests in one or more of Classes 5, 6 or 9 in the following aggregate amount of claims or
interests (insert amount in box below):



                                    Class 5 $ _____________________________

                                    Class 6 $ _____________________________

                      Class 9 Share Amount _____________________________




                                                           3
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Item 2.            Important information regarding the Third-Party Release.

AS A HOLDER OF A CLAIM OR INTEREST, YOU ARE A “RELEASING PARTY” UNDER THE PLAN IF YOU
OPT IN TO THE RELEASES CONTAINED IN THE PLAN. YOU MAY CHECK THE BOX BELOW TO ELECT
TO GRANT THE RELEASE CONTAINED IN ARTICLE VIII.B OF THE PLAN. YOU WILL BE CONSIDERED
A “RELEASING PARTY” UNDER THE PLAN ONLY IF (I) THE COURT DETERMINES THAT YOU HAVE
THE RIGHT TO OPT IN TO THE RELEASES AND (II) YOU CHECK THE BOX BELOW AND SUBMIT THE
OPT IN NOTICE BY THE OPT IN DEADLINE.


          By checking this box, you elect to opt IN to the Third-Party Releases.


Article VIII.B of the Plan contains the following Third-Party Release:

          Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of the Releasing
Parties, in each case on behalf of themselves and their respective successors, assigns, and representatives, from
any and all Causes of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims asserted
or assertable on behalf of any of the Debtors, that such Entity would have been legally entitled to assert in its
own right (whether individually or collectively or on behalf of the Holder of any Claim against, or Interest in,
a Debtor or other Entity), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their capital structure, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Debtors’ out-of-court restructuring efforts,
intercompany transactions between or among a Debtor and another Debtor, the formulation, preparation,
dissemination, negotiation, filing, or consummation of the Definitive Documents or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Definitive Documents, the pursuit of consummation of the Plan, the administration and
implementation of the Restructuring Transactions, or upon any other act or omission, transaction, agreement,
event, or other occurrence related to the Debtors taking place on or before the Effective Date, provided that
nothing in Article VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful
misconduct, or gross negligence as determined by a Final Order.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.B of the Plan, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
Court’s finding that each release described in Article VIII.B of the Plan is: (1) in exchange for the good and
valuable consideration provided by the Released Parties; (2) a good-faith settlement and compromise of such
Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair,
equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; (6) a sound exercise
of the Debtors’ business judgment; and (7) except to the extent contemplated by Article IV.E and Article IV.F
of the Plan, a bar to any of the Releasing Parties or the Debtors or Wind-Down Debtors or their respective
Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.

Definitions Related to the Debtor Release and the Third-Party Release:

          1.   Under the Plan, “Released Parties” means, collectively, in each case in its capacity as such:
               (a) the Debtors; (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d)
               each of the Released Professionals; (e) Purchaser and each of its Related Parties; and (f) each of the
               Released Voyager Employees (subject to the limitations contained in Article IV.E and Article IV.F of



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               the Plan); provided that, if the Asset Purchase Agreement is terminated, Purchaser and each of its Related
               Parties shall not be “Released Parties” under the Plan.

         2.    Under the Plan, “Releasing Parties” means, collectively, in each case in its capacity as such: (a) the
               Debtors; (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of
               the Released Professionals; (e) each of the Released Voyager Employees; (f) Purchaser and each of its
               Related Parties to the extent Purchaser is able to bind such Related Parties; (g) all Holders of Claims that
               vote to accept the Plan and affirmatively opt into the releases provided by the Plan; (h) all Holders of
               Claims that vote to reject the Plan and affirmatively opt into the releases provided by the Plan; and (i)
               all Holders of Claims or Interests that abstain from voting (or are otherwise not entitled to vote) on the
               Plan and affirmatively opt into the releases provided by the Plan; provided that, if the Asset Purchase
               Agreement is terminated, Purchaser and each of its Related Parties shall not be “Releasing Parties” under
               the Plan.

Item 3. Contributed Third-Party Claims.

If the Plan is confirmed, all causes of action that the Debtors are entitled to bring against third parties not released
under the Plan (the “Litigation Targets”) will be transferred to the Wind-Down Entity. In addition to these causes of
action that can only be commenced by the Wind-Down Entity, certain creditors may have direct causes of action
against the Litigation Targets. However, it is difficult and expensive for individual creditors to sue third parties for
losses. Accordingly, creditors can elect to contribute direct causes of action to the Wind-Down Entity. By opting in
to contribute causes of action to the Wind-Down Entity, you are giving the Wind-Down Entity the right to pursue
those direct causes of action on your behalf together with other creditors. As a result, the Wind-Down Entity will be
able to use its resources to sue the Litigation Targets on those direct causes of action, and all recoveries will inure to
the benefit of all creditors and not just those that agreed to contribute their claims. For the avoidance of doubt, the
decision to “opt in” to contribute third-party claims is entirely voluntary, and the failure to “opt in” does not prejudice
any electing creditors’ rights.

By electing such option on this Ballot, you agree that, subject to the occurrence of the Effective Date and the formation
of the Wind-Down Entity, you will be deemed, without further action, (i) to have irrevocably contributed your
Contributed Third-Party Claims to the Wind-Down Entity, and (ii) to have agreed to execute any documents
reasonably requested by the Debtors or the Wind-Down Entity to memorialize and effectuate such contribution.

The Committee strongly encourages you to elect to contribute your Contributed Third-Party Claims to the
Wind-Down Entity, which will allow the Wind-Down Entity to potentially seek greater recoveries for the benefit
of Holders of Claims and Interests.


              By checking this box, you elect to contribute your Contributed Third-Party Claims to the Wind-Down
              Entity.


Definitions Related to Contributed Third-Party Claims:

         Under the Plan, “Contributed Third-Party Claims” means all direct Causes of Action that any Contributing
         Claimant has against any Person (other than a Debtor) that had a direct relationship with the Debtors, their
         predecessors, or respective affiliates and that harmed such Contributing Claimant in the claimant’s capacity
         as a creditor of Voyager, including (a) all Causes of Action based on, arising out of, or related to the
         marketing, sale, and issuance of Cryptocurrency that at any point was held or offered on Voyager’s platform;
         (b) all Causes of Action based on, arising out of, or related to the alleged misrepresentation of any of the
         Debtors’ financial information, business operations, or related internal controls; and (c) all Causes of Action
         based on, arising out of, or related to any alleged failure to disclose, or actual or attempted cover up or
         obfuscation of, any of the Debtors’ conduct prior to the Petition Date; provided, however, that Contributed
         Third-Party Claims do not include (i) any derivative claims of the Debtors; (ii) any direct claims against the
         Released Parties; (iii) any direct Causes of Action that any Contributing Claimant has against Mark Cuban,
         Dallas Basketball Limited d/b/a Dallas Mavericks, the National Basketball Association, and any of their


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           Related Parties; or (iv) any direct Causes of Action that any Contributing Claimant, in its capacity as an
           equity holder of Voyager Digital Ltd., has that are asserted in the currently filed complaint, dated as of July
           6, 2022, in the Ontario Superior Court of Justice by Francine De Sousa, against Voyager Digital Ltd., Stephen
           Ehrlich, Philip Eytan, Evan Psaropoulos, Lewis Bateman, Krisztian Toth, Jennifer Ackart, Glenn Stevens,
           and Brian Brooks.

Item 4.     Certifications.

By signing this Opt In Notice, the undersigned certifies:

    (a)     that, as of the Record Date, either: (i) the Entity is the Holder of the Claims or Interests set forth in Item 1;
            or (ii) the Entity is an authorized signatory for an Entity that is a Holder of the Claims or Interests set forth
            in Item 1;

    (b) that the Holder has received a copy of the Notice of (I) Non-Voting Status to Holders of Impaired Claims or
        Interests Conclusively Deemed to Reject the Plan, (II) Opportunity to Opt In to the Third-Party Releases,
        and (III) Opportunity to Contribute Third-Party Claims and that this Opt In Notice is submitted pursuant to
        the terms and conditions set forth therein;

    (c) that the Entity has submitted the same respective election concerning the releases with respect to all Claims
        or Interests in a single Class set forth in Item 1; and

    (d) that no other Opt In Notice with respect to the amount(s) of Claims or Interests identified in Item 1 have been
        submitted or, if any other Opt In Notices have been submitted with respect to such Claims and Interests, then
        any such earlier Opt In Notices are hereby revoked.


Name of Holder:
                                                                     (Print or Type)
Signature:


Name of Signatory:
                                                                  (If other than Holder)

Title:


Address:




Telephone
Number:


Email:


Date Completed:




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IF YOU WISH TO MAKE THE OPT IN ELECTION AND/OR ELECT TO CONTRIBUTE YOUR
THIRD-PARTY CLAIMS, PLEASE SUBMIT THE ELECTRONIC VERSION OF YOUR OPT IN
NOTICE THROUGH THE E-BALLOTING PORTAL PER INSTRUCTIONS PROVIDED BELOW:

   To      submit     your    Opt   In    Notice     via    the     online    voting    portal,   please    visit
   https://cases.stretto.com/Voyager/balloting and follow the instructions to submit your Opt In Notice.

   The Claims, Noticing, and Solicitation Agent’s online voting platform is the sole manner in which Opt In
   Notices will be accepted via electronic or online transmission. Opt In Notices submitted by facsimile, e-mail,
   or other means of electronic transmission will not be counted.

   Please complete and submit an Opt In Notice for each Opt In Notice you receive, as applicable.
                                             *        *        *




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Dated: ______________, 2023       /s/ Draft
New York, New York                KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  Joshua A. Sussberg, P.C.
                                  Christopher Marcus, P.C.
                                  Christine A. Okike, P.C.
                                  Allyson B. Smith (admitted pro hac vice)
                                  601 Lexington Avenue
                                  New York, New York 10022
                                  Telephone:       (212) 446-4800
                                  Facsimile:       (212) 446-4900
                                  Email:           jsussberg@kirkland.com
                                                   cmarcus@kirkland.com
                                                   christine.okike@kirkland.com
                                                   allyson.smith@kirkland.com

                                  Counsel to the Debtors and Debtors in Possession
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                                Exhibit 2C

                     Notice to Disputed Claim Holders
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    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    601 Lexington Avenue
    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          )
    In re:                                                                )      Chapter 11
                                                                          )
                                                          1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                               )      Case No. 22-10943 (MEW)
                                                                          )
                                           Debtors.                       )      (Jointly Administered)
                                                                          )

                  NOTICE OF NON-VOTING STATUS WITH RESPECT TO DISPUTED CLAIMS

PLEASE TAKE NOTICE THAT on [●], 2023, the United States Bankruptcy Court for the Southern District of New
York (the “Court”) entered an order [Docket No. [●]] (the “Disclosure Statement Order”) that (a) conditionally
approved the Second Amended Disclosure Statement Relating to the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. [●]] (as modified,
amended, or supplemented from time to time, the “Disclosure Statement”), for the purposes of solicitation,
(b) authorized the Debtors to solicit votes with regard to the acceptance or rejection of the Third Amended Joint Plan
of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket
No. [●]] (as modified, amended, or supplemented from time to time, the “Plan”),2 (c) approved the solicitation
materials and documents to be included in the solicitation packages (the “Solicitation Packages”); and (d) approved
procedures for soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan.

PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because you are the Holder of a Claim
that is subject to a pending objection by the Debtors. You are not entitled to vote any disputed portion of your
Claim on the Plan unless one or more of the following events have taken place before a date that is three business
days before the Voting Deadline (each, a “Resolution Event”):

             1.      an order of the Court is entered allowing such Claim pursuant to section 502(b) of the Bankruptcy
                     Code, after notice and a hearing;

             2.      an order of the Court is entered temporarily allowing such Claim for voting purposes only pursuant
                     to Bankruptcy Rule 3018(a), after notice and a hearing;




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2      Capitalized terms not otherwise defined herein shall have the meaning given to them in the Plan.




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         3.       a stipulation or other agreement is executed between the Holder of such Claim and the Debtors
                  temporarily allowing the Holder of such Claim to vote its Claim in an agreed upon amount; or

         4.       the pending objection to such Claim is voluntarily withdrawn by the objecting party.

Copies of the Disclosure Statement (including the Plan) and the Committee Letter are being provided to you in
compliance with the applicable Bankruptcy Rules. You will not receive a Ballot or other Solicitation Materials
unless a Resolution Event occurs.

PLEASE TAKE FURTHER NOTICE THAT you are receiving an opt in form (the “Opt-In Notice”) regarding
certain voluntary release provisions and provisions regarding the voluntary contributions of claims. The Plan and
Disclosure Statement should be reviewed to inform your decision as to whether to complete the Opt-In Form or to
contribute your Contributed Third-Party Claims to the Wind-Down Entity.

PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of any of the related documents,
you should contact Stretto, Inc., the claims, noticing, and solicitation agent retained by the Debtors in these chapter
11 cases (the “Claims, Noticing, and Solicitation Agent”), by: (a) calling the Claims, Noticing, and Solicitation
Agent at (855) 473-8665 (Toll Free) or +1 (949) 271-6507 (International); (b) e-mailing the Claims, Noticing, and
Solicitation Agent at VoyagerInquiries@Stretto.com with a reference to “In re: Voyager - Solicitation Inquiry” in
the subject line; or (c) writing to the Claims, Noticing, and Solicitation Agent at Voyager Inquiries, c/o Stretto 410
Exchange, Suite 100 Irvine, CA 92602. You may also obtain copies of any pleadings filed with the Court for free
by visiting the Debtors’ restructuring website, https://cases.stretto.com/Voyager/, or for a fee via PACER at:
http://pacer.psc.uscourts.gov.

PLEASE TAKE FURTHER NOTICE THAT if you have any questions about the status of any of your Claims, you
should contact the Claims, Noticing, and Solicitation Agent in accordance with the instructions provided above.

               ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION,
            AND INJUNCTION PROVISIONS, AND ARTICLE VIII.B CONTAINS A THIRD-
          PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
        PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

 THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY. IF YOU HAVE
   QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN OR ABOUT ANYTHING
STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN ADDITIONAL INFORMATION, CONTACT
                   THE CLAIMS, NOTICING, AND SOLICITATION AGENT.




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Dated: ______________, 2023       /s/ Draft
New York, New York                KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  Joshua A. Sussberg, P.C.
                                  Christopher Marcus, P.C.
                                  Christine A. Okike, P.C.
                                  Allyson B. Smith (admitted pro hac vice)
                                  601 Lexington Avenue
                                  New York, New York 10022
                                  Telephone:       (212) 446-4800
                                  Facsimile:       (212) 446-4900
                                  Email:           jsussberg@kirkland.com
                                                   cmarcus@kirkland.com
                                                   christine.okike@kirkland.com
                                                   allyson.smith@kirkland.com

                                  Counsel to the Debtors and Debtors in Possession




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                                    OPTIONAL: RELEASE OPT IN NOTICE

You are receiving this Opt-In Notice because you are a Holder of a Claim or Interest that is not entitled to vote on the
Plan. Article IV of the Plan contains certain information regarding contribution of Contributed Third-Party Claims.
Article VIII of the Plan contains certain release, injunction, and exculpation provisions, including the Third-Party
Releases set forth below. You are advised to carefully review and consider the Plan, including the release, injunction,
and exculpation provisions, as your rights may be affected. Your decision to complete and return the Opt-In Notice
is entirely voluntary and not a requirement under the Plan or applicable law.

If you choose to opt into the Third-Party Release set forth in Article VIII.B of the Plan and/or to contribute
your Contributed Third-Party Claim(s) to the Wind-Down Entity, you may submit your election to opt-in by
submitting the electronic version of your Opt In Notice through the e-balloting portal (the “E-Balloting
Portal”),      which      can    be      accessed     via      the     Debtors’     restructuring     website,
https://cases.stretto.com/Voyager/balloting, according to instructions provided below

THIS OPT IN NOTICE MUST BE ACTUALLY RECEIVED BY THE CLAIMS, NOTICING, AND
SOLICITATION AGENT BY FEBRUARY 22, 2023, AT 4:00 P.M. PREVAILING EASTERN TIME
(THE “OPT IN DEADLINE”).

Item 1. Amount of Claim or Interest.

The undersigned hereby certifies that, as of January 10, 2023 (the “Voting Record Date”), the undersigned was the
Holder of Claims or Interests in one or more of Classes 5, 6 or 9 in the following aggregate amount of claims or
interests (insert amount in box below):



                                    Class 5 $ _____________________________

                                    Class 6 $ _____________________________

                      Class 9 Share Amount _____________________________




                                                           3
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Item 2.            Important information regarding the Third-Party Release.

AS A HOLDER OF A CLAIM OR INTEREST, YOU ARE A “RELEASING PARTY” UNDER THE PLAN IF YOU
OPT IN TO THE RELEASES CONTAINED IN THE PLAN. YOU MAY CHECK THE BOX BELOW TO ELECT
TO GRANT THE RELEASE CONTAINED IN ARTICLE VIII.B OF THE PLAN. YOU WILL BE CONSIDERED
A “RELEASING PARTY” UNDER THE PLAN ONLY IF (I) THE COURT DETERMINES THAT YOU HAVE
THE RIGHT TO OPT IN TO THE RELEASES AND (II) YOU CHECK THE BOX BELOW AND SUBMIT THE
OPT IN NOTICE BY THE OPT IN DEADLINE.


          By checking this box, you elect to opt IN to the Third-Party Releases.


Article VIII.B of the Plan contains the following Third-Party Release:

          Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of the Releasing
Parties, in each case on behalf of themselves and their respective successors, assigns, and representatives, from
any and all Causes of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims asserted
or assertable on behalf of any of the Debtors, that such Entity would have been legally entitled to assert in its
own right (whether individually or collectively or on behalf of the Holder of any Claim against, or Interest in,
a Debtor or other Entity), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their capital structure, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Debtors’ out-of-court restructuring efforts,
intercompany transactions between or among a Debtor and another Debtor, the formulation, preparation,
dissemination, negotiation, filing, or consummation of the Definitive Documents or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Definitive Documents, the pursuit of consummation of the Plan, the administration and
implementation of the Restructuring Transactions, or upon any other act or omission, transaction, agreement,
event, or other occurrence related to the Debtors taking place on or before the Effective Date, provided that
nothing in Article VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful
misconduct, or gross negligence as determined by a Final Order.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.B of the Plan, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
Court’s finding that each release described in Article VIII.B of the Plan is: (1) in exchange for the good and
valuable consideration provided by the Released Parties; (2) a good-faith settlement and compromise of such
Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair,
equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; (6) a sound exercise
of the Debtors’ business judgment; and (7) except to the extent contemplated by Article IV.E and Article IV.F
of the Plan, a bar to any of the Releasing Parties or the Debtors or Wind-Down Debtors or their respective
Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.

Definitions Related to the Debtor Release and the Third-Party Release:

          3.   Under the Plan, “Released Parties” means, collectively, in each case in its capacity as such:
               (a) the Debtors; (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d)
               each of the Released Professionals; (e) Purchaser and each of its Related Parties; and (f) each of the
               Released Voyager Employees (subject to the limitations contained in Article IV.E and Article IV.F of



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               the Plan); provided that, if the Asset Purchase Agreement is terminated, Purchaser and each of its Related
               Parties shall not be “Released Parties” under the Plan.

         4.    Under the Plan, “Releasing Parties” means, collectively, in each case in its capacity as such: (a) the
               Debtors; (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of
               the Released Professionals; (e) each of the Released Voyager Employees; (f) Purchaser and each of its
               Related Parties to the extent Purchaser is able to bind such Related Parties; (g) all Holders of Claims that
               vote to accept the Plan and affirmatively opt into the releases provided by the Plan; (h) all Holders of
               Claims that vote to reject the Plan and affirmatively opt into the releases provided by the Plan; and (i)
               all Holders of Claims or Interests that abstain from voting (or are otherwise not entitled to vote) on the
               Plan and affirmatively opt into the releases provided by the Plan; provided that, if the Asset Purchase
               Agreement is terminated, Purchaser and each of its Related Parties shall not be “Releasing Parties” under
               the Plan.

Item 3. Contributed Third-Party Claims.

If the Plan is confirmed, all causes of action that the Debtors are entitled to bring against third parties not released
under the Plan (the “Litigation Targets”) will be transferred to the Wind-Down Entity. In addition to these causes of
action that can only be commenced by the Wind-Down Entity, certain creditors may have direct causes of action
against the Litigation Targets. However, it is difficult and expensive for individual creditors to sue third parties for
losses. Accordingly, creditors can elect to contribute direct causes of action to the Wind-Down Entity. By opting in
to contribute causes of action to the Wind-Down Entity, you are giving the Wind-Down Entity the right to pursue
those direct causes of action on your behalf together with other creditors. As a result, the Wind-Down Entity will be
able to use its resources to sue the Litigation Targets on those direct causes of action, and all recoveries will inure to
the benefit of all creditors and not just those that agreed to contribute their claims. For the avoidance of doubt, the
decision to “opt in” to contribute third-party claims is entirely voluntary, and the failure to “opt in” does not prejudice
any electing creditors’ rights.

By electing such option on this Ballot, you agree that, subject to the occurrence of the Effective Date and the formation
of the Wind-Down Entity, you will be deemed, without further action, (i) to have irrevocably contributed your
Contributed Third-Party Claims to the Wind-Down Entity, and (ii) to have agreed to execute any documents
reasonably requested by the Debtors or the Wind-Down Entity to memorialize and effectuate such contribution.

The Committee strongly encourages you to elect to contribute your Contributed Third-Party Claims to the
Wind-Down Entity, which will allow the Wind-Down Entity to potentially seek greater recoveries for the benefit
of Holders of Claims and Interests.


              By checking this box, you elect to contribute your Contributed Third-Party Claims to the Wind-Down
              Entity.


Definitions Related to Contributed Third-Party Claims:

         Under the Plan, “Contributed Third-Party Claims” means all direct Causes of Action that any Contributing
         Claimant has against any Person (other than a Debtor) that had a direct relationship with the Debtors, their
         predecessors, or respective affiliates and that harmed such Contributing Claimant in the claimant’s capacity
         as a creditor of Voyager, including (a) all Causes of Action based on, arising out of, or related to the
         marketing, sale, and issuance of Cryptocurrency that at any point was held or offered on Voyager’s platform;
         (b) all Causes of Action based on, arising out of, or related to the alleged misrepresentation of any of the
         Debtors’ financial information, business operations, or related internal controls; and (c) all Causes of Action
         based on, arising out of, or related to any alleged failure to disclose, or actual or attempted cover up or
         obfuscation of, any of the Debtors’ conduct prior to the Petition Date; provided, however, that Contributed
         Third-Party Claims do not include (i) any derivative claims of the Debtors; (ii) any direct claims against the
         Released Parties; (iii) any direct Causes of Action that any Contributing Claimant has against Mark Cuban,
         Dallas Basketball Limited d/b/a Dallas Mavericks, the National Basketball Association, and any of their


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           Related Parties; or (iv) any direct Causes of Action that any Contributing Claimant, in its capacity as an
           equity holder of Voyager Digital Ltd., has that are asserted in the currently filed complaint, dated as of July
           6, 2022, in the Ontario Superior Court of Justice by Francine De Sousa, against Voyager Digital Ltd., Stephen
           Ehrlich, Philip Eytan, Evan Psaropoulos, Lewis Bateman, Krisztian Toth, Jennifer Ackart, Glenn Stevens,
           and Brian Brooks.

Item 4.     Certifications.

By signing this Opt In Notice, the undersigned certifies:

    (e)     that, as of the Record Date, either: (i) the Entity is the Holder of the Claims or Interests set forth in Item 1;
            or (ii) the Entity is an authorized signatory for an Entity that is a Holder of the Claims or Interests set forth
            in Item 1;

    (f) that the Holder has received a copy of the Notice of (I) Non-Voting Status to Holders of Impaired Claims or
        Interests Conclusively Deemed to Reject the Plan, (II) Opportunity to Opt In to the Third-Party Releases,
        and (III) Opportunity to Contribute Third-Party Claims and that this Opt In Notice is submitted pursuant to
        the terms and conditions set forth therein;

    (g) that the Entity has submitted the same respective election concerning the releases with respect to all Claims
        or Interests in a single Class set forth in Item 1; and

    (h) that no other Opt In Notice with respect to the amount(s) of Claims or Interests identified in Item 1 have been
        submitted or, if any other Opt In Notices have been submitted with respect to such Claims and Interests, then
        any such earlier Opt In Notices are hereby revoked.


Name of Holder:
                                                                     (Print or Type)
Signature:


Name of Signatory:
                                                                  (If other than Holder)

Title:


Address:




Telephone
Number:


Email:


Date Completed:




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IF YOU WISH TO MAKE THE OPT IN ELECTION AND/OR ELECT TO CONTRIBUTE YOUR
THIRD-PARTY CLAIMS, PLEASE SUBMIT THE ELECTRONIC VERSION OF YOUR OPT IN
NOTICE THROUGH THE E-BALLOTING PORTAL PER INSTRUCTIONS PROVIDED BELOW:

   To      submit     your    Opt   In    Notice     via    the     online    voting    portal,   please    visit
   https://cases.stretto.com/Voyager/balloting and follow the instructions to submit your Opt In Notice.

   The Claims, Noticing, and Solicitation Agent’s online voting platform is the sole manner in which Opt In
   Notices will be accepted via electronic or online transmission. Opt In Notices submitted by facsimile, e-mail,
   or other means of electronic transmission will not be counted.

   Please complete and submit an Opt In Notice for each Opt In Notice you receive, as applicable.
                                             *        *        *




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Dated: ______________, 2023       /s/ Draft
New York, New York                KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  Joshua A. Sussberg, P.C.
                                  Christopher Marcus, P.C.
                                  Christine A. Okike, P.C.
                                  Allyson B. Smith (admitted pro hac vice)
                                  601 Lexington Avenue
                                  New York, New York 10022
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                                                   cmarcus@kirkland.com
                                                   christine.okike@kirkland.com
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                                  Counsel to the Debtors and Debtors in Possession
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                                 Exhibit 3A

                   Class 3 Ballots (Account Holder Claims)
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    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
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    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          )
    In re:                                                                )      Chapter 11
                                                                          )
                                                          1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                               )      Case No. 22-10943 (MEW)
                                                                          )
                                           Debtors.                       )      (Jointly Administered)
                                                                          )

                        BALLOT FOR VOTING TO ACCEPT OR REJECT
            THE THIRD AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC.
       AND ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                                CLASS 3 HOLDERS OF ACCOUNT HOLDER CLAIMS

     PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING BALLOTS
                     CAREFULLY BEFORE COMPLETING THIS BALLOT.

     THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO BE ACTUALLY
     RECEIVED BY THE CLAIMS, NOTICING, AND SOLICITATION AGENT BY FEBRUARY 22, 2023,
             AT 4:00 P.M., PREVAILING EASTERN TIME (THE “VOTING DEADLINE”).

The above-captioned debtors and debtors in possession (collectively, the “Debtors”), are soliciting votes in accordance
with title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), to accept or reject the Third
Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
Bankruptcy Code (as amended, supplemented, or otherwise modified from time to time, the “Plan”),2 attached as
Exhibit A to the Second Amended Disclosure Statement for the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as may be amended, modified,
or supplemented from time to time and including all exhibits or supplements thereto, the “Disclosure Statement”)
from Holders of Account Holder Claims, OpCo General Unsecured Claims, HoldCo General Unsecured Claims, and
TopCo General Unsecured Claims (each, a “Voting Class” and collectively, the “Voting Classes”).

Once completed and returned in accordance with the attached instructions, your vote on the Plan will be counted as
set forth herein. A Voting Class will accept the Plan if Holders of at least two-thirds in amount and more than one-half

1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2      Capitalized terms not otherwise defined herein shall have the meaning given to them in the Plan.


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in number of Claims in that Voting Class votes to accept the Plan. The Court may confirm the Plan, which
contemplates effectuating the Restructuring Transactions, if the Plan otherwise satisfies the requirements of section
1129 of the Bankruptcy Code, and the Plan then would be binding on all Holders of Allowed Claims in the Voting
Classes, among others.

You are receiving this ballot (this “Ballot”) because you are the Holder of a Class 3 Account Holder Claim in the Plan
as of January 10, 2023 (the “Voting Record Date”). For additional discussion of the treatment of Class 3 Claims
under the Plan and the rights of Holders of Class 3 Claims under the Plan, please read the Disclosure Statement.

The rights and treatment for each Class are described in the Disclosure Statement, which is included in the package
(the “Solicitation Package”) you are receiving with this Ballot. If you received Solicitation Package materials in
electronic format and desire paper copies, or if you need to obtain additional Solicitation Packages, you may obtain
them from: (a) Stretto, Inc. (the “Claims, Noticing, and Solicitation Agent”), at no charge by: (i) accessing the
Debtors’ restructuring website at https://cases.stretto.com/Voyager/; (ii) writing to the Claims, Noticing, and
Solicitation Agent at Voyager Inquiries, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602; (iii) calling (855)
473-8665 (Toll Free) or +1 (949) 271-6507 (International); or (iv) emailing VoyagerInquiries@stretto.com and
referencing “In re Voyager - Solicitation Inquiry” in the subject line; or (b) for a fee via PACER at
http://pacer.psc.uscourts.gov.

This Ballot may not be used for any purpose other than for casting votes to accept or reject the Plan and making certain
certifications with respect to the Plan. In the event that the Schedules are amended to schedule Claims against multiple
Debtor entities, then votes on account of such Claims shall be tabulated for each applicable Debtor entity. If you
believe you have received this Ballot in error, please contact the Claims, Noticing, and Solicitation Agent immediately
at the address, telephone number, or email address set forth above.

The Court may confirm the Plan and thereby bind all Holders of Claims and Interests. To have your vote count as
either an acceptance or rejection of the Plan, you must complete and return this Ballot so that the Claims, Noticing,
and Solicitation Agent actually receives it on or before the Voting Deadline.

As further described in the Committee Letter, the Committee recommends that you vote to accept the Plan and
contribute your third-party claims.

THE VOTING DEADLINE IS ON FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.

Item 1.   Amount of Class 3 Claims.

The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was the Holder of Class 3
Account Holder Claims in the following aggregate principal amount (please list the number of each type of
Cryptocurrency held in your account as of July 5, 2022):

                            List of Coins Held on the Debtors’ Platform as of the Petition Date

                                         Number of Units                                             Number of Units
           Cyrptocurrency                Held by Account                Cyrptocurrency               Held by Account
                                             Holder                                                      Holder
 1. AAVE (AAVE)                                              54. ChainLink (LINK)
 2. Cardano (ADA)                                            55. Locked Luna (LLUNA)
 3. Algorand (ALGO)                                          56. Livepeer (LPT)
 4. MyNeighborAlice (ALICE)                                  57. Loopring (LRC)
 5. Amp (AMP)                                                58. Litecoin (LTC)
 6. Ankr Protocol (ANKR)                                     59. Terra Luna (LUNA)
 7. ApeCoin (APE)                                            60. Luna Classic (LUNC)
 8. Cosmos (ATOM)                                            61. Decentraland (MANA)
 9. Audius (AUDIO)                                           62. Polygon (MATIC)
 10. Avalanche (AVAX)                                        63. Maker (MKR)
 11. Axie Infinity (AXS)                                     64. Neo (NEO)


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     12. Band Protocol (BAND)                                65. Ocean Protocol (OCEAN)
     13. Basic Attention Token (BAT)                         66. OMG Network (OMG)
     14. Bitcoin Cash (BCH)                                  67. Ontology (ONT)
     15. Biconomy (BICO)                                     68. Optimism (OP)
     16. Bancor (BNT)                                        69. Orchid (OXT)
     17. Bitcoin (BTC)                                       70. Perpetual Protocol (PERP)
     18. BitTorrent (BTT)                                    71. Polymath (POLY)
     19. Pancake Swap (CAKE)                                 72. Quant (QNT)
     20. Celo (CELO)                                         73. Qtum (QTUM)
     21. Chiliz (CHZ)                                        74. Raydium (RAY)
     22. Nervos Network (CKB)                                75. Ren (REN)
     23. Compound (COMP)                                     76. Oasis Network (ROSE)
     24. Curve Dao Token (CRV)                               77. Sandbox (SAND)
     25. Dai (DAI)                                           78. Shiba Inu (SHIB)
     26. Dash (DASH)                                         79. Skale (SKL)
     27. DigiByte (DGB)                                      80. Solana (SOL)
     28. Dogecoin (DOGE)                                     81. Spell Token (SPELL)
     29. Polkadot (DOT)                                      82. Serum (SRM)
     30. dYdX (DYDX)                                         83. StormX (STMX)
     31. Elrond (EGLD)                                       84. SushiSwap (SUSHI)
     32. Enjin (ENJ)                                         85. OriginTrail (TRAC)
     33. Ethereum Name Service (ENS)                         86. TRON (TRX)
     34. Eos (EOS)                                           87. TrueUSD (TUSD)
     35. Ethereum Classic (ETC)                              88. UMA (UMA)
     36. Harvest Finance (FARM)                              89. Uniswap (UNI)
     37. Fetch.ai (FET)                                      90. USD Coin (USDC)
     38. Filecoin (FIL)                                      91. Tether (USDT)
     39. Flow (FLOW)                                         92. VeChain (VET)
     40. Fantom (FTM)                                        93. Voyager Token (VGX)
     41. Gala (GALA)                                         94. Waves (WAVES)
     42. Golem (GLM)                                         95. Wrapped Bitcoin (WBTC)
     43. The Graph (GRT)                                     96. Stellar Lumens (XLM)
     44. Hedera Hashgraph (HBAR)                             97. Monero (XMR)
     45. Internet Computer (ICP)                             98. Ripple (XRP)
     46. ICON (ICX)                                          99. Tezos (XTZ)
     47. IOTA (IOT)                                          100. Verge (XVG)
     48. JASMYCoin (JASMY)                                   101. yearn.finance (YFI)
     49. Kava (KAVA)                                         102. DFI.Money (YFII)
     50. Keep Network (KEEP)                                 103. Yield Guild Games (YGG)
     51. Kyber Network (KNC)                                 104. Zcash (ZEC)
     52. Kusama (KSM)                                        105. Horizen (ZEN)
     53. ChainLink (LINK)                                    106. 0x (ZRX)

    Item 2.   Recovery.

   Pursuant to Article III.C of the Plan, each Holder of an Allowed Account Holder Claim will receive in exchange for
    such Allowed Account Holder Claim: (i) if the Sale Transaction is consummated by the Outside Date (a) its Net Owed
    Coins, as provided in and subject to the requirements of Sections 6.10 and 6.12 of the Asset Purchase Agreement;
    provided that for Account Holders in Unsupported Jurisdictions and only to the extent that the Purchaser does not
    obtain the Unsupported Jurisdiction Approval for the jurisdiction in which such Account Holder resides within 6
    months following the Closing Date (as defined in the Asset Purchase Agreement), such Account Holders shall receive,
    after expiration of such time period, value in Cash at which such Net Owed Coins allocable to such Account Holder
    are liquidated; (b) its Pro Rata share of any Additional Bankruptcy Distributions, in Cryptocurrency or Cash as
    provided in and subject to the requirements of Sections 6.12 and 6.14 of the Asset Purchase Agreement; (c) its Pro
    Rata share of Distributable OpCo Cash; and (d) to effectuate distributions from the Wind-Down Entity, its Pro Rata
    share of the Wind-Down Entity Assets or Wind-Down Trust Units (if applicable) on account of any recovery of Wind-
    Down Trust Assets attributable to OpCo; provided that any distributions on account of the Wind-Down Entity Assets
    or Wind-Down Trust Units (if applicable) shall only be made following payment in full of, or reserve for, Allowed


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Administrative Claims, Allowed Priority Tax Claims, Allowed Secured Tax Claims, and Allowed Other Priority
Claims; provided that distributions made to any Account Holder pursuant to clauses (b), (c), and (d) above shall be
made after taking into account the Acquired Coins Value of the Net Owed Coins or the value in Cash at which such
Net Owed Coins are liquidated, as applicable, previously allocated to such Account Holder; or (ii) if the Sale
Transaction is not consummated by the Outside Date or the Asset Purchase Agreement is terminated: (a) its Pro Rata
share of Distributable OpCo Cash; (b) its Pro Rata share of Distributable Cryptocurrency, which such Account Holder
shall be able to withdraw in kind, alternative Cryptocurrency, and/or Cash for a period of thirty (30) days after the
Effective Date through the Voyager platform or, if elected by Seller pursuant to Section 6.12(d) of the Asset Purchase
Agreement, through the Binance.US Platform; provided that if the applicable transfer is made through the Voyager
platform and such Account Holder does not withdraw its Pro Rata share of Distributable Cryptocurrency available to
such Account Holder from the Voyager platform within such thirty (30) day period, such Account Holder will receive
Cash in the equivalent value to its Pro Rata share of Distributable Cryptocurrency; and (c) to effectuate distributions
from the Wind-Down Entity, its Pro Rata share of the Wind-Down Entity Assets or Wind-Down Trust Units (if
applicable) on account of any recovery of Wind-Down Trust Assets (if applicable) attributable to OpCo; provided that
any distributions on account of Wind-Down Entity Assets or Wind-Down Trust Units (if applicable) shall only be
made following payment in full of, or reserve for, Allowed Administrative Claims, Allowed Priority Tax Claims,
Allowed Secured Tax Claims, and Allowed Other Priority Claims.

Item 3.    Vote on Plan.

The Holder of the Class 3 Account Holder Claims against the Debtors set forth in Item 1 votes to (please check one):


     ACCEPT (vote FOR) the Plan                               REJECT (vote AGAINST) the Plan


Your vote on the Plan will be applied to each applicable Debtor in the same manner and in the same amount
as indicated in Item 1 and Item 3 above.

Item 4.    Third-Party Release.

AS A HOLDER OF A CLASS 3 CLAIM, YOU ARE A “RELEASING PARTY” UNDER THE PLAN IF YOU OPT
IN TO THE RELEASES CONTAINED IN THE PLAN. YOU MAY CHECK THE BOX BELOW TO ELECT TO
GRANT THE RELEASE CONTAINED IN ARTICLE VIII.B OF THE PLAN. YOU WILL BE CONSIDERED A
“RELEASING PARTY” UNDER THE PLAN ONLY IF (I) THE COURT DETERMINES THAT YOU HAVE THE
RIGHT TO OPT IN TO THE RELEASES AND (II) YOU CHECK THE BOX BELOW AND SUBMIT THE OPT
IN NOTICE BY THE OPT IN DEADLINE. YOUR DECISION TO COMPLETE AND RETURN THE OPT-IN
NOTICE IS ENTIRELY VOLUNTARY AND NOT A REQUIREMENT UNDER THE PLAN OR
APPLICABLE LAW. YOUR RECOVERY UNDER THE PLAN REMAINS UNAFFECTED WHETHER OR
NOT YOU ELECT TO OPT IN TO THE THIRD-PARTY RELEASE.


          By checking this box, you elect to opt IN to the Third-Party Releases.




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Article VIII.B of the Plan contains the following Third-Party Release:

Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Released Party is hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of the Releasing
Parties, in each case on behalf of themselves and their respective successors, assigns, and representatives, from
any and all Causes of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims asserted
or assertable on behalf of any of the Debtors, that such Entity would have been legally entitled to assert in its
own right (whether individually or collectively or on behalf of the Holder of any Claim against, or Interest in,
a Debtor or other Entity), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their capital structure, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Debtors’ out-of-court restructuring efforts,
intercompany transactions between or among a Debtor and another Debtor, the formulation, preparation,
dissemination, negotiation, filing, or consummation of the Definitive Documents or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Definitive Documents, the pursuit of consummation of the Plan, the administration and
implementation of the Restructuring Transactions, or upon any other act or omission, transaction, agreement,
event, or other occurrence related to the Debtors taking place on or before the Effective Date, provided that
nothing in Article VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful
misconduct, or gross negligence as determined by a Final Order.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.B of the Plan, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
Court’s finding that each release described in Article VIII.B of the Plan is: (1) in exchange for the good and
valuable consideration provided by the Released Parties; (2) a good-faith settlement and compromise of such
Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair,
equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; (6) a sound exercise
of the Debtors’ business judgment; and (7) except to the extent contemplated by Article IV.E and Article IV.F
of the Plan, a bar to any of the Releasing Parties or the Debtors or Wind-Down Debtors or their respective
Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.

Definitions Related to the Debtor Release and the Third-Party Release:

         Under the Plan, “Released Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
         (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
         Professionals; (e) Purchaser and each of its Related Parties; and (f) each of the Released Voyager Employees
         (subject to the limitations contained in Article IV.E and Article IV.F of the Plan); provided that, if the Asset
         Purchase Agreement is terminated, Purchaser and each of its Related Parties shall not be “Released Parties”
         under the Plan.

         Under the Plan, “Releasing Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
         (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
         Professionals; (e) each of the Released Voyager Employees; (f) Purchaser and each of its Related Parties to
         the extent Purchaser is able to bind such Related Parties; (g) all Holders of Claims that vote to accept the
         Plan and affirmatively opt into the releases provided by the Plan; (h) all Holders of Claims that vote to reject
         the Plan and affirmatively opt into the releases provided by the Plan; and (i) all Holders of Claims or Interests
         that abstain from voting (or are otherwise not entitled to vote) on the Plan and affirmatively opt into the
         releases provided by the Plan; provided that, if the Asset Purchase Agreement is terminated, Purchaser and
         each of its Related Parties shall not be “Releasing Parties” under the Plan.



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Item 5. Contributed Third-Party Claims.

If the Plan is confirmed, all causes of action that the Debtors are entitled to bring against third parties not released
under the Plan (the “Litigation Targets”) will be transferred to the Wind-Down Entity. In addition to these causes of
action that can only be commenced by the Wind-Down Entity, certain creditors may have direct causes of action
against the Litigation Targets. However, it is difficult and expensive for individual creditors to sue third parties for
losses. Accordingly, creditors can elect to contribute direct causes of action to the Wind-Down Entity. By opting in
to contribute causes of action to the Wind-Down Entity, you are giving the Wind-Down Entity the right to pursue
those direct causes of action on your behalf together with other creditors. As a result, the Wind-Down Entity will be
able to use its resources to sue the Litigation Targets on those direct causes of action, and all recoveries will inure to
the benefit of all creditors and not just those that agreed to contribute their claims. For the avoidance of doubt, the
decision to “opt in” to contribute third-party claims is entirely voluntary, and the failure to “opt in” does not prejudice
any electing creditors’ rights.

By electing such option on this Ballot, you agree that, subject to the occurrence of the Effective Date and the formation
of the Wind-Down Entity, you will be deemed, without further action, (i) to have irrevocably contributed your
Contributed Third-Party Claims to the Wind-Down Entity, and (ii) to have agreed to execute any documents
reasonably requested by the Debtors or the Wind-Down Entity to memorialize and effectuate such contribution.

The Committee strongly encourages you to elect to contribute your Contributed Third-Party Claims to the
Wind-Down Entity, which will allow the Wind-Down Entity to potentially seek greater recoveries for the benefit
of Holders of Claims and Interests.


            By checking this box, you elect to to contribute your Contributed Third-Party Claims to the
            Wind-Down Entity.


Definitions Related to Contributed Third-Party Claims:

         Under the Plan, “Contributed Third-Party Claims” means all direct Causes of Action that any Contributing
         Claimant has against any Person (other than a Debtor) that had a direct relationship with the Debtors, their
         predecessors, or respective affiliates and that harmed such Contributing Claimant in the claimant’s capacity
         as a creditor of Voyager, including (a) all Causes of Action based on, arising out of, or related to the
         marketing, sale, and issuance of Cryptocurrency that at any point was held or offered on Voyager’s platform;
         (b) all Causes of Action based on, arising out of, or related to the alleged misrepresentation of any of the
         Debtors’ financial information, business operations, or related internal controls; and (c) all Causes of Action
         based on, arising out of, or related to any alleged failure to disclose, or actual or attempted cover up or
         obfuscation of, any of the Debtors’ conduct prior to the Petition Date; provided, however, that Contributed
         Third-Party Claims do not include (i) any derivative claims of the Debtors; (ii) any direct claims against the
         Released Parties; (iii) any direct Causes of Action that any Contributing Claimant has against Mark Cuban,
         Dallas Basketball Limited d/b/a Dallas Mavericks, the National Basketball Association, and any of their
         Related Parties; or (iv) any direct Causes of Action that any Contributing Claimant, in its capacity as an
         equity holder of Voyager Digital Ltd., has that are asserted in the currently filed complaint, dated as of July
         6, 2022, in the Ontario Superior Court of Justice by Francine De Sousa, against Voyager Digital Ltd., Stephen
         Ehrlich, Philip Eytan, Evan Psaropoulos, Lewis Bateman, Krisztian Toth, Jennifer Ackart, Glenn Stevens,
         and Brian Brooks.

Item 6. Certifications.

1.    The undersigned is (a) the Holder of the Account Holder Claims (Class 3) being voted or (b) the authorized
      signatory for an entity that is a Holder of such Account Holder Claims;
2.    the undersigned has received a copy of the solicitation materials, including the Plan and the Disclosure Statement,
      and acknowledges that the undersigned’s vote as set forth on this Ballot is subject to the terms and conditions
      set forth therein and herein;


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3.     the undersigned has cast the same vote with respect to all of its Account Holder Claims (Class 3) in connection
       with the Plan; and
4.     (a) no other Ballot with respect to the same Account Holder Claims (Class 3) identified in Item 1 has been cast
       or (b) if any other Ballot has been cast with respect to such Account Holder Claims, then any such earlier Ballots
       are hereby revoked and deemed to be null and void.

Item 7. Ballot Completion Information.

     Name of Holder:




     Signature:
     Signatory Name (if other than
     the Holder):
     Title:
     Address:
     Email Address:
     Telephone Number:
     Date Completed:

 No fees, commissions, or other remuneration will be payable to any broker, dealer, or other person for soliciting votes
 on the Plan. This Ballot shall not constitute or be deemed a proof of claim or equity interest or an assertion of a claim
 or equity interest.

PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT IN ACCORDANCE WITH
INSTRUCTIONS CONTAINED HEREIN. THIS BALLOT MUST BE COMPLETED, EXECUTED, AND
RETURNED SO THAT IT IS ACTUALLY RECEIVED BY THE CLAIMS, NOTICING, AND
SOLICITATION AGENT PRIOR TO THE VOTING DEADLINE VIA THE ONLINE VOTING PORTAL
AT HTTPS://CASES.STRETTO.COM/VOYAGER/BALLOTING.
     THE VOTING DEADLINE IS FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.

       THE CLAIMS, NOTICING, AND SOLICITATION AGENT MUST ACTUALLY RECEIVE THIS
                   CLASS 3 BALLOT ON OR BEFORE THE VOTING DEADLINE.




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                                          Class 3 — Account Holder Claims
                              INSTRUCTIONS FOR COMPLETING THIS BALLOT

1.   The Debtors are soliciting the votes of Holders of Claims with respect to the Plan attached as Exhibit A to the
     Disclosure Statement. Capitalized terms used in the Ballot or in these instructions (the “Ballot Instructions”) but
     not otherwise defined therein or herein shall have the meanings set forth in the Plan, a copy of which also
     accompanies the Ballot. PLEASE READ THE PLAN AND DISCLOSURE STATEMENT CAREFULLY
     BEFORE COMPLETING THIS BALLOT.

2.   The Plan can be confirmed by the Court and thereby made binding upon the Holders if it is accepted by the
     Holders of at least two-thirds in amount and more than one-half in number of Claims in at least one class of
     Impaired creditors that votes on the Plan and if the Plan otherwise satisfies the requirements for confirmation
     provided by section 1129(a) of the Bankruptcy Code. Please review the Disclosure Statement for more
     information.

3.   This Ballot contains voting options with respect to the Plan.

4.   To vote, you MUST: (a) fully complete this Ballot; (b) clearly indicate your decision to accept or reject the Plan
     in Item 3 of this Ballot; and (c) sign, date, and return this Ballot via the Claims, Noticing, and Solicitation Agent’s
     online voting portal as described more fully below.


      To submit your Ballot via the online voting portal, please visit https://cases.stretto.com/Voyager/balloting and
      follow the instructions to submit your Ballot.

      IMPORTANT NOTE: You will need the following information to retrieve and submit your customized
      E-Ballot:

      Unique E-Ballot ID#: ____________________________________________

      PIN#: ________________________________________________________


      The Claims, Noticing, and Solicitation Agent’s online voting platform is the sole manner in which Ballots will
      be accepted via electronic or online transmission. Ballots submitted by facsimile, e-mail, or other means of
      electronic transmission will not be counted.

      Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your Ballot. Please
      complete and submit a Ballot for each E-Ballot ID# you receive, as applicable. Creditors who cast a Ballot using
      the Claims, Noticing, and Solicitation Agent’s online voting portal should NOT also submit a hard copy Ballot.

5.   Any Ballot submitted that is incomplete or illegible, indicates unclear or inconsistent votes with respect to the
     Plan, or is improperly signed and returned will NOT be counted unless the Debtors otherwise determine.

6.   To vote, you MUST deliver your completed Ballot so that it is ACTUALLY RECEIVED by the Claims,
     Noticing, and Solicitation Agent on or before the Voting Deadline by one of the methods described above. The
     Voting Deadline is February 22, 2023, at 4:00 p.m. prevailing Eastern Time.

7.   Any Ballot received by the Claims, Noticing, and Solicitation Agent after the Voting Deadline will not be counted
     with respect to acceptance or rejection of the Plan, as applicable, unless the Debtors otherwise determine. No
     Ballot may be withdrawn or modified after the Voting Deadline without the Debtors’ prior consent.

8.   Delivery of a Ballot reflecting your vote to the Claims, Noticing, and Solicitation Agent will be deemed to have
     occurred only when the Claims, Noticing, and Solicitation Agent actually receives the originally executed Ballot
     (for the avoidance of doubt, a Ballot submitted via the Claims, Noticing, and Solicitation Agent online voting

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     portal shall be deemed to contain an original signature). In all cases, you should allow sufficient time to assure
     timely delivery.

9.   If you deliver multiple Ballots to the Claims, Noticing, and Solicitation Agent, ONLY the last properly executed
     Ballot timely received will be deemed to reflect your intent and will supersede and revoke any prior received
     Ballot(s).

10. You must vote all of your Class 3 Account Holder Claims either to accept or reject the Plan, and may not split
    your vote. Further, if a Holder has multiple Claims within Class 3, the Debtors may direct the Claims, Noticing,
    and Solicitation Agent to aggregate the Claims of any particular Holder within Class 3 for the purpose of counting
    votes.

11. This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or Interest, or an assertion or
    admission of a Claim or an Interest, in the Debtors’ Chapter 11 Cases.

12. You should not rely on any information, representations, or inducements made to obtain an acceptance of the Plan
    that are other than as set forth, or are inconsistent with, the information contained in the Disclosure Statement,
    the documents attached to or incorporated in the Disclosure Statement, and the Plan.

13. SIGN AND DATE your Ballot.3 Please provide your name and mailing address in the space provided on this
    Ballot if it is different from that set forth on the Ballot or if no address is presented on the Ballot.

14. If your Claim is held in multiple accounts, you may receive more than one Ballot coded for each such account for
    which your Claims are held. Each Ballot votes only your Claims indicated on that Ballot. Accordingly, complete
    and return each Ballot you receive.

                                  PLEASE RETURN YOUR BALLOT PROMPTLY
IF YOU HAVE ANY QUESTIONS REGARDING THIS CLASS 3 BALLOT, THESE VOTING
INSTRUCTIONS OR THE PROCEDURES FOR VOTING, PLEASE CALL THE CLAIMS, NOTICING,
AND SOLICITATION AGENT AT: (855) 473-8665 (TOLL-FREE) OR +1 (949) 271-6507
(INTERNATIONAL) OR EMAIL VOYAGERINQUIRIES@STRETTO.COM AND REFERENCE “IN RE
VOYAGER - SOLICITATION INQUIRY” IN THE SUBJECT LINE.


     THE VOTING DEADLINE IS FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.

      THE CLAIMS, NOTICING, AND SOLICITATION AGENT MUST ACTUALLY RECEIVE THIS
                  CLASS 3 BALLOT ON OR BEFORE THE VOTING DEADLINE.




3    If you are signing a Ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or officer of a
     corporation or otherwise acting in a fiduciary or representative capacity, you must indicate such capacity when signing and,
     if required or requested by the Claims, Noticing, and Solicitation Agent, the Debtors, the Debtors’ counsel, or the Court, must
     submit proper evidence to the requesting party of authority to so act on behalf of such holder.


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                                 Exhibit 3B

               Class 4A Ballot (OpCo General Unsecured Claims)
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    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    601 Lexington Avenue
    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          )
    In re:                                                                )       Chapter 11
                                                                          )
                                                          1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                               )       Case No. 22-10943 (MEW)
                                                                          )
                                           Debtors.                       )       (Jointly Administered)
                                                                          )

                        BALLOT FOR VOTING TO ACCEPT OR REJECT
            THE THIRD AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC.
       AND ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                        CLASS 4A HOLDERS OF OPCO GENERAL UNSECURED CLAIMS


     PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING BALLOTS
                     CAREFULLY BEFORE COMPLETING THIS BALLOT.

     THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO BE ACTUALLY
     RECEIVED BY THE CLAIMS, NOTICING, AND SOLICITATION AGENT BY FEBRUARY 22, 2023,
             AT 4:00 P.M., PREVAILING EASTERN TIME (THE “VOTING DEADLINE”).


The above-captioned debtors and debtors in possession (collectively, the “Debtors”), are soliciting votes in accordance
with title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), to accept or reject the Third
Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
Bankruptcy Code (as amended, supplemented, or otherwise modified from time to time, the “Plan”),2 attached as
Exhibit A to the Second Amended Disclosure Statement for the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as may be amended, modified,
or supplemented from time to time and including all exhibits or supplements thereto, the “Disclosure Statement”)
from Holders of Account Holder Claims, OpCo General Unsecured Claims, HoldCo General Unsecured Claims, and
TopCo General Unsecured Claims (each, a “Voting Class” and collectively, the “Voting Classes”).




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2      Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Plan.




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Once completed and returned in accordance with the attached instructions, your vote on the Plan will be counted as
set forth herein. A Voting Class will accept the Plan if Holders of at least two-thirds in amount and more than one-half
in number of Claims in that Voting Class votes to accept the Plan. The Court may confirm the Plan, which
contemplates effectuating the Restructuring Transactions, if the Plan otherwise satisfies the requirements of
section 1129 of the Bankruptcy Code, and the Plan then would be binding on all Holders of Allowed Claims in the
Voting Classes, among others.

You are receiving this ballot (this “Ballot”) because you are the Holder of Class 4A OpCo General Unsecured Claims
as of January 10, 2023 (the “Voting Record Date”). For additional discussion of the treatment of Class 4A Claims
under the Plan and the rights of Holders of Class 4A Claims under the Plan, please read the Disclosure
Statement.

The rights and treatment for each Class are described in the Disclosure Statement, which is included in the package
(the “Solicitation Package”) you are receiving with this Ballot. If you received Solicitation Package materials in
electronic format and desire paper copies, or if you need to obtain additional Solicitation Packages, you may obtain
them from: (a) Stretto, Inc. (the “Claims, Noticing, and Solicitation Agent”), at no charge by: (i) accessing the
Debtors’ restructuring website at https://cases.stretto.com/Voyager/; (ii) writing to the Claims, Noticing, and
Solicitation Agent at Voyager Inquiries, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602; (iii) calling (855)
473-8665 (Toll Free) or +1 (949) 271-6507 (International); or (iv) emailing VoyagerInquiries@stretto.com and
referencing “In re Voyager - Solicitation Inquiry” in the subject line; or (b) for a fee via PACER at
http://pacer.psc.uscourts.gov.

This Ballot may not be used for any purpose other than for casting votes to accept or reject the Plan and making certain
certifications with respect to the Plan. In the event that the Schedules are amended to schedule Claims against multiple
Debtor entities, then votes on account of such Claims shall be tabulated for each applicable Debtor entity. If you
believe you have received this Ballot in error, please contact the Claims, Noticing, and Solicitation Agent immediately
at the address, telephone number, or email address set forth above.

The Court may confirm the Plan and thereby bind all Holders of Claims and Interests. To have your vote count as
either an acceptance or rejection of the Plan, you must complete and return this Ballot so that the Claims, Noticing,
and Solicitation Agent actually receives it on or before the Voting Deadline.

As further described in the Committee Letter, the Committee recommends that you vote to accept the Plan and
contribute your third-party claims.

THE VOTING DEADLINE IS ON FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.

Item 1.   Amount of Class 4A Claims.

The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was the Holder of Class 4A
OpCo General Unsecured Claims in the following aggregate principal amount (please fill in the amount if not
otherwise completed):

Amount of Claims: $__________________________



Item 2.   Recovery.

Pursuant to Article III.C of the Plan, each Holder of an Allowed OpCo General Unsecured Claim will receive in
exchange for such Allowed OpCo General Unsecured Claim: (i) if the Sale Transaction is consummated by the Outside
Date (a) its Pro Rata share of Distributable Cryptocurrency in Cash; (b) its Pro Rata share of Additional Bankruptcy
Distributions, in Cryptocurrency or Cash as provided in and subject to the requirements of Sections 6.12 and 6.14 of
the Asset Purchase Agreement, (c) its Pro Rata share of Distributable OpCo Cash, and (d) to effectuate distributions
from the Wind-Down Entity, its Pro Rata share of the Wind-Down Entity Assets or Wind-Down Trust Units (if
applicable) on account of any recovery of Wind-Down Trust Assets attributable to OpCo; provided that any



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distributions on account of the Wind-Down Entity Assets or Wind-Down Trust Units (if applicable) shall only be
made following payment in full of, or reserve for, Allowed Administrative Claims, Allowed Priority Tax Claims,
Allowed Secured Tax Claims, and Allowed Other Priority Claims; or (ii) if the Sale Transaction is not consummated
by the Outside Date or the Asset Purchase Agreement is terminated (a) its Pro Rata share of Distributable
Cryptocurrency in Cash; (b) its Pro Rata share of Distributable OpCo Cash, and (c) to effectuate distributions from
the Wind-Down Entity, its Pro Rata share of the Wind-Down Entity Assets or Wind-Down Trust Units (if applicable)
on account of any recovery of Wind-Down Trust Assets (if applicable) attributable to OpCo; provided that any
distributions on account of the Wind-Down Entity Assets or Wind-Down Trust Units (if applicable) shall only be
made following payment in full of, or reserve for, Allowed Administrative Claims, Allowed Priority Tax Claims,
Allowed Secured Tax Claims, and Allowed Other Priority Claims.

Item 3.    Vote on Plan.

The Holder of the Class 4A OpCo General Unsecured Claims against the Debtors set forth in Item 1 votes to
(please check one):


     ACCEPT (vote FOR) the Plan                               REJECT (vote AGAINST) the Plan


Your vote on the Plan will be applied to each applicable Debtor in the same manner and in the same amount
as indicated in Item 1 and Item 3 above.


Item 4.    Third-Party Release.

AS A HOLDER OF A CLASS 4A CLAIM, YOU ARE A “RELEASING PARTY” UNDER THE PLAN IF YOU
OPT IN TO THE RELEASES CONTAINED IN THE PLAN. YOU MAY CHECK THE BOX BELOW TO ELECT
TO GRANT THE RELEASE CONTAINED IN ARTICLE VIII.B OF THE PLAN. YOU WILL BE CONSIDERED
A “RELEASING PARTY” UNDER THE PLAN ONLY IF (I) THE COURT DETERMINES THAT YOU HAVE
THE RIGHT TO OPT IN TO THE RELEASES AND (II) YOU CHECK THE BOX BELOW AND SUBMIT THE
OPT IN NOTICE BY THE OPT IN DEADLINE. YOUR DECISION TO COMPLETE AND RETURN THE
OPT-IN NOTICE IS ENTIRELY VOLUNTARY AND NOT A REQUIREMENT UNDER THE PLAN OR
APPLICABLE LAW. YOUR RECOVERY UNDER THE PLAN REMAINS UNAFFECTED WHETHER OR
NOT YOU ELECT TO OPT IN TO THE THIRD-PARTY RELEASE.


          By checking this box, you elect to opt IN to the Third-Party Releases.


Article VIII.B of the Plan contains the following Third-Party Release:

          Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of the Releasing
Parties, in each case on behalf of themselves and their respective successors, assigns, and representatives, from
any and all Causes of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims asserted
or assertable on behalf of any of the Debtors, that such Entity would have been legally entitled to assert in its
own right (whether individually or collectively or on behalf of the Holder of any Claim against, or Interest in,
a Debtor or other Entity), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their capital structure, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Debtors’ out of court restructuring efforts,



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intercompany transactions between or among a Debtor and another Debtor, the formulation, preparation,
dissemination, negotiation, filing, or consummation of the Definitive Documents or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Definitive Documents, the pursuit of consummation of the Plan, the administration and
implementation of the Restructuring Transactions, or upon any other act or omission, transaction, agreement,
event, or other occurrence related to the Debtors taking place on or before the Effective Date, provided that
nothing in Article VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful
misconduct, or gross negligence as determined by a Final Order.
         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.B of the Plan, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
Court’s finding that each release described in Article VIII.B of the Plan is: (1) in exchange for the good and
valuable consideration provided by the Released Parties; (2) a good-faith settlement and compromise of such
Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair,
equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; (6) a sound exercise
of the Debtors’ business judgment; and (7) except to the extent contemplated by Article IV.E and Article IV.F
of the Plan, a bar to any of the Releasing Parties or the Debtors or Wind-Down Debtors or their respective
Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.

Definitions Related to the Debtor Release and the Third-Party Release:

         Under the Plan, “Released Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
         (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
         Professionals; (e) Purchaser and each of its Related Parties; and (f) each of the Released Voyager Employees
         (subject to the limitations contained in Article IV.E and Article IV.F of the Plan); provided that, if the Asset
         Purchase Agreement is terminated, Purchaser and each of its Related Parties shall not be “Released Parties”
         under the Plan.

         Under the Plan, “Releasing Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
         (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
         Professionals; (e) each of the Released Voyager Employees; (f) Purchaser and each of its Related Parties to
         the extent Purchaser is able to bind such Related Parties; (g) all Holders of Claims that vote to accept the
         Plan and affirmatively opt into the releases provided by the Plan; (h) all Holders of Claims that vote to reject
         the Plan and affirmatively opt into the releases provided by the Plan; and (i) all Holders of Claims or Interests
         that abstain from voting (or are otherwise not entitled to vote) on the Plan and affirmatively opt into the
         releases provided by the Plan; provided that, if the Asset Purchase Agreement is terminated, Purchaser and
         each of its Related Parties shall not be “Releasing Parties” under the Plan.

Item 5. Contributed Third-Party Claims.

If the Plan is confirmed, all causes of action that the Debtors are entitled to bring against third parties not released
under the Plan (the “Litigation Targets”) will be transferred to the Wind-Down Entity. In addition to these causes of
action that can only be commenced by the Wind-Down Entity, certain creditors may have direct causes of action
against the Litigation Targets. However, it is difficult and expensive for individual creditors to sue third parties for
losses. Accordingly, creditors can elect to contribute direct causes of action to the Wind-Down Entity. By opting in
to contribute causes of action to the Wind-Down Entity, you are giving the Wind-Down Entity the right to pursue
those direct causes of action on your behalf together with other creditors. As a result, the Wind-Down Entity will be
able to use its resources to sue the Litigation Targets on those direct causes of action, and all recoveries will inure to
the benefit of all creditors and not just those that agreed to contribute their claims. For the avoidance of doubt, the
decision to “opt in” to contribute third-party claims is entirely voluntary, and the failure to “opt in” does not prejudice
any electing creditors’ rights.

By electing such option on this Ballot, you agree that, subject to the occurrence of the Effective Date and the formation
of the Wind-Down Entity, you will be deemed, without further action, (i) to have irrevocably contributed your



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Contributed Third-Party Claims to the Wind-Down Entity, and (ii) to have agreed to execute any documents
reasonably requested by the Debtors or the Wind-Down Entity to memorialize and effectuate such contribution.

The Committee strongly encourages you to elect to contribute your Contributed Third-Party Claims to the
Wind-Down Entity, which will allow the Wind-Down Entity to potentially seek greater recoveries for the benefit
of Holders of Claims and Interests.


             By checking this box, you elect to to contribute your Contributed Third-Party Claims to the
             Wind-Down Entity.



Definitions Related to Contributed Third-Party Claims:

          Under the Plan, “Contributed Third-Party Claims” means all direct Causes of Action that any Contributing
          Claimant has against any Person (other than a Debtor) that had a direct relationship with the Debtors, their
          predecessors, or respective affiliates and that harmed such Contributing Claimant in the claimant’s capacity
          as a creditor of Voyager, including (a) all Causes of Action based on, arising out of, or related to the
          marketing, sale, and issuance of Cryptocurrency that at any point was held or offered on Voyager’s platform;
          (b) all Causes of Action based on, arising out of, or related to the alleged misrepresentation of any of the
          Debtors’ financial information, business operations, or related internal controls; and (c) all Causes of Action
          based on, arising out of, or related to any alleged failure to disclose, or actual or attempted cover up or
          obfuscation of, any of the Debtors’ conduct prior to the Petition Date; provided, however, that Contributed
          Third-Party Claims do not include (i) any derivative claims of the Debtors; (ii) any direct claims against the
          Released Parties; (iii) any direct Causes of Action that any Contributing Claimant has against Mark Cuban,
          Dallas Basketball Limited d/b/a Dallas Mavericks, the National Basketball Association, and any of their
          Related Parties; or (iv) any direct Causes of Action that any Contributing Claimant, in its capacity as an
          equity holder of Voyager Digital Ltd., has that are asserted in the currently filed complaint, dated as of July
          6, 2022, in the Ontario Superior Court of Justice by Francine De Sousa, against Voyager Digital Ltd., Stephen
          Ehrlich, Philip Eytan, Evan Psaropoulos, Lewis Bateman, Krisztian Toth, Jennifer Ackart, Glenn Stevens,
          and Brian Brooks.

Item 6. Certifications.

1.     The undersigned is (a) the Holder of the OpCo General Unsecured Claims (Class 4A) being voted or (b) the
       authorized signatory for an entity that is a Holder of such OpCo General Unsecured Claims;

2.     the undersigned has received a copy of the solicitation materials, including the Plan and the Disclosure Statement,
       and acknowledges that the undersigned’s vote as set forth on this Ballot is subject to the terms and conditions
       set forth therein and herein;

3.     the undersigned has cast the same vote with respect to all of its OpCo General Unsecured Claims (Class 4A) in
       connection with the Plan; and

4.     (a) no other Ballot with respect to the same OpCo General Unsecured Claims (Class 4A) identified in Item 3 has
       been cast or (b) if any other Ballot has been cast with respect to such OpCo General Unsecured Claims, then any
       such earlier Ballots are hereby revoked and deemed to be null and void.

Item 7. Ballot Completion Information.

     Name of Holder:




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 Signature:
 Signatory Name (if other than
 the Holder):
 Title:
 Address:
 Email Address:
 Telephone Number:
 Date Completed:

No fees, commissions, or other remuneration will be payable to any broker, dealer, or other person for soliciting votes
on the Plan. This Ballot shall not constitute or be deemed a proof of claim or equity interest or an assertion of a claim
or equity interest.

PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT IN ACCORDANCE WITH
INSTRUCTIONS CONTAINED HEREIN. THIS BALLOT MUST BE COMPLETED, EXECUTED, AND
RETURNED SO THAT IT IS ACTUALLY RECEIVED BY THE CLAIMS, NOTICING, AND
SOLICITATION AGENT PRIOR TO THE VOTING DEADLINE VIA THE ONLINE VOTING PORTAL
AT HTTPS://CASES.STRETTO.COM/VOYAGER/BALLOTING.


  THE VOTING DEADLINE IS FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.

   THE CLAIMS, NOTICING, AND SOLICITATION AGENT MUST ACTUALLY RECEIVE THIS
              CLASS 4A BALLOT ON OR BEFORE THE VOTING DEADLINE.




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                                    Class 4A — OpCo General Unsecured Claims
                              INSTRUCTIONS FOR COMPLETING THIS BALLOT

1.   The Debtors are soliciting the votes of Holders of Claims with respect to the Plan attached as Exhibit A to the
     Disclosure Statement. Capitalized terms used in the Ballot or in these instructions (the “Ballot Instructions”) but
     not otherwise defined therein or herein shall have the meanings set forth in the Plan, a copy of which also
     accompanies the Ballot. PLEASE READ THE PLAN AND DISCLOSURE STATEMENT CAREFULLY
     BEFORE COMPLETING THIS BALLOT.

2.   The Plan can be confirmed by the Court and thereby made binding upon the Holders if it is accepted by the
     Holders of at least two-thirds in amount and more than one-half in number of Claims in at least one class of
     impaired creditors that votes on the Plan and if the Plan otherwise satisfies the requirements for confirmation
     provided by section 1129(a) of the Bankruptcy Code. Please review the Disclosure Statement for more
     information.

3.   This Ballot contains voting options with respect to the Plan.

4.   To vote, you MUST: (a) fully complete this Ballot; (b) clearly indicate your decision to accept or reject the Plan
     in Item 3 of this Ballot; and (c) sign, date, and return this Ballot via the Claims, Noticing, and Solicitation Agent’s
     online voting portal or by mail as described more fully below.


      (a)      To      submit       your   Ballot     via     the    online      voting     portal,    please          visit
               https://cases.stretto.com/Voyager/balloting and follow the instructions to submit your Ballot.

               IMPORTANT NOTE: You will need the following information to retrieve and submit your
               customized E-Ballot:

               Unique E-Ballot ID#: ____________________________________________

               PIN#: ________________________________________________________

               The Claims, Noticing, and Solicitation Agent’s online voting platform is the sole manner in which
               Ballots will be accepted via electronic or online transmission. Ballots submitted by facsimile, e-mail,
               or other means of electronic transmission will not be counted.

               Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your Ballot.
               Please complete and submit a Ballot for each E-Ballot ID# you receive, as applicable. Creditors who
               cast a Ballot using the Claims, Noticing, and Solicitation Agent’s online voting portal should NOT also
               submit a hard copy Ballot.

      (b)      To submit your Ballot via mail, complete, sign, and date this Ballot and return it (with an original
               signature) promptly in the envelope provided via first-class mail, overnight courier, or hand-delivery
               to:

                                                  Voyager Ballot Processing
                                                         c/o Stretto
                                                  410 Exchange, Suite 100
                                                     Irvine, CA 92602

5.   Any Ballot submitted that is incomplete or illegible, indicates unclear or inconsistent votes with respect to the
     Plan, or is improperly signed and returned will NOT be counted unless the Debtors otherwise determine.




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6.    To vote, you MUST deliver your completed Ballot so that it is ACTUALLY RECEIVED by the Claims,
      Noticing, and Solicitation Agent on or before the Voting Deadline by one of the methods described above. The
      Voting Deadline is February 22, 2023, at 4:00 p.m., prevailing Eastern Time.

7.    Any Ballot received by the Claims, Noticing, and Solicitation Agent after the Voting Deadline will not be
      counted with respect to acceptance or rejection of the Plan, as applicable, unless the Debtors otherwise
      determine. No Ballot may be withdrawn or modified after the Voting Deadline without the Debtors’ prior
      consent.

8.    Delivery of a Ballot reflecting your vote to the Claims, Noticing, and Solicitation Agent will be deemed to have
      occurred only when the Claims, Noticing, and Solicitation Agent actually receives the originally executed Ballot
      (for the avoidance of doubt, a Ballot submitted via the Claims, Noticing, and Solicitation Agent online voting
      portal shall be deemed to contain an original signature). In all cases, you should allow sufficient time to assure
      timely delivery.

9.    If you deliver multiple Ballots to the Claims, Noticing, and Solicitation Agent, ONLY the last properly executed
      Ballot timely received will be deemed to reflect your intent and will supersede and revoke any prior received
      Ballot(s).

10. You must vote all of your Class 4A OpCo General Unsecured Claims either to accept or reject the Plan, and may
    not split your vote. Further, if a Holder has multiple Claims within Class 4A, the Debtors may direct the Claims,
    Noticing, and Solicitation Agent to aggregate the Claims of any particular Holder within Class 4A for the
    purpose of counting votes.

11. This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or Interest, or an assertion or
    admission of a Claim or an Interest, in the Debtors’ Chapter 11 Cases.

12. You should not rely on any information, representations, or inducements made to obtain an acceptance of the
    Plan that are other than as set forth, or are inconsistent with, the information contained in the Disclosure
    Statement, the documents attached to or incorporated in the Disclosure Statement, and the Plan.

13. SIGN AND DATE your Ballot.3 Please provide your name and mailing address in the space provided on this
    Ballot if it is different from that set forth on the Ballot or if no address is presented on the Ballot.

14. If your Claim is held in multiple accounts, you may receive more than one Ballot coded for each such account
    for which your Claims are held. Each Ballot votes only your Claims indicated on that Ballot. Accordingly,
    complete and return each Ballot you receive.

                                  PLEASE RETURN YOUR BALLOT PROMPTLY
IF YOU HAVE ANY QUESTIONS REGARDING THIS CLASS 4A BALLOT, THESE VOTING
INSTRUCTIONS OR THE PROCEDURES FOR VOTING, PLEASE CALL THE CLAIMS, NOTICING,
AND SOLICITATION AGENT AT: (855) 473-8665 (TOLL-FREE) OR +1 (949) 271-6507
(INTERNATIONAL) OR EMAIL VOYAGERINQUIRIES@STRETTO.COM AND REFERENCE “IN RE
VOYAGER - SOLICITATION INQUIRY” IN THE SUBJECT LINE.

     THE VOTING DEADLINE IS FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.
      THE CLAIMS, NOTICING, AND SOLICITATION AGENT MUST ACTUALLY RECEIVE THIS
                 CLASS 4A BALLOT ON OR BEFORE THE VOTING DEADLINE.


3    If you are signing a Ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or officer of a
     corporation or otherwise acting in a fiduciary or representative capacity, you must indicate such capacity when signing and,
     if required or requested by the Claims, Noticing, and Solicitation Agent, the Debtors, the Debtors’ counsel, or the Court, must
     submit proper evidence to the requesting party of authority to so act on behalf of such holder.




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                                  Exhibit 3C

               Class 4B Ballot (HoldCo General Unsecured Claims)
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    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    601 Lexington Avenue
    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          )
    In re:                                                                )       Chapter 11
                                                                          )
                                                          1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                               )       Case No. 22-10943 (MEW)
                                                                          )
                                           Debtors.                       )       (Jointly Administered)
                                                                          )

                        BALLOT FOR VOTING TO ACCEPT OR REJECT
            THE THIRD AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC.
       AND ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                      CLASS 4B HOLDERS OF HOLDCO GENERAL UNSECURED CLAIMS


     PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING BALLOTS
                     CAREFULLY BEFORE COMPLETING THIS BALLOT.

     THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO BE ACTUALLY
     RECEIVED BY THE CLAIMS, NOTICING, AND SOLICITATION AGENT BY FEBRUARY 22, 2023,
             AT 4:00 P.M., PREVAILING EASTERN TIME (THE “VOTING DEADLINE”).


The above-captioned debtors and debtors in possession (collectively, the “Debtors”), are soliciting votes in accordance
with title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), to accept or reject the Third
Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
Bankruptcy Code (as amended, supplemented, or otherwise modified from time to time, the “Plan”),2 attached as
Exhibit A to the First Amended Disclosure Statement for the Third Amended Joint Plan of Voyager Digital Holdings,
Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as may be amended, modified, or
supplemented from time to time and including all exhibits or supplements thereto, the “Disclosure Statement”) from
Holders of Account Holder Claims, OpCo General Unsecured Claims, HoldCo General Unsecured Claims, and TopCo
General Unsecured Claims (each, a “Voting Class” and collectively, the “Voting Classes”).




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2      Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Plan.




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Once completed and returned in accordance with the attached instructions, your vote on the Plan will be counted as
set forth herein. A Voting Class will accept the Plan if Holders of at least two-thirds in amount and more than one-half
in number of Claims in that Voting Class votes to accept the Plan. The Court may confirm the Plan, which
contemplates effectuating the Restructuring Transactions, if the Plan otherwise satisfies the requirements of
section 1129 of the Bankruptcy Code, and the Plan then would be binding on all Holders of Allowed Claims in the
Voting Classes, among others.

You are receiving this ballot (this “Ballot”) because you are the Holder of Class 4B HoldCo General Unsecured Claims
as of January 10, 2023 (the “Voting Record Date”). For additional discussion of the treatment of Class 4B Claims
under the Plan and the rights of Holders of Class 4B Claims under the Plan, please read the Disclosure
Statement.

The rights and treatment for each Class are described in the Disclosure Statement, which is included in the package
(the “Solicitation Package”) you are receiving with this Ballot. If you received Solicitation Package materials in
electronic format and desire paper copies, or if you need to obtain additional Solicitation Packages, you may obtain
them from: (a) Stretto, Inc. (the “Claims, Noticing, and Solicitation Agent”), at no charge by: (i) accessing the
Debtors’ restructuring website at https://cases.stretto.com/Voyager/; (ii) writing to the Claims, Noticing, and
Solicitation Agent at Voyager Inquiries, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602; (iii) calling (855)
473-8665 (Toll Free) or +1 (949) 271-6507 (International); or (iv) emailing VoyagerInquiries@stretto.com and
referencing “In re Voyager - Solicitation Inquiry” in the subject line; or (b) for a fee via PACER at
http://pacer.psc.uscourts.gov.

This Ballot may not be used for any purpose other than for casting votes to accept or reject the Plan and making certain
certifications with respect to the Plan. In the event that the Schedules are amended to schedule Claims against multiple
Debtor entities, then votes on account of such Claims shall be tabulated for each applicable Debtor entity. If you
believe you have received this Ballot in error, please contact the Claims, Noticing, and Solicitation Agent immediately
at the address, telephone number, or email address set forth above.

The Court may confirm the Plan and thereby bind all Holders of Claims and Interests. To have your vote count as
either an acceptance or rejection of the Plan, you must complete and return this Ballot so that the Claims, Noticing,
and Solicitation Agent actually receives it on or before the Voting Deadline.

As further described in the Committee Letter, the Committee recommends that you vote to accept the Plan and
contribute your third-party claims.

THE VOTING DEADLINE IS ON FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.

Item 1.   Amount of Class 4B Claims.

The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was the Holder of Class 4B
HoldCo General Unsecured Claims in the following aggregate principal amount (please fill in the amount if not
otherwise completed):

Amount of Claims: $__________________________



Item 2.   Recovery.

Pursuant to Article III.C of the Plan, each Holder of an Allowed HoldCo General Unsecured Claim will receive in
exchange for such Allowed HoldCo General Unsecured Claim: (i) its Pro Rata share of Distributable HoldCo Cash,
and (ii) to effectuate distributions from the Wind-Down Entity, its Pro Rata share of the Wind-Down Entity Assets or
Wind-Down Trust Units (if applicable) on account of any recovery of Wind-Down Trust Assets (if applicable)
attributable to HoldCo; provided that any distributions on account of the Wind-Down Entity Assets or Wind-Down
Trust Units (if applicable) shall only be made following payment in full of, or reserve for, Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Secured Tax Claims, and Allowed Other Priority Claims.



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Item 3.    Vote on Plan.

The Holder of the Class 4B HoldCo General Unsecured Claims against the Debtors set forth in Item 1 votes to
(please check one):


     ACCEPT (vote FOR) the Plan                               REJECT (vote AGAINST) the Plan


Your vote on the Plan will be applied to each applicable Debtor in the same manner and in the same amount
as indicated in Item 1 and Item 3 above.


Item 4.    Third-Party Release.

AS A HOLDER OF A CLASS 4B CLAIM, YOU ARE A “RELEASING PARTY” UNDER THE PLAN IF YOU
OPT IN TO THE RELEASES CONTAINED IN THE PLAN. YOU MAY CHECK THE BOX BELOW TO ELECT
TO GRANT THE RELEASE CONTAINED IN ARTICLE VIII.B OF THE PLAN. YOU WILL BE CONSIDERED
A “RELEASING PARTY” UNDER THE PLAN ONLY IF (I) THE COURT DETERMINES THAT YOU HAVE
THE RIGHT TO OPT IN TO THE RELEASES AND (II) YOU CHECK THE BOX BELOW AND SUBMIT THE
OPT IN NOTICE BY THE OPT IN DEADLINE. YOUR DECISION TO COMPLETE AND RETURN THE
OPT-IN NOTICE IS ENTIRELY VOLUNTARY AND NOT A REQUIREMENT UNDER THE PLAN OR
APPLICABLE LAW. YOUR RECOVERY UNDER THE PLAN REMAINS UNAFFECTED WHETHER OR
NOT YOU ELECT TO OPT IN TO THE THIRD-PARTY RELEASE.


          By checking this box, you elect to opt IN to the Third-Party Releases.


Article VIII.B of the Plan contains the following Third-Party Release:

          Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of the Releasing
Parties, in each case on behalf of themselves and their respective successors, assigns, and representatives, from
any and all Causes of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims asserted
or assertable on behalf of any of the Debtors, that such Entity would have been legally entitled to assert in its
own right (whether individually or collectively or on behalf of the Holder of any Claim against, or Interest in,
a Debtor or other Entity), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their capital structure, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Debtors’ out of court restructuring efforts,
intercompany transactions between or among a Debtor and another Debtor, the formulation, preparation,
dissemination, negotiation, filing, or consummation of the Definitive Documents or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Definitive Documents, the pursuit of consummation of the Plan, the administration and
implementation of the Restructuring Transactions, or upon any other act or omission, transaction, agreement,
event, or other occurrence related to the Debtors taking place on or before the Effective Date, provided that
nothing in Article VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful
misconduct, or gross negligence as determined by a Final Order.
          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.B of the Plan, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy



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Court’s finding that each release described in Article VIII.B of the Plan is: (1) in exchange for the good and
valuable consideration provided by the Released Parties; (2) a good-faith settlement and compromise of such
Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair,
equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; (6) a sound exercise
of the Debtors’ business judgment; and (7) except to the extent contemplated by Article IV.E and Article IV.F
of the Plan, a bar to any of the Releasing Parties or the Debtors or Wind-Down Debtors or their respective
Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.

Definitions Related to the Debtor Release and the Third-Party Release:

         Under the Plan, “Released Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
         (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
         Professionals; (e) Purchaser and each of its Related Parties; and (f) each of the Released Voyager Employees
         (subject to the limitations contained in Article IV.E and Article IV.F of the Plan); provided that, if the Asset
         Purchase Agreement is terminated, Purchaser and each of its Related Parties shall not be “Released Parties”
         under the Plan.

         Under the Plan, “Releasing Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
         (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
         Professionals; (e) each of the Released Voyager Employees; (f) Purchaser and each of its Related Parties to
         the extent Purchaser is able to bind such Related Parties; (g) all Holders of Claims that vote to accept the
         Plan and affirmatively opt into the releases provided by the Plan; (h) all Holders of Claims that vote to reject
         the Plan and affirmatively opt into the releases provided by the Plan; and (i) all Holders of Claims or Interests
         that abstain from voting (or are otherwise not entitled to vote) on the Plan and affirmatively opt into the
         releases provided by the Plan; provided that, if the Asset Purchase Agreement is terminated, Purchaser and
         each of its Related Parties shall not be “Releasing Parties” under the Plan.

Item 5. Contributed Third-Party Claims.

If the Plan is confirmed, all causes of action that the Debtors are entitled to bring against third parties not released
under the Plan (the “Litigation Targets”) will be transferred to the Wind-Down Entity. In addition to these causes of
action that can only be commenced by the Wind-Down Entity, certain creditors may have direct causes of action
against the Litigation Targets. However, it is difficult and expensive for individual creditors to sue third parties for
losses. Accordingly, creditors can elect to contribute direct causes of action to the Wind-Down Entity. By opting in
to contribute causes of action to the Wind-Down Entity, you are giving the Wind-Down Entity the right to pursue
those direct causes of action on your behalf together with other creditors. As a result, the Wind-Down Entity will be
able to use its resources to sue the Litigation Targets on those direct causes of action, and all recoveries will inure to
the benefit of all creditors and not just those that agreed to contribute their claims. For the avoidance of doubt, the
decision to “opt in” to contribute third-party claims is entirely voluntary, and the failure to “opt in” does not prejudice
any electing creditors’ rights.

By electing such option on this Ballot, you agree that, subject to the occurrence of the Effective Date and the formation
of the Wind-Down Entity, you will be deemed, without further action, (i) to have irrevocably contributed your
Contributed Third-Party Claims to the Wind-Down Entity, and (ii) to have agreed to execute any documents
reasonably requested by the Debtors or the Wind-Down Entity to memorialize and effectuate such contribution.




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The Committee strongly encourages you to elect to contribute your Contributed Third-Party Claims to the
Wind-Down Entity, which will allow the Wind-Down Entity to potentially seek greater recoveries for the benefit
of Holders of Claims and Interests.


             By checking this box, you elect to to contribute your Contributed Third-Party Claims to the
             Wind-Down Entity.



Definitions Related to Contributed Third-Party Claims:

           Under the Plan, “Contributed Third-Party Claims” means all direct Causes of Action that any Contributing
           Claimant has against any Person (other than a Debtor) that had a direct relationship with the Debtors, their
           predecessors, or respective affiliates and that harmed such Contributing Claimant in the claimant’s capacity
           as a creditor of Voyager, including (a) all Causes of Action based on, arising out of, or related to the
           marketing, sale, and issuance of Cryptocurrency that at any point was held or offered on Voyager’s platform;
           (b) all Causes of Action based on, arising out of, or related to the alleged misrepresentation of any of the
           Debtors’ financial information, business operations, or related internal controls; and (c) all Causes of Action
           based on, arising out of, or related to any alleged failure to disclose, or actual or attempted cover up or
           obfuscation of, any of the Debtors’ conduct prior to the Petition Date; provided, however, that Contributed
           Third-Party Claims do not include (i) any derivative claims of the Debtors; (ii) any direct claims against the
           Released Parties; (iii) any direct Causes of Action that any Contributing Claimant has against Mark Cuban,
           Dallas Basketball Limited d/b/a Dallas Mavericks, the National Basketball Association, and any of their
           Related Parties; or (iv) any direct Causes of Action that any Contributing Claimant, in its capacity as an
           equity holder of Voyager Digital Ltd., has that are asserted in the currently filed complaint, dated as of July
           6, 2022, in the Ontario Superior Court of Justice by Francine De Sousa, against Voyager Digital Ltd., Stephen
           Ehrlich, Philip Eytan, Evan Psaropoulos, Lewis Bateman, Krisztian Toth, Jennifer Ackart, Glenn Stevens,
           and Brian Brooks.

Item 6. Certifications.

1.     The undersigned is (a) the Holder of the HoldCo General Unsecured Claims (Class 4B) being voted or (b) the
       authorized signatory for an entity that is a Holder of such HoldCo General Unsecured Claims;

2.     the undersigned has received a copy of the solicitation materials, including the Plan and the Disclosure Statement,
       and acknowledges that the undersigned’s vote as set forth on this Ballot is subject to the terms and conditions
       set forth therein and herein;

3.     the undersigned has cast the same vote with respect to all of its HoldCo General Unsecured Claims (Class 4B)
       in connection with the Plan; and

4.     (a) no other Ballot with respect to the same HoldCo General Unsecured Claims (Class 4B) identified in Item 3
       has been cast or (b) if any other Ballot has been cast with respect to such HoldCo General Unsecured Claims,
       then any such earlier Ballots are hereby revoked and deemed to be null and void.

Item 7. Ballot Completion Information.

     Name of Holder:




     Signature:




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 Signatory Name (if other than
 the Holder):
 Title:
 Address:
 Email Address:
 Telephone Number:
 Date Completed:

No fees, commissions, or other remuneration will be payable to any broker, dealer, or other person for soliciting votes
on the Plan. This Ballot shall not constitute or be deemed a proof of claim or equity interest or an assertion of a claim
or equity interest.

PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT IN ACCORDANCE WITH
INSTRUCTIONS CONTAINED HEREIN. THIS BALLOT MUST BE COMPLETED, EXECUTED, AND
RETURNED SO THAT IT IS ACTUALLY RECEIVED BY THE CLAIMS, NOTICING, AND
SOLICITATION AGENT PRIOR TO THE VOTING DEADLINE VIA THE ONLINE VOTING PORTAL
AT HTTPS://CASES.STRETTO.COM/VOYAGER/BALLOTING.
  THE VOTING DEADLINE IS FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.

   THE CLAIMS, NOTICING, AND SOLICITATION AGENT MUST ACTUALLY RECEIVE THIS
              CLASS 4B BALLOT ON OR BEFORE THE VOTING DEADLINE.




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                                   Class 4B — HoldCo General Unsecured Claims
                              INSTRUCTIONS FOR COMPLETING THIS BALLOT

1.   The Debtors are soliciting the votes of Holders of Claims with respect to the Plan attached as Exhibit A to the
     Disclosure Statement. Capitalized terms used in the Ballot or in these instructions (the “Ballot Instructions”) but
     not otherwise defined therein or herein shall have the meanings set forth in the Plan, a copy of which also
     accompanies the Ballot. PLEASE READ THE PLAN AND DISCLOSURE STATEMENT CAREFULLY
     BEFORE COMPLETING THIS BALLOT.

2.   The Plan can be confirmed by the Court and thereby made binding upon the Holders if it is accepted by the
     Holders of at least two-thirds in amount and more than one-half in number of Claims in at least one class of
     impaired creditors that votes on the Plan and if the Plan otherwise satisfies the requirements for confirmation
     provided by section 1129(a) of the Bankruptcy Code. Please review the Disclosure Statement for more
     information.

3.   This Ballot contains voting options with respect to the Plan.

4.   To vote, you MUST: (a) fully complete this Ballot; (b) clearly indicate your decision to accept or reject the Plan
     in Item 3 of this Ballot; and (c) sign, date, and return this Ballot via the Claims, Noticing, and Solicitation Agent’s
     online voting portal or by mail as described more fully below.


      (a)      To      submit       your   Ballot     via     the    online      voting     portal,    please          visit
               https://cases.stretto.com/Voyager/balloting and follow the instructions to submit your Ballot.

               IMPORTANT NOTE: You will need the following information to retrieve and submit your
               customized E-Ballot:

               Unique E-Ballot ID#: ____________________________________________

               PIN#: ________________________________________________________

               The Claims, Noticing, and Solicitation Agent’s online voting platform is the sole manner in which
               Ballots will be accepted via electronic or online transmission. Ballots submitted by facsimile, e-mail,
               or other means of electronic transmission will not be counted.

               Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your Ballot.
               Please complete and submit a Ballot for each E-Ballot ID# you receive, as applicable. Creditors who
               cast a Ballot using the Claims, Noticing, and Solicitation Agent’s online voting portal should NOT also
               submit a hard copy Ballot.

      (b)      To submit your Ballot via mail, complete, sign, and date this Ballot and return it (with an original
               signature) promptly in the envelope provided via first-class mail, overnight courier, or hand-delivery
               to:

                                                  Voyager Ballot Processing
                                                         c/o Stretto
                                                  410 Exchange, Suite 100
                                                     Irvine, CA 92602

5.   Any Ballot submitted that is incomplete or illegible, indicates unclear or inconsistent votes with respect to the
     Plan, or is improperly signed and returned will NOT be counted unless the Debtors otherwise determine.




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6.    To vote, you MUST deliver your completed Ballot so that it is ACTUALLY RECEIVED by the Claims,
      Noticing, and Solicitation Agent on or before the Voting Deadline by one of the methods described above. The
      Voting Deadline is February 22, 2023, at 4:00 p.m., prevailing Eastern Time.

7.    Any Ballot received by the Claims, Noticing, and Solicitation Agent after the Voting Deadline will not be
      counted with respect to acceptance or rejection of the Plan, as applicable, unless the Debtors otherwise
      determine. No Ballot may be withdrawn or modified after the Voting Deadline without the Debtors’ prior
      consent.

8.    Delivery of a Ballot reflecting your vote to the Claims, Noticing, and Solicitation Agent will be deemed to have
      occurred only when the Claims, Noticing, and Solicitation Agent actually receives the originally executed Ballot
      (for the avoidance of doubt, a Ballot submitted via the Claims, Noticing, and Solicitation Agent online voting
      portal shall be deemed to contain an original signature). In all cases, you should allow sufficient time to assure
      timely delivery.

9.    If you deliver multiple Ballots to the Claims, Noticing, and Solicitation Agent, ONLY the last properly executed
      Ballot timely received will be deemed to reflect your intent and will supersede and revoke any prior received
      Ballot(s).

10. You must vote all of your Class 4B HoldCo General Unsecured Claims either to accept or reject the Plan, and
    may not split your vote. Further, if a Holder has multiple Claims within Class 4B, the Debtors may direct the
    Claims, Noticing, and Solicitation Agent to aggregate the Claims of any particular Holder within Class 4B for
    the purpose of counting votes.

11. This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or Interest, or an assertion or
    admission of a Claim or an Interest, in the Debtors’ Chapter 11 Cases.

12. You should not rely on any information, representations, or inducements made to obtain an acceptance of the
    Plan that are other than as set forth, or are inconsistent with, the information contained in the Disclosure
    Statement, the documents attached to or incorporated in the Disclosure Statement, and the Plan.

13. SIGN AND DATE your Ballot.3 Please provide your name and mailing address in the space provided on this
    Ballot if it is different from that set forth on the Ballot or if no address is presented on the Ballot.

14. If your Claim is held in multiple accounts, you may receive more than one Ballot coded for each such account
    for which your Claims are held. Each Ballot votes only your Claims indicated on that Ballot. Accordingly,
    complete and return each Ballot you receive.

                                  PLEASE RETURN YOUR BALLOT PROMPTLY
IF YOU HAVE ANY QUESTIONS REGARDING THIS CLASS 4B BALLOT, THESE VOTING
INSTRUCTIONS OR THE PROCEDURES FOR VOTING, PLEASE CALL THE CLAIMS, NOTICING,
AND SOLICITATION AGENT AT: (855) 473-8665 (TOLL-FREE) OR +1 (949) 271-6507
(INTERNATIONAL) OR EMAIL VOYAGERINQUIRIES@STRETTO.COM AND REFERENCE “IN RE
VOYAGER - SOLICITATION INQUIRY” IN THE SUBJECT LINE.

     THE VOTING DEADLINE IS FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.
      THE CLAIMS, NOTICING, AND SOLICITATION AGENT MUST ACTUALLY RECEIVE THIS
                 CLASS 4B BALLOT ON OR BEFORE THE VOTING DEADLINE.


3    If you are signing a Ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or officer of a
     corporation or otherwise acting in a fiduciary or representative capacity, you must indicate such capacity when signing and,
     if required or requested by the Claims, Noticing, and Solicitation Agent, the Debtors, the Debtors’ counsel, or the Court, must
     submit proper evidence to the requesting party of authority to so act on behalf of such holder.




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                                 Exhibit 3D

               Class 4C Ballot (TopCo General Unsecured Claims)
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    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    601 Lexington Avenue
    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          )
    In re:                                                                )       Chapter 11
                                                                          )
                                                          1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                               )       Case No. 22-10943 (MEW)
                                                                          )
                                           Debtors.                       )       (Jointly Administered)
                                                                          )

                        BALLOT FOR VOTING TO ACCEPT OR REJECT
            THE THIRD AMENDED JOINT PLAN OF VOYAGER DIGITAL HOLDINGS, INC.
       AND ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                       CLASS 4C HOLDERS OF TOPCO GENERAL UNSECURED CLAIMS


     PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING BALLOTS
                     CAREFULLY BEFORE COMPLETING THIS BALLOT.

     THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO BE ACTUALLY
     RECEIVED BY THE CLAIMS, NOTICING, AND SOLICITATION AGENT BY FEBRUARY 22, 2023,
             AT 4:00 P.M., PREVAILING EASTERN TIME (THE “VOTING DEADLINE”).


The above-captioned debtors and debtors in possession (collectively, the “Debtors”), are soliciting votes in accordance
with title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), to accept or reject the Third
Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
Bankruptcy Code (as amended, supplemented, or otherwise modified from time to time, the “Plan”),2 attached as
Exhibit A to the Second Amended Disclosure Statement for the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as may be amended, modified,
or supplemented from time to time and including all exhibits or supplements thereto, the “Disclosure Statement”)
from Holders of Account Holder Claims, OpCo General Unsecured Claims, HoldCo General Unsecured Claims, and
TopCo General Unsecured Claims (each, a “Voting Class” and collectively, the “Voting Classes”).




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2      Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Plan.




                                                                 1
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Once completed and returned in accordance with the attached instructions, your vote on the Plan will be counted as
set forth herein. A Voting Class will accept the Plan if Holders of at least two-thirds in amount and more than one-half
in number of Claims in that Voting Class votes to accept the Plan. The Court may confirm the Plan, which
contemplates effectuating the Restructuring Transactions, if the Plan otherwise satisfies the requirements of
section 1129 of the Bankruptcy Code, and the Plan then would be binding on all Holders of Allowed Claims in the
Voting Classes, among others.

You are receiving this ballot (this “Ballot”) because you are the Holder of Class 4C TopCo General Unsecured Claims
as of January 10, 2023 (the “Voting Record Date”). For additional discussion of the treatment of Class 4C Claims
under the Plan and the rights of Holders of Class 4C Claims under the Plan, please read the Disclosure
Statement.

The rights and treatment for each Class are described in the Disclosure Statement, which is included in the package
(the “Solicitation Package”) you are receiving with this Ballot. If you received Solicitation Package materials in
electronic format and desire paper copies, or if you need to obtain additional Solicitation Packages, you may obtain
them from: (a) Stretto, Inc. (the “Claims, Noticing, and Solicitation Agent”), at no charge by: (i) accessing the
Debtors’ restructuring website at https://cases.stretto.com/Voyager/; (ii) writing to the Claims, Noticing, and
Solicitation Agent at Voyager Inquiries, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602; (iii) calling
(855) 473-8665 (Toll Free) or +1 (949) 271-6507 (International); or (iv) emailing VoyagerInquiries@stretto.com and
referencing “In re Voyager - Solicitation Inquiry” in the subject line; or (b) for a fee via PACER at
http://pacer.psc.uscourts.gov.

This Ballot may not be used for any purpose other than for casting votes to accept or reject the Plan and making certain
certifications with respect to the Plan. In the event that the Schedules are amended to schedule Claims against multiple
Debtor entities, then votes on account of such Claims shall be tabulated for each applicable Debtor entity. If you
believe you have received this Ballot in error, please contact the Claims, Noticing, and Solicitation Agent immediately
at the address, telephone number, or email address set forth above.

The Court may confirm the Plan and thereby bind all Holders of Claims and Interests. To have your vote count as
either an acceptance or rejection of the Plan, you must complete and return this Ballot so that the Claims, Noticing,
and Solicitation Agent actually receives it on or before the Voting Deadline.

As further described in the Committee Letter, the Committee recommends that you vote to accept the Plan and
contribute your third-party claims.

THE VOTING DEADLINE IS ON FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.

Item 1.   Amount of Class 4C Claims.

The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was the Holder of Class 4C
TopCo General Unsecured Claims in the following aggregate principal amount (please fill in the amount if not
otherwise completed):

Amount of Claims: $__________________________



Item 2.   Recovery.

Pursuant to Article III.C of the Plan, each Holder of an Allowed TopCo General Unsecured Claim will receive in
exchange for such Allowed TopCo General Unsecured Claim (i) its Pro Rata share of Distributable TopCo Cash, and
(ii) to effectuate distributions from the Wind-Down Entity, its Pro Rata share of the Wind-Down Entity Assets or
Wind-Down Trust Units (if applicable) on account of any recovery of the Wind-Down Trust Assets attributable to
TopCo; provided that any distributions on account of the Wind-Down Entity Assets or the Wind-Down Trust Units
(if applicable) shall only be made following payment in full of, or reserve for, Allowed Administrative Claims,
Allowed Priority Tax Claims, Allowed Secured Tax Claims, and Allowed Other Priority Claims.



                                                           2
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Item 3.    Vote on Plan.

The Holder of the Class 4C TopCo General Unsecured Claims against the Debtors set forth in Item 1 votes to
(please check one):


     ACCEPT (vote FOR) the Plan                               REJECT (vote AGAINST) the Plan


Your vote on the Plan will be applied to each applicable Debtor in the same manner and in the same amount
as indicated in Item 1 and Item 3 above.


Item 4.    Third-Party Release.

AS A HOLDER OF A CLASS 4C CLAIM, YOU ARE A “RELEASING PARTY” UNDER THE PLAN IF YOU
OPT IN TO THE RELEASES CONTAINED IN THE PLAN. YOU MAY CHECK THE BOX BELOW TO ELECT
TO GRANT THE RELEASE CONTAINED IN ARTICLE VIII.B OF THE PLAN. YOU WILL BE CONSIDERED
A “RELEASING PARTY” UNDER THE PLAN ONLY IF (I) THE COURT DETERMINES THAT YOU HAVE
THE RIGHT TO OPT IN TO THE RELEASES AND (II) YOU CHECK THE BOX BELOW AND SUBMIT THE
OPT IN NOTICE BY THE OPT IN DEADLINE. YOUR DECISION TO COMPLETE AND RETURN THE
OPT-IN NOTICE IS ENTIRELY VOLUNTARY AND NOT A REQUIREMENT UNDER THE PLAN OR
APPLICABLE LAW. YOUR RECOVERY UNDER THE PLAN REMAINS UNAFFECTED WHETHER OR
NOT YOU ELECT TO OPT IN TO THE THIRD-PARTY RELEASE.


          By checking this box, you elect to opt IN to the Third-Party Releases.


Article VIII.B of the Plan contains the following Third-Party Release:

          Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of the Releasing
Parties, in each case on behalf of themselves and their respective successors, assigns, and representatives, from
any and all Causes of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims asserted
or assertable on behalf of any of the Debtors, that such Entity would have been legally entitled to assert in its
own right (whether individually or collectively or on behalf of the Holder of any Claim against, or Interest in,
a Debtor or other Entity), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their capital structure, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Debtors’ out of court restructuring efforts,
intercompany transactions between or among a Debtor and another Debtor, the formulation, preparation,
dissemination, negotiation, filing, or consummation of the Definitive Documents or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Definitive Documents, the pursuit of consummation of the Plan, the administration and
implementation of the Restructuring Transactions, or upon any other act or omission, transaction, agreement,
event, or other occurrence related to the Debtors taking place on or before the Effective Date, provided that
nothing in Article VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful
misconduct, or gross negligence as determined by a Final Order.




                                                          3
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         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.B of the Plan, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
Court’s finding that each release described in Article VIII.B of the Plan is: (1) in exchange for the good and
valuable consideration provided by the Released Parties; (2) a good-faith settlement and compromise of such
Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair,
equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; (6) a sound exercise
of the Debtors’ business judgment; and (7) except to the extent contemplated by Article IV.E and Article IV.F
of the Plan, a bar to any of the Releasing Parties or the Debtors or Wind-Down Debtors or their respective
Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.

Definitions Related to the Debtor Release and the Third-Party Release:

         Under the Plan, “Released Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
         (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
         Professionals; (e) Purchaser and each of its Related Parties; and (f) each of the Released Voyager Employees
         (subject to the limitations contained in Article IV.E and Article IV.F of the Plan); provided that, if the Asset
         Purchase Agreement is terminated, Purchaser and each of its Related Parties shall not be “Released Parties”
         under the Plan.

         Under the Plan, “Releasing Parties” means, collectively, in each case in its capacity as such: (a) the Debtors;
         (b) the Wind-Down Debtors; (c) the Committee, and each of the members thereof; (d) each of the Released
         Professionals; (e) each of the Released Voyager Employees; (f) Purchaser and each of its Related Parties to
         the extent Purchaser is able to bind such Related Parties; (g) all Holders of Claims that vote to accept the
         Plan and affirmatively opt into the releases provided by the Plan; (h) all Holders of Claims that vote to reject
         the Plan and affirmatively opt into the releases provided by the Plan; and (i) all Holders of Claims or Interests
         that abstain from voting (or are otherwise not entitled to vote) on the Plan and affirmatively opt into the
         releases provided by the Plan; provided that, if the Asset Purchase Agreement is terminated, Purchaser and
         each of its Related Parties shall not be “Releasing Parties” under the Plan.

Item 5. Contributed Third-Party Claims.

If the Plan is confirmed, all causes of action that the Debtors are entitled to bring against third parties not released
under the Plan (the “Litigation Targets”) will be transferred to the Wind-Down Entity. In addition to these causes of
action that can only be commenced by the Wind-Down Entity, certain creditors may have direct causes of action
against the Litigation Targets. However, it is difficult and expensive for individual creditors to sue third parties for
losses. Accordingly, creditors can elect to contribute direct causes of action to the Wind-Down Entity. By opting in
to contribute causes of action to the Wind-Down Entity, you are giving the Wind-Down Entity the right to pursue
those direct causes of action on your behalf together with other creditors. As a result, the Wind-Down Entity will be
able to use its resources to sue the Litigation Targets on those direct causes of action, and all recoveries will inure to
the benefit of all creditors and not just those that agreed to contribute their claims. For the avoidance of doubt, the
decision to “opt in” to contribute third-party claims is entirely voluntary, and the failure to “opt in” does not prejudice
any electing creditors’ rights.

By electing such option on this Ballot, you agree that, subject to the occurrence of the Effective Date and the formation
of the Wind-Down Entity, you will be deemed, without further action, (i) to have irrevocably contributed your
Contributed Third-Party Claims to the Wind-Down Entity, and (ii) to have agreed to execute any documents
reasonably requested by the Debtors or the Wind-Down Entity to memorialize and effectuate such contribution.




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The Committee strongly encourages you to elect to contribute your Contributed Third-Party Claims to the
Wind-Down Entity, which will allow the Wind-Down Entity to potentially seek greater recoveries for the benefit
of Holders of Claims and Interests.


             By checking this box, you elect to to contribute your Contributed Third-Party Claims to the
             Wind-Down Entity.



Definitions Related to Contributed Third-Party Claims:

           Under the Plan, “Contributed Third-Party Claims” means all direct Causes of Action that any Contributing
           Claimant has against any Person (other than a Debtor) that had a direct relationship with the Debtors, their
           predecessors, or respective affiliates and that harmed such Contributing Claimant in the claimant’s capacity
           as a creditor of Voyager, including (a) all Causes of Action based on, arising out of, or related to the
           marketing, sale, and issuance of Cryptocurrency that at any point was held or offered on Voyager’s platform;
           (b) all Causes of Action based on, arising out of, or related to the alleged misrepresentation of any of the
           Debtors’ financial information, business operations, or related internal controls; and (c) all Causes of Action
           based on, arising out of, or related to any alleged failure to disclose, or actual or attempted cover up or
           obfuscation of, any of the Debtors’ conduct prior to the Petition Date; provided, however, that Contributed
           Third-Party Claims do not include (i) any derivative claims of the Debtors; (ii) any direct claims against the
           Released Parties; (iii) any direct Causes of Action that any Contributing Claimant has against Mark Cuban,
           Dallas Basketball Limited d/b/a Dallas Mavericks, the National Basketball Association, and any of their
           Related Parties; or (iv) any direct Causes of Action that any Contributing Claimant, in its capacity as an
           equity holder of Voyager Digital Ltd., has that are asserted in the currently filed complaint, dated as of July
           6, 2022, in the Ontario Superior Court of Justice by Francine De Sousa, against Voyager Digital Ltd., Stephen
           Ehrlich, Philip Eytan, Evan Psaropoulos, Lewis Bateman, Krisztian Toth, Jennifer Ackart, Glenn Stevens,
           and Brian Brooks.

Item 6. Certifications.

1.     The undersigned is (a) the Holder of the TopCo General Unsecured Claims (Class 4C) being voted or (b) the
       authorized signatory for an entity that is a Holder of such TopCo General Unsecured Claims;

2.     the undersigned has received a copy of the solicitation materials, including the Plan and the Disclosure Statement,
       and acknowledges that the undersigned’s vote as set forth on this Ballot is subject to the terms and conditions
       set forth therein and herein;

3.     the undersigned has cast the same vote with respect to all of its TopCo General Unsecured Claims (Class 4C) in
       connection with the Plan; and

4.     (a) no other Ballot with respect to the same TopCo General Unsecured Claims (Class 4C) identified in Item 3
       has been cast or (b) if any other Ballot has been cast with respect to such TopCo General Unsecured Claims,
       then any such earlier Ballots are hereby revoked and deemed to be null and void.

Item 7. Ballot Completion Information.

     Name of Holder:




     Signature:




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 Signatory Name (if other than
 the Holder):
 Title:
 Address:
 Email Address:
 Telephone Number:
 Date Completed:

No fees, commissions, or other remuneration will be payable to any broker, dealer, or other person for soliciting votes
on the Plan. This Ballot shall not constitute or be deemed a proof of claim or equity interest or an assertion of a claim
or equity interest.

PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT IN ACCORDANCE WITH
INSTRUCTIONS CONTAINED HEREIN. THIS BALLOT MUST BE COMPLETED, EXECUTED, AND
RETURNED SO THAT IT IS ACTUALLY RECEIVED BY THE CLAIMS, NOTICING, AND
SOLICITATION AGENT PRIOR TO THE VOTING DEADLINE VIA THE ONLINE VOTING PORTAL
AT HTTPS://CASES.STRETTO.COM/VOYAGER/BALLOTING.


  THE VOTING DEADLINE IS FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.

   THE CLAIMS, NOTICING, AND SOLICITATION AGENT MUST ACTUALLY RECEIVE THIS
              CLASS 4C BALLOT ON OR BEFORE THE VOTING DEADLINE.




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                                   Class 4C — TopCo General Unsecured Claims
                              INSTRUCTIONS FOR COMPLETING THIS BALLOT

1.   The Debtors are soliciting the votes of Holders of Claims with respect to the Plan attached as Exhibit A to the
     Disclosure Statement. Capitalized terms used in the Ballot or in these instructions (the “Ballot Instructions”) but
     not otherwise defined therein or herein shall have the meanings set forth in the Plan, a copy of which also
     accompanies the Ballot. PLEASE READ THE PLAN AND DISCLOSURE STATEMENT CAREFULLY
     BEFORE COMPLETING THIS BALLOT.

2.   The Plan can be confirmed by the Court and thereby made binding upon the Holders if it is accepted by the
     Holders of at least two-thirds in amount and more than one-half in number of Claims in at least one class of
     impaired creditors that votes on the Plan and if the Plan otherwise satisfies the requirements for confirmation
     provided by section 1129(a) of the Bankruptcy Code. Please review the Disclosure Statement for more
     information.

3.   This Ballot contains voting options with respect to the Plan.

4.   To vote, you MUST: (a) fully complete this Ballot; (b) clearly indicate your decision to accept or reject the Plan
     in Item 3 of this Ballot; and (c) sign, date, and return this Ballot via the Claims, Noticing, and Solicitation Agent’s
     online voting portal or by mail as described more fully below.


      (a)      To      submit       your   Ballot     via     the    online      voting     portal,    please          visit
               https://cases.stretto.com/Voyager/balloting and follow the instructions to submit your Ballot.

               IMPORTANT NOTE: You will need the following information to retrieve and submit your
               customized E-Ballot:

               Unique E-Ballot ID#: ____________________________________________

               PIN#: ________________________________________________________

               The Claims, Noticing, and Solicitation Agent’s online voting platform is the sole manner in which
               Ballots will be accepted via electronic or online transmission. Ballots submitted by facsimile, e-mail,
               or other means of electronic transmission will not be counted.

               Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your Ballot.
               Please complete and submit a Ballot for each E-Ballot ID# you receive, as applicable. Creditors who
               cast a Ballot using the Claims, Noticing, and Solicitation Agent’s online voting portal should NOT also
               submit a hard copy Ballot.

      (b)      To submit your Ballot via mail, complete, sign, and date this Ballot and return it (with an original
               signature) promptly in the envelope provided via first-class mail, overnight courier, or hand-delivery
               to:

                                                  Voyager Ballot Processing
                                                         c/o Stretto
                                                  410 Exchange, Suite 100
                                                     Irvine, CA 92602

5.   Any Ballot submitted that is incomplete or illegible, indicates unclear or inconsistent votes with respect to the
     Plan, or is improperly signed and returned will NOT be counted unless the Debtors otherwise determine.




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6.    To vote, you MUST deliver your completed Ballot so that it is ACTUALLY RECEIVED by the Claims,
      Noticing, and Solicitation Agent on or before the Voting Deadline by one of the methods described above. The
      Voting Deadline is February 22, 2023, at 4:00 p.m., prevailing Eastern Time.

7.    Any Ballot received by the Claims, Noticing, and Solicitation Agent after the Voting Deadline will not be
      counted with respect to acceptance or rejection of the Plan, as applicable, unless the Debtors otherwise
      determine. No Ballot may be withdrawn or modified after the Voting Deadline without the Debtors’ prior
      consent.

8.    Delivery of a Ballot reflecting your vote to the Claims, Noticing, and Solicitation Agent will be deemed to have
      occurred only when the Claims, Noticing, and Solicitation Agent actually receives the originally executed Ballot
      (for the avoidance of doubt, a Ballot submitted via the Claims, Noticing, and Solicitation Agent online voting
      portal shall be deemed to contain an original signature). In all cases, you should allow sufficient time to assure
      timely delivery.

9.    If you deliver multiple Ballots to the Claims, Noticing, and Solicitation Agent, ONLY the last properly executed
      Ballot timely received will be deemed to reflect your intent and will supersede and revoke any prior received
      Ballot(s).

10. You must vote all of your Class 4C TopCo General Unsecured Claims either to accept or reject the Plan, and
    may not split your vote. Further, if a Holder has multiple Claims within Class 4C, the Debtors may direct the
    Claims, Noticing, and Solicitation Agent to aggregate the Claims of any particular Holder within Class 4C for
    the purpose of counting votes.

11. This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or Interest, or an assertion or
    admission of a Claim or an Interest, in the Debtors’ Chapter 11 Cases.

12. You should not rely on any information, representations, or inducements made to obtain an acceptance of the
    Plan that are other than as set forth, or are inconsistent with, the information contained in the Disclosure
    Statement, the documents attached to or incorporated in the Disclosure Statement, and the Plan.

13. SIGN AND DATE your Ballot.3 Please provide your name and mailing address in the space provided on this
    Ballot if it is different from that set forth on the Ballot or if no address is presented on the Ballot.

14. If your Claim is held in multiple accounts, you may receive more than one Ballot coded for each such account
    for which your Claims are held. Each Ballot votes only your Claims indicated on that Ballot. Accordingly,
    complete and return each Ballot you receive.

                                  PLEASE RETURN YOUR BALLOT PROMPTLY
IF YOU HAVE ANY QUESTIONS REGARDING THIS CLASS 4C BALLOT, THESE VOTING
INSTRUCTIONS OR THE PROCEDURES FOR VOTING, PLEASE CALL THE CLAIMS, NOTICING,
AND SOLICITATION AGENT AT: (855) 473-8665 (TOLL-FREE) OR +1 (949) 271-6507
(INTERNATIONAL) OR EMAIL VOYAGERINQUIRIES@STRETTO.COM AND REFERENCE “IN RE
VOYAGER - SOLICITATION INQUIRY” IN THE SUBJECT LINE.

     THE VOTING DEADLINE IS FEBRUARY 22, 2023, AT 4:00 P.M., PREVAILING EASTERN TIME.
      THE CLAIMS, NOTICING, AND SOLICITATION AGENT MUST ACTUALLY RECEIVE THIS
                 CLASS 4C BALLOT ON OR BEFORE THE VOTING DEADLINE.


3    If you are signing a Ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or officer of a
     corporation or otherwise acting in a fiduciary or representative capacity, you must indicate such capacity when signing and,
     if required or requested by the Claims, Noticing, and Solicitation Agent, the Debtors, the Debtors’ counsel, or the Court, must
     submit proper evidence to the requesting party of authority to so act on behalf of such holder.




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                                 Exhibit 4

                               Cover Letter
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                                                            [DATE]

Subject: Summary of the Plan, Information Regarding Certain Key Dates, and Certain Other Matters


Dear Stakeholders,

You are receiving this letter because you are entitled to vote on the Debtors’ Plan, an important step in the return of
value to you and other stakeholders. This letter and the materials enclosed concern the proposed sale of substantially
all the assets of Voyager Digital Holdings, Inc. and its affiliated Debtors to Binance US, following the Debtors’ July
5, 2022 voluntary filing of these Chapter 11 Cases. Your vote to accept or reject the Plan must be received by February
22, 2023, at 4:00 p.m. prevailing Eastern Time. Instructions on how to vote are included in this Solicitation Package.

As described below and in the Plan and Disclosure Statement also enclosed, the Debtors believe that the sale to
Binance US is in the best interest of all stakeholders and, ultimately, is the best possible transaction available in light
of the extraordinary facts and circumstances that have taken place since November 6, 2022. Holders of Account
Holder Claims and Holders of each class of General Unsecured Claims will receive significantly more consideration
for their Claims under the Plan than in a liquidation. As such, Voyager Digital Holdings, Inc. (on behalf of itself and
each of the other Debtors) urge you to properly and timely submit your Ballot, in advance of the February 22, 2023
deadline, with a vote to accept the Plan. Further details and instructions regarding how to get additional information
appear on the following pages.

                                                              ***

Voyager Digital Holdings, Inc. and its affiliated debtors and debtors in possession (collectively, the “Debtors”)1 each
filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in
the United States Bankruptcy Court for the Southern District of New York (the “Court”) on July 5, 2022 (collectively,
the “Chapter 11 Cases”).

You have received this letter and the enclosed materials because you are entitled to vote on the Third Amended Joint
Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as
                                                                       2
modified, amended, or supplemented from time to time, the “Plan”). On [●], 2023, the Court entered an order [Docket
No. [●]] (the “Disclosure Statement Order”): (a) authorizing the Debtors to solicit acceptances for the Plan;
(b) conditionally approving the Second Amended Disclosure Statement for the Third Amended Joint Plan of Voyager
Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as modified, amended,
or supplemented from time to time, the “Disclosure Statement”); (c) approving the solicitation materials and
documents to be included in the solicitation packages (the “Solicitation Package”); and (d) approving procedures for
soliciting, receiving, and tabulating votes on the Plan, and for filing objections to the Plan.

The materials in the enclosed Solicitation Package are intended to be self-explanatory. Should you have any questions,
however, please feel free to contact Stretto, Inc., the claims, noticing, and solicitation agent retained by the Debtors in
these chapter 11 cases (the “Claims, Noticing, and Solicitation Agent”), by: (a) calling the Claims, Noticing, and
Solicitation Agent at (855) 473-8665 (Toll Free) or +1 (949) 271-6507 (International), (b) writing to the Claims,
Noticing, and Solicitation Agent at Voyager Inquiries, c/o Stretto 410 Exchange, Suite 100 Irvine, CA 92602, or
(c) e-mailing the Claims, Noticing, and Solicitation Agent at VoyagerInquiries@stretto.com with a reference to “In re

1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of the
    Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.
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Voyager - Solicitation Inquiry” in the subject line. You may also obtain copies of any pleadings filed with the Court
for free by visiting the Debtors’ restructuring website, https://cases.stretto.com/Voyager/, or for a fee via PACER at
http://pacer.psc.uscourts.gov. Please be advised that the Claims, Noticing, and Solicitation Agent is authorized to
answer questions about, and provide additional copies of, solicitation materials, but may not advise you as to whether
you should vote to accept or reject the Plan.

As described herein and in the Plan and Disclosure Statement, the Debtors believe that the sale to Binance US is in
the best interest of stakeholders and, ultimately, is the most value-maximizing transaction available to the Debtors.
Account Holders and each class of General Unsecured Creditors will receive significantly more consideration
on account of their claims under the Plan than they would in a liquidation:

                                                                                          Projected
                                            Projected            Projected Sale
                                                                                         Liquidation
                                           Amount of              Transaction                                   Liquidation
    Class      Claim or Interest                                                        Transaction
                                         Allowed Claims         Recovery Under                                   Recovery
                                                                                       Recovery Under
                                           (in $mm)34                Plan
                                                                                            Plan
    1         Secured Tax Claims                $0.0                   N/A                    N/A                   N/A
              Other Priority
    2                                           $1.0                  100%                   100%               99% - 99%
              Claims
              Account Holder
    3                                        $1,763.8                  51%                    45%               35% - 39%
              Claims
              OpCo General
    4A                                         $14.0                   50%                    45%               35% - 39%
              Unsecured Claims
              HoldCo General
    4B                                          $8.3                    6%                     6%                 0% - 0%
              Unsecured Claims
              TopCo General
    4C                                          $3.0                   64%                    64%               65% - 65%
              Unsecured Claims
              Alameda Loan
    5                                          $75.1                    0%                     0%                 0% - 0%
              Facility Claims
              Section 510(b)
    6                                           $0.0                   N/A                    N/A                   N/A
              Claims
              Intercompany
    7                                           $0.0                    0%                     0%                 0% - 0%
              Claims
              Intercompany
    8                                           $0.0                    0%                     0%                 0% - 0%
              Interests
              Existing Equity
    9                                           $0.0                    0%                     0%                 0% - 0%
              Interests




3       The lower recovery compared to the FTX Transaction is largely due to fluctuations in the market following the FTX collapse
        along with the value differential under the Sale Transaction.

4
        The recoveries included in this Disclosure Statement are for illustrative purposes only and subject to material change
        particularly due to, among other things, market volatility, the ultimate treatment of the Alameda Loan Facility Claims
        and the Intercompany Obligations, and whether Alameda prevails on its asserted preference and related
        administrative claim, which could substantially reduce the recoveries projected above. A detailed description of
        treatment and projected recoveries is included in the Disclosure Statement, Article III.D.




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I. The Sale Transaction

The Debtors filed these Chapter 11 Cases in response to a short-term “run on the bank” caused by a downturn in the
cryptocurrency industry generally and the default of a significant loan made to a third party. Since the Petition Date,
the Debtors have worked tirelessly to identify the most value-maximizing transaction for their customers and other
creditors on an expedited timeline. Following a two-week competitive auction process, the Debtors selected the bid
submitted by West Realm Shires Inc. (“FTX US,” and along with its parent entity and affiliates, “FTX”) as the winning
bid (the transaction contemplated thereby, the “FTX Transaction”). Had it been effectuated, the FTX Transaction
would have provided for substantial in-kind recoveries to Holders of Account Holder Claims, the transfer of
substantially all of the customer accounts on the Voyager platform to the FTX platform, and the orderly wind down
of the Debtors’ estates. But after a series of extraordinary events outlined in detail below, FTX, and with it the FTX
Transaction, collapsed. While the Debtors were shocked and dismayed by FTX’s cataclysmic collapse, the Debtors
swiftly reengaged in negotiations with numerous other potential counterparties to evaluate potential third-party
transactions that would maximize value for the Debtors and their creditors on the quickest timeline and in the most
favorable manner in light of the FTX collapse and related industry fallout.

Following good-faith, arm’s length negotiations with several such alternative transaction parties, the Debtors elected
to accept the bid submitted by BAM Trading Services Inc. (d/b/a Binance.US) (“Binance US” or the “Purchaser”).
The Debtors value Binance US’s offer at approximately $1.022 billion, comprising (i) the value of Cryptocurrency on
the Voyager platform as of a date to be determined, which as of December 19, 2022, is estimated to be $1.002 billion,
plus (ii) additional consideration, which is estimated to provide at least $20 million of incremental value. Importantly,
the Binance US bid can be effectuated quickly, provides a meaningful recovery to creditors, and allows the Debtors
to facilitate an efficient resolution of these chapter 11 cases, after which Binance US’s market-leading, secured trading
platform will enable customers to trade and store cryptocurrency.

Under the Asset Purchase Agreement, Binance US will acquire substantially all Cryptocurrency on the Voyager
platform at fair market value as of a to be determined date to be distributed to Account Holders on the Binance US
platform and submit VGX for its standard listing review process in an effort to allow VGX to be traded on the Binance
US platform. Importantly, the Debtors and Account Holders will retain all right, title, and interest in and to the
cryptocurrency allocated to it in accordance with the Asset Purchase Agreement through and including such time as
such cryptocurrency is returned to the Debtors or distributed to such Account Holder. The Asset Purchase Agreement
makes clear that the cryptocurrency will be held by Binance US solely for the benefit of the Debtors or Account
Holder, as applicable, until such distributions are made.

In states where Binance US does not yet have the requisite money transmitter licensing approvals, authorizations, or
exemptions to make distributions to creditors in those states (the “Unsupported Jurisdictions”), the Debtors will retain
custody of the cryptocurrency that would be distributed to those creditors. In the event that Binance.US is not able to
obtain the necessary approvals to make distributions to creditors in Unsupported Jurisdictions within six (6) months
following the closing (i.e., an incremental 3 months following distributions to creditors in other jurisdictions), the
Debtors would convert the cryptocurrency attributable to such creditors to cash and the Debtors would then distribute
the equivalent realized cash value associated with such liquidations to such creditors under the Plan.

As described further in Article V of the Disclosure Statement, the Debtors will effectuate the transition of Account
Holders to the Binance US platform pursuant to the Customer Onboarding Protocol, which will be included in the
Plan Supplement and will be filed with the Bankruptcy Court at least 14 days in advance of the Voting Deadline.

In light of the extraordinary circumstances that precipitated the filing of these Chapter 11 Cases and the equally
extraordinary events that transpired thereafter, the Debtors believe that they have achieved a plan that is fair and
equitable, maximizes the value of the Debtors’ estates, and maximizes recoveries to Holders of Claims, including,
Holders of Account Holder Claims. Importantly, the “toggle” feature under the Plan ensures an outside date by which
the Debtors can pivot to a standalone plan and return value to Holders of Claims without any further delay.

II. Plan.

The Debtors seek to effectuate the transactions contemplated by the Asset Purchase Agreement (collectively,
the “Sale Transaction”) pursuant to the Plan.


                                                           3
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The Plan provides, among other things, that upon the Effective Date:

            All Administrative Claims, Priority Tax Claims, Secured Tax Claims, and Other Priority Claims shall
             be paid in full in Cash, or receive such other customary treatment that renders such Claims Unimpaired
             under the Bankruptcy Code;

            Each Holder of an Allowed Account Holder Claim will receive in exchange for such Allowed Account
             Holder Claim: (i) if the Sale Transaction is consummated by the Outside Date (a) its Net Owed Coins,
             as provided in and subject to the requirements of Sections 6.10 and 6.12 of the Asset Purchase
             Agreement; provided that for Account Holders in Unsupported Jurisdictions and only to the extent that
             the Purchaser does not obtain the Unsupported Jurisdiction Approval for the jurisdiction in which such
             Account Holder resides within 6 months following the Closing Date (as defined in the Asset Purchase
             Agreement), such Account Holders shall receive, after expiration of such time period, value in Cash at
             which such Net Owed Coins allocable to such Account Holder are liquidated; (b) its Pro Rata share of
             any Additional Bankruptcy Distributions, in Cryptocurrency or Cash as provided in and subject to the
             requirements of Sections 6.12 and 6.14 of the Asset Purchase Agreement; (c) its Pro Rata share of
             Distributable OpCo Cash; and (d) to effectuate distributions from the Wind-Down Entity, its Pro Rata
             share of the Wind-Down Entity Assets or Wind-Down Trust Units (if applicable) on account of any
             recovery of Wind-Down Trust Assets attributable to OpCo; provided that any distributions on account
             of the Wind-Down Entity Assets or Wind-Down Trust Units (if applicable) shall only be made following
             payment in full of, or reserve for, Allowed Administrative Claims, Allowed Priority Tax Claims,
             Allowed Secured Tax Claims, and Allowed Other Priority Claims; provided that distributions made to
             any Account Holder pursuant to clauses (b), (c), and (d) above shall be made after taking into account
             the Acquired Coins Value of the Net Owed Coins or the value in Cash at which such Net Owed Coins
             are liquidated, as applicable, previously allocated to such Account Holder; or (ii) if the Sale Transaction
             is not consummated by the Outside Date or the Asset Purchase Agreement is terminated: (a) its Pro Rata
             share of Distributable OpCo Cash; (b) its Pro Rata share of Distributable Cryptocurrency, which such
             Account Holder shall be able to withdraw in kind, alternative Cryptocurrency, and/or Cash for a period
             of thirty (30) days after the Effective Date through the Voyager platform or, if elected by Seller pursuant
             to Section 6.12(d) of the Asset Purchase Agreement, through the Binance.US Platform; provided that if
             the applicable transfer is made through the Voyager platform and such Account Holder does not
             withdraw its Pro Rata share of Distributable Cryptocurrency available to such Account Holder from the
             Voyager platform within such thirty (30) day period, such Account Holder will receive Cash in the
             equivalent value to its Pro Rata share of Distributable Cryptocurrency; and (c) to effectuate distributions
             from the Wind-Down Entity, its Pro Rata share of the Wind-Down Entity Assets or Wind-Down Trust
             Units (if applicable) on account of any recovery of Wind-Down Trust Assets (if applicable) attributable
             to OpCo; provided that any distributions on account of Wind-Down Entity Assets or Wind-Down Trust
             Units (if applicable) shall only be made following payment in full of, or reserve for, Allowed
             Administrative Claims, Allowed Priority Tax Claims, Allowed Secured Tax Claims, and Allowed Other
             Priority Claims.

            Each Holder of an Allowed OpCo General Unsecured Claim will receive in exchange for such Allowed
             OpCo General Unsecured Claim: (i) if the Sale Transaction is consummated by the Outside Date (a) its
             Pro Rata share of Distributable Cryptocurrency in Cash; (b) its Pro Rata share of Additional Bankruptcy
             Distributions, in Cryptocurrency or Cash as provided in and subject to the requirements of Sections 6.12
             and 6.14 of the Asset Purchase Agreement; (c) its Pro Rata share of Distributable OpCo Cash, and (d) to
             effectuate distributions from the Wind-Down Entity, its Pro Rata share of the Wind-Down Entity Assets
             or Wind-Down Trust Units (if applicable) on account of any recovery of Wind-Down Trust Assets
             attributable to OpCo; provided that any distributions on account of the Wind-Down Entity Assets or
             Wind-Down Trust Units (if applicable) shall only be made following payment in full of, or reserve for,
             Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Secured Tax Claims, and
             Allowed Other Priority Claims; or (ii) if the Sale Transaction is not consummated by the Outside Date
             or the Asset Purchase Agreement is terminated: (a) its Pro Rata share of Distributable Cryptocurrency
             in Cash; (b) its Pro Rata share of Distributable OpCo Cash, and (c) to effectuate distributions from the
             Wind-Down Entity, its Pro Rata share of the Wind-Down Entity Assets or Wind-Down Trust Units (if
             applicable) on account of any recovery of Wind-Down Trust Assets (if applicable) attributable to OpCo;


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             provided that any distributions on account of the Wind-Down Entity Assets or Wind-Down Trust Units
             (if applicable) shall only be made following payment in full of, or reserve for, Allowed Administrative
             Claims, Allowed Priority Tax Claims, Allowed Secured Tax Claims, and Allowed Other Priority Claims.

            Each Holder of an Allowed HoldCo General Unsecured Claim will receive in exchange for such Allowed
             HoldCo General Unsecured Claim: (i) its Pro Rata share of Distributable HoldCo Cash, and (ii) its Pro
             Rata share of the Wind-Down Entity Assets or Wind-Down Trust Units (if applicable) on account of any
             recovery of Wind-Down Trust Assets (if applicable) attributable to HoldCo; provided that any
             distributions on account of the Wind-Down Entity Assets or Wind-Down Trust Units (if applicable) shall
             only be made following payment in full of, or reserve for, Allowed Administrative Claims, Allowed
             Priority Tax Claims, Allowed Secured Tax Claims, and Allowed Other Priority Claims.

            Each Holder of an Allowed TopCo General Unsecured Claim will receive in exchange for such Allowed
             TopCo General Unsecured Claim (i) its Pro Rata share of Distributable TopCo Cash, and (ii) its Pro Rata
             share of the Wind-Down Entity Assets or Wind-Down Trust Units (if applicable) on account of any
             recovery of the Wind-Down Trust Assets attributable to TopCo; provided that any distributions on
             account of the Wind-Down Entity Assets or the Wind-Down Trust Units (if applicable) shall only be
             made following payment in full of, or reserve for, Allowed Administrative Claims, Allowed Priority Tax
             Claims, Allowed Secured Tax Claims, and Allowed Other Priority Claims.

            Each Holder of an Allowed Alameda Loan Facility Claim will receive in exchange for such Allowed
             Alameda Loan Facility Claim to effectuate distributions from the Wind-Down Entity, its Pro Rata share
             of the Wind-Down Trust Units (if applicable) on account of any recovery of Wind-Down Trust Assets;
             provided that any distributions on account of Wind-Down Trust Units (if applicable) shall only be made
             following payment in full of, or reserve for, all Allowed Claims at OpCo, HoldCo, and TopCo, including,
             but not limited to, all Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Secured
             Tax Claims, Allowed Other Priority Claims, Allowed Account Holder Claims, Allowed OpCo General
             Unsecured Claims, Allowed HoldCo General Unsecured Claims, and Allowed TopCo General
             Unsecured Claims; provided, however, if the Bankruptcy Court denies subordination of the Alameda
             Loan Facility Claims, then such Alameda Loan Facility Claims shall be pari passu with General
             Unsecured Claims at the applicable Debtor entity.

            Each Holder of Allowed Section 510(b) Claims against TopCo will receive, to effectuate distributions,
             if applicable, from the Wind-Down Entity, its Pro Rata share of the Wind-Down Entity Assets or
             Wind-Down Trust Units (if applicable) on account of any recovery of Wind-Down Trust Assets
             (if applicable) attributable to TopCo; provided that any distributions on account of the Wind-Down
             Entity Assets or Wind-Down Trust Units (if applicable) shall only be made following payment in full
             of all Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Secured Tax Claims,
             Allowed Other Priority Claims, and Allowed TopCo General Unsecured Claims.

The following chart summarizes the classification of Claims and Interests set forth in the Plan and indicates whether
such class is entitled to vote on the Plan:

Class    Claim or Interest                  Status                     Voting Rights

  1      Secured Tax Claims                 Unimpaired                 Not Entitled to Vote (Presumed to Accept)
  2      Other Priority Claims              Unimpaired                 Not Entitled to Vote (Presumed to Accept)
  3      Account Holder Claims              Impaired                   Entitled to Vote
         OpCo General Unsecured             Impaired
 4A                                                                    Entitled to Vote
         Claims
         HoldCo General Unsecured           Impaired
 4B                                                                    Entitled to Vote
         Claims



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Class        Claim or Interest                    Status                      Voting Rights

             TopCo General Unsecured              Impaired
    4C                                                                        Entitled to Vote
             Claims
    5        Alameda Loan Facility Claims         Impaired                    Not Entitled to Vote (Deemed to Reject)
    6        Section 510(b) Claims                Impaired                    Not Entitled to Vote (Deemed to Reject)
    7        Intercompany Claims                  Unimpaired / Impaired       Not Entitled to Vote (Presumed to Accept)
    8        Intercompany Interests               Unimpaired / Impaired       Not Entitled to Vote (Presumed to Accept)
    9        Existing Equity Interests            Impaired                    Not Entitled to Vote (Deemed to Reject)

II. The Solicitation Package

This letter is part of your Solicitation Package, which was approved by the Court for distribution to Holders of Claims
in connection with the solicitation of votes to accept or reject the Plan. Please review these materials carefully and
follow instructions contained therein. The Solicitation Package consists of the following:

                a copy of the Solicitation and Voting Procedures;
                the applicable opt-in release notice;
                the applicable form of Ballot;
                a pre-addressed, postage pre-paid return envelope for Holders of Claims in Class 4A (OpCo General
                 Unsecured Claims), Class 4B (HoldCo General Unsecured Claims), and Class 4C (TopCo General
                                    5
                 Unsecured Claims);
                this cover letter;
                the Committee Letter;
                the conditionally approved Disclosure Statement (and exhibits thereto, including the Plan);
                the Disclosure Statement Order (without exhibits, except the Solicitation and Voting Procedures);
                the Combined Hearing Notice; and
                any additional documents that the Court has ordered to be made available.
If you have any questions regarding your Solicitation Package, please do not hesitate to reach out to the Claims,
Noticing, and Solicitation Agent.

III. Key Upcoming Dates

The Deadline to vote to accept or reject the Plan is February 22, 2023 at 4:00 p.m. prevailing Eastern Time. You
must submit your Ballot per the instructions included in your Ballot by February 22, 2023 at 4:00 p.m.
prevailing Eastern Time.

After votes on the Plan are counted, the Court will hold a hearing to consider the adequacy of the Disclosure Statement
and confirmation of the Plan (the “Combined Hearing”). The Combined Hearing will be held on March 2, 2023, at
[●]:00 [●].m. prevailing Eastern Time. If the Court confirms the Plan at the Combined Hearing, the Debtors will seek



5       Holders of Account Holder Claims shall submit their votes electronically through the Claims, Noticing, and Solicitation
        Agent’s online ballot portal. Please refer to your Ballot for detailed instructions on how to submit your vote.




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to effectuate the Plan, consummate the sale of substantially all of the Debtors’ assets, and distribute value to Holders
of Account Holder Claims, Holders of General Unsecured Claims, and other creditors.

III. Recommendation

Voyager Digital Holdings, Inc. (on behalf of itself and each of the other Debtors) has approved the filing of the Plan
and the solicitation of votes to accept or reject the Plan. The Debtors believe that the acceptance of the Plan is in the
best interests of their estates, Holders of Claims or Interests, and all other parties in interest. The Debtors believe that
any valid alternative to confirmation of the Plan would result in significant delays, litigation, additional costs, and,
ultimately, might result in smaller distributions (or no distributions) on account of Claims asserted in these chapter 11
cases.

                  THE DEBTORS STRONGLY URGE YOU TO PROPERLY AND TIMELY
                  SUBMIT YOUR BALLOT CASTING A VOTE TO ACCEPT THE PLAN IN
                     ACCORDANCE WITH THE INSTRUCTIONS IN YOUR BALLOT.

    THE VOTING DEADLINE IS FEBRUARY 22, 2023, AT 4:00 P.M. PREVAILING EASTERN TIME.


                                                                  Sincerely,

                                                                    /s/ Draft
                                                                    Name: Stephen Ehrlich
                                                                    Title: Co-Founder and Chief Executive Officer
                                                                    Voyager Digital Holdings, Inc.




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                                 Exhibit 5

                           The Committee Letter
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                     OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                             of Voyager Digital Holdings, Inc., et al.

                                             Case No. 22-20943 (MEW)
                                       in the United States Bankruptcy Court
                                       for the Southern District of New York

                                      c/o McDermott Will & Emery LLP
                       Attention: Darren Azman, Joseph B. Evans, and Charles R. Gibbs
                                           One Vanderbilt Avenue
                                          New York, NY 10017-3852

To:       Customers and Creditors of Voyager Digital Holdings, Inc., et al.

I.        Introduction

        The Official Committee of Unsecured Creditors (the “Committee”) was appointed by the
Office of the United States Trustee to represent the interests of all unsecured creditors in the
chapter 11 bankruptcy cases (the “Bankruptcy Cases”) of Voyager Digital Holdings, Inc., et al.
(collectively, “Voyager”). We write concerning Voyager’s third amended chapter 11 plan filed
on [●] (the “Plan”).1 For the reasons set forth below, the Committee strongly recommends that
you vote as follows:


                Item 3 of the Ballot:           VOTE TO ACCEPT the Plan.

                Item 5 of the Ballot:           OPT-IN to contribute your direct claims.

       The deadline to vote on whether to accept or reject the Plan is February 22, 2023. The
hearing to confirm the Plan is currently scheduled on March 2, 2023.

II.       Why You Should Accept the Plan

         The Committee’s goal is to distribute the maximum amount of crypto and fiat as quickly
as possible. With those goals in mind, the proposed but now-terminated deal with FTX.US that
was the result of Voyager’s auction process was seemingly an attractive option. As part of the
negotiations for the FTX.US transaction, the Committee had sought a “toggle” to be included in
Voyager’s original chapter 11 plan so that if the transaction with FTX failed to close, Voyager
would have the ability to distribute crypto to customers outside of a sale without delay. The
Committee fought to include that “toggle” in the original plan and reached an agreement with
Voyager to do so. FTX, however, refused to include such a provision in any plan contemplating
their transaction. Ultimately, as we all now know, despite FTX’s representations concerning its
financial health and ability to consummate the transaction, FTX filed for bankruptcy and Sam
Bankman-Fried is under indictment. This came as a surprise to the Committee as it did to most of
the world.

1
      All documents filed in Voyager’s Bankruptcy Cases are available free of charge at
      https://cases.stretto.com/voyager/court-docket/. The Plan is available at Docket No. [●]. Capitalized terms used
      but not otherwise defined herein have the meanings ascribed to them in the Plan.
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       Following the demise of FTX, Voyager and the Committee acted quickly to secure a new
method by which crypto and fiat could be distributed to creditors. The Committee considered
two options: (1) self-liquidation; and (2) an alternative transaction with a third party. For the
following reasons, the Committee supports Voyager’s proposed transaction with BAM Trading
Services Inc. d/b/a Binance.US (“Binance.US”).

        First, the Committee considered a “self-liquidation” centered around a distribution of
crypto directly from Voyager’s platform to customers. This option avoided the risks associated
with a third-party purchaser. However, there are significant regulatory and practical hurdles in
returning hundreds of millions of dollars in fiat and crypto to customers across the United States.
For example, many creditors prefer distributions in crypto, but Voyager was the only place they
traded and held crypto. Those customers would need to obtain self-hosted wallets or a new
crypto exchange account to accept distributions. Even after educating those customers on that
subject, a self-liquidation plan would likely include a large number of test transactions and other
administrative burdens. Thus, an operating crypto exchange with the infrastructure to handle
millions of retail customer crypto transactions appeared to be the most efficient option.
Ultimately, the Committee determined that conducting a self-liquidation would materially
decrease recoveries for a variety of reasons (e.g., value leakage from mass sales of crypto and
working capital funding) and delay returning fiat and crypto to creditors, as compared to a sale to
a third party. Moreover, Voyager would receive no cash consideration from a purchaser in a self-
liquidation, thereby further reducing creditor recoveries.

        Second, after FTX’s collapse, other potential purchasers began to engage with Voyager.
Throughout this process, the Committee had extensive discussions with a number of interested
parties to assess the relative value of their offers, including their ability to close timely.
Ultimately, the only purchaser that presented an economically attractive and actionable offer was
Binance.US. In light of the FTX implosion, the Committee has worked diligently to negotiate
protections in the asset purchase agreement with Binance.US to accelerate recoveries to creditors
and ensure that all crypto will be safe in the event of a Binance.US insolvency.

        More specifically, one of the Committee’s concerns with the initial Binance.US proposal
was the way in which Voyager would transfer crypto to Binance.US. The initial Binance.US
proposal contemplated the transfer of nearly all of Voyager’s crypto to Binance.US immediately
upon closing. However, certain of that crypto would not be made available to some customers
for up to six months because of, among other things, regulatory restrictions in four jurisdictions.
The Committee viewed this structure as sub-optimal and voiced its concerns to Voyager and
Binance.US.

        Following these discussions, Binance.US supported our efforts to ensure that creditors
receive distributions in the greatest amount as quickly as possible and agreed to restructure the
way in which crypto is transferred. In short, after the transaction closes, crypto will move from
Voyager to Binance.US on a weekly basis, and the only crypto that will be transferred is crypto
that will be immediately distributed to customer accounts. In other words, each creditor’s
allocation of crypto distributions will remain at Voyager, rather than the Binance.US platform,
until that crypto is ready to be made available to such creditor in accordance with the asset
purchase agreement. As a result, the time between when Binance.US receives crypto from
Voyager and when customers can access, trade, convert, sell, stake, or withdraw that crypto is
                                                 2
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now very limited. Binance.US has agreed to other revisions in the amended asset purchase
agreement that protect Voyager creditors and the transferred crypto.

        Additionally, the new Plan now includes the “toggle” feature discussed above. If the
Binance.US transaction fails to close for any reason, the Plan permits Voyager to conduct a self-
liquidation. If Binance.US cannot or does not close, Voyager will not need to develop a new plan
and instead can continue with a self-liquidation to avoid further delays and costs.

        The Committee believes that the Binance.US transaction, relative to all alternatives
(whether in the form of an alternative sale transaction or a self-liquidation), provides the highest
and best value for creditors, as it offers both the highest value available for creditor recoveries as
well as the fastest route to such recoveries.

       The Committee supports the Binance.US transaction and the Plan, and encourages you to

                                VOTE TO ACCEPT THE PLAN.

       a.      How to Vote to Accept the Plan.

       Item 3 on the ballot you will receive will include the option to vote to accept or reject the
Plan. Below is what the voting box will look like:




III.   Why You Should Opt-In to Contributing Direct Claims

         If the Plan is confirmed, all causes of action that Voyager is entitled to bring against third
parties for damage they caused to Voyager will be transferred to the Wind-Down Entity. The
Committee, not Voyager, will select a Trustee to control the Wind-Down Entity. The Wind-
Down Entity will investigate all potential causes of action against third parties and pursue
litigation for their roles in Voyager’s demise. The Wind-Down Entity will also be required to
respond to inquiries from state and federal regulators, reconcile claims, and handle various
administrative tasks, including determining future additional distributions to creditors.

         In addition to these causes of action that can only be commenced by the Wind-Down
Entity, certain creditors may have direct causes of action against third parties. However, it is
difficult and expensive for individual creditors to sue third parties for losses. Accordingly, the
Committee has negotiated with Voyager to include a mechanism in the Plan that allows you to
contribute your direct causes of action to the Wind-Down Entity. By opting-in to contribute your
causes of action to the Wind-Down Entity, you are giving the Wind-Down Entity the right to
pursue those causes of action on your behalf. As a result, the Wind-Down Entity will be able to
use its resources to sue third parties on your behalf, and all recoveries from those causes of
action will inure to the benefit of creditors.
                                                    3
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        Put simply, “opting-in” to contribute your direct claims to the Wind-Down Entity is a
valuable step towards making creditors whole because the Wind-Down Entity will have
additional sources of recoveries and the financial means to efficiently pursue that litigation,
rather than individual creditors expending their own money to commence separate litigation
against third parties.

       Accordingly, the Committee strongly encourages you to

                   OPT-IN TO CONTRIBUTE YOUR DIRECT CLAIMS.

       a.      How to Opt-In to Contributing Direct Claims.

       Item 5 on the ballot you receive will include the option to “opt-in” to contribute your
causes of action to the Wind-Down Entity. Below is what the “opt-in” box will look like:




                                               ***
        For the foregoing reasons, the Committee urges you to vote to accept the Plan and opt-in
to contributing your direct claims to the Wind-Down Entity.

                                                             Sincerely,

                                                             The Official Committee of
                                                             Unsecured Creditors




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                                  Exhibit 6

                           Combined Hearing Notice
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    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
    KIRKLAND & ELLIS LLP
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    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )      Chapter 11
                                                                         )
                                                         1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                              )      Case No. 22-10943 (MEW)
                                                                         )
                                          Debtors.                       )      (Jointly Administered)
                                                                         )

                              NOTICE OF HEARING TO CONSIDER
                     (I) ADEQUACY OF THE SECOND AMENDED DISCLOSURE
         STATEMENT AND (II) CONFIRMATION OF THE THIRD AMENDED JOINT CHAPTER 11
         PLAN FILED BY THE DEBTORS AND RELATED VOTING AND OBJECTION DEADLINES

PLEASE TAKE NOTICE THAT on [●], 2023, the United States Bankruptcy Court for the Southern District of New
York (the “Court”) entered an order [Docket No. [●]] (the “Disclosure Statement Order”) that (a) conditionally
approved the Second Amended Disclosure Statement Relating to the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. [●]] (as modified,
amended, or supplemented from time to time, the “Disclosure Statement”), for the purposes of solicitation,
(b) authorized the Debtors to solicit votes with regard to the acceptance or rejection of the Third Amended Joint Plan
of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket
No. [●]] (as modified, amended, or supplemented from time to time, the “Plan”),2 (c) approved the solicitation
materials and documents to be included in the solicitation packages (the “Solicitation Packages”); and (d) approved
procedures for soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan.

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will consider the adequacy of the
Disclosure Statement and Confirmation of the Plan (the “Combined Hearing”) will commence on March 2, 2023 at
[●]:00 [●].m., prevailing Eastern Time, or such other time that the Court determines, before the Honorable Michael
E. Wiles, in the United States Bankruptcy Court for the Southern District of New York, located at One Bowling Green,
Courtroom 617, New York, New York 10004.



1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2
       Capitalized terms not otherwise defined herein shall have the meaning given to them in the Debtors’ Motion for Entry of an
       Order (I) Scheduling a Combined Disclosure Statement Approval and Plan Confirmation Hearing (II) Conditionally
       Approving the Adequacy of the Debtors’ Disclosure Statement, (III) Approving (A) Procedures for Solicitation, (B) Forms of
       Ballots and Notices, (C) Procedures for Tabulation of Votes and (D) Procedures for Objections, and (IV) Granting Related
       Relief [Docket No. 779] or the Plan, as applicable.




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PLEASE BE ADVISED: THE COMBINED HEARING MAY BE CONTINUED FROM TIME TO TIME BY THE
COURT OR THE DEBTORS WITHOUT FURTHER NOTICE OTHER THAN BY SUCH ADJOURNMENT
BEING ANNOUNCED IN OPEN COURT OR BY A NOTICE OF ADJOURNMENT FILED WITH THE COURT
AND SERVED ON ALL PARTIES ENTITLED TO NOTICE.

                     CRITICAL INFORMATION REGARDING VOTING ON THE PLAN

Voting Record Date. The voting record date is January 10, 2023 (the “Voting Record Date”), which is the date for
determining which Holders of Class 3 Claims (Account Holder Claims), Class 4A Claims (OpCo General Unsecured
Claims), Class 4B Claims (HoldCo General Unsecured Claims), and Class 4C (TopCo General Unsecured Claims)
are entitled to vote on the Plan.

Voting Deadline. The deadline for voting on the Plan is on February 22, 2023 at 4:00 p.m. prevailing Eastern Time
(the “Voting Deadline”). If you received a Solicitation Package, including a Ballot and intend to vote on the Plan you
must: (a) follow the instructions carefully; (b) complete all of the required information on the ballot; and (c) execute
and return your completed Ballot according to and as set forth in detail in the voting instructions so that it is actually
received by the Debtors’ claims, noticing, and solicitation agent Stretto, Inc. (the “Claims, Noticing, and Solicitation
Agent”) on or before the Voting Deadline. A failure to follow such instructions may disqualify your vote.

                  CRITICAL INFORMATION REGARDING OBJECTING TO THE PLAN

Plan and Disclosure Statement Objection Deadline. The deadline for filing objections to the Plan or Disclosure
Statement is February 22, 2023 at 4:00 p.m. prevailing Eastern Time (the “Plan and Disclosure Statement Objection
Deadline”). All objections to the relief sought at the Combined Hearing must: (a) be in writing; (b) conform to the
Bankruptcy Rules, the Local Rules, and any orders of the Court; (c) state, with particularity, the legal and factual basis
for the objection and, if practicable, a proposed modification to the Plan (or related materials) that would resolve such
objection; and (d) be filed with the Court (contemporaneously with a proof of service) and served upon the following
parties so as to be actually received on or before February 22, 2023 at 4:00 p.m. prevailing Eastern Time:

                                                        Debtors

                                           Voyager Digital Holdings, Inc.
                                              33 Irving Place, Suite 3060
                                                New York, NY 10003
                                    Attention: Stephen Ehrlich and David Brosgol

                  Counsel to the Debtors                                     Counsel to the Committee

                 Kirkland & Ellis LLP                                     McDermott Will & Emery LLP
                 601 Lexington Avenue                                         One Vanderbilt Avenue
              New York, New York 10022                                      New York, NY 10017-3852
  Attention: Joshua A. Sussberg; Christopher Marcus;            Attention: Darren Azman; Joseph B. Evans; Grayson
          Christine A. Okike; Allyson B. Smith                              Williams; Gregg Steinman

                                                 United States Trustee

                    Office of the United States Trustee for the Southern District of New York
                                            U.S. Federal Office Building
                                           201 Varick Street, Room 1006
                                               New York, NY 10014
                                     Attention: Richard Morrissey; Mark Bruh




                                                            2
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                                         ADDITIONAL INFORMATION

Obtaining Solicitation Materials. The materials in the Solicitation Package are intended to be self-explanatory. If
you should have any questions or if you would like to obtain additional solicitation materials (or paper copies of
solicitation materials if you received the materials in electronic format, or on a CD-ROM or flash drive), please feel
free to contact the Debtors’ Claims, Noticing, and Solicitation Agent, by: (a) calling the Claims, Noticing, and
Solicitation Agent at (855) 473-8665 (Toll Free) or +1 (949) 271-6507 (International), (b) e-mailing the Claims,
Noticing, and Solicitation Agent at VoyagerInquiries@Stretto.com with a reference to “In re: Voyager - Solicitation
Inquiry” in the subject line, or (c) writing to the Claims, Noticing, and Solicitation Agent at Voyager Inquiries,
c/o Stretto 410 Exchange, Suite 100 Irvine, CA 92602. You may also obtain copies of any pleadings filed with the
Court for free by visiting the Debtors’ restructuring website, https://cases.stretto.com/Voyager/, or for a fee via
PACER at: http://pacer.psc.uscourts.gov. Please be advised that the Claims, Noticing, and Solicitation Agent is
authorized to answer questions about, and provide additional copies of, solicitation materials, but may not advise you
as to whether you should vote to accept or reject the Plan.

Filing the Plan Supplement. The Debtors will file the Plan Supplement (as defined in the Plan) on or before
February 15, 2023 (provided that (i) the Notice of Assumption of Executory Contracts and Unexpired Leases and
Notice of Assumption and Assignment of Executory Contracts and Unexpired Leases will be filed on or before
February 1, 2023; and (ii) the Customer Onboarding Protocol and the Schedule of Retained Causes of Action will be
filed on or before February 8, 2023) and will serve notice on all Holders of Claims entitled to vote on the Plan, which
will: (a) inform parties that the Debtors filed the Plan Supplement; (b) list the information contained in the Plan
Supplement; and (c) explain how parties may obtain copies of the Plan Supplement.


                                       BINDING NATURE OF THE PLAN

  IF CONFIRMED, THE PLAN SHALL BIND ALL HOLDERS OF CLAIMS AND INTERESTS TO THE
   MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, WHETHER OR NOT SUCH HOLDER
  WILL RECEIVE OR RETAIN ANY PROPERTY OR INTEREST IN PROPERTY UNDER THE PLAN,
     HAS FILED A PROOF OF CLAIM IN THESE CHAPTER 11 CASES, OR FAILED TO VOTE TO
              ACCEPT OR REJECT THE PLAN OR VOTED TO REJECT THE PLAN.




                                     HOW TO OPT INTO THE RELEASES

Any Holder of a Claim or Interest that wants to grant the Third-Party Release set forth in Article VIII.B of the Plan
must return its Ballot or Non-Voting Status Notice, as applicable, to the Claims, Noticing, and Solicitation Agent by
 no later than February 22, 2023, by following the instructions for electing to opt into the Third-Party Release set
                           forth in such Ballot or Non-Voting Status Notice, as applicable.


                                                    RELEASES

Article VIII.A of the Plan contains the following Debtor Release:

         Notwithstanding anything contained in the Plan to the contrary, on and after the Effective Date, in
exchange for good and valuable consideration, the adequacy of which is hereby confirmed, each Released Party
is hereby conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by each
and all of the Debtors, the Wind-Down Debtors, and their Estates, the Wind-Down Entity, and in each case on
behalf of themselves and their respective successors, assigns, and representatives, and any and all other Entities
who may purport to assert any Cause of Action, directly or derivatively, by, through, for, or because of, the
foregoing Entities, from any and all Causes of Action, including any derivative claims, asserted or assertable
on behalf of any of the Debtors, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, that the Debtors would have been



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legally entitled to assert in their own right (whether individually or collectively) or on behalf of the Holder of
any Claim against, or Interest in, a Debtor, based on or relating to, or in any manner arising from, in whole or
in part, the Debtors (including the management, ownership, or operation thereof), their capital structure, the
purchase, sale, or rescission of the purchase or sale of any Security of the Debtors, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Chapter 11 Cases and related adversary
proceedings, the Debtors’ out-of-court restructuring efforts, intercompany transactions between or among a
Debtor and another Debtor, the formulation, preparation, dissemination, negotiation, filing, or consummation
of the Definitive Documents or any Restructuring Transaction, contract, instrument, release, or other
agreement or document created or entered into in connection with the Definitive Documents, the pursuit of
consummation of the Plan, the administration and implementation of the Restructuring Transactions or upon
any other act or omission, transaction, agreement, event, or other occurrence related to the Debtors taking
place on or before the Effective Date.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to section 1123(b)
of the Bankruptcy Code and Bankruptcy Rule 9019, of the releases described in Article VIII.A of the Plan by
the Debtors, which includes by reference each of the related provisions and definitions contained in the Plan,
and further, shall constitute the Bankruptcy Court’s finding that each release described in Article VIII.A of
the Plan is: (1) in exchange for the good and valuable consideration provided by the Released Parties; (2) a
good-faith settlement and compromise of such Causes of Action; (3) in the best interests of the Debtors and all
Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and made after due notice and
opportunity for hearing; (6) a sound exercise of the Debtors’ business judgment; and (7) except to the extent
contemplated by Article IV.E and Article IV.F of the Plan, a bar to any of the Debtors or Wind-Down Debtors
or their respective Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind,
against any of the Released Parties or their property.

Notwithstanding anything to the contrary contained herein, nothing in the Plan shall release, waive, or
otherwise limit the (i) rights, duties, or obligations of the Purchaser under the Asset Purchase Agreement and
(ii) the Non-Released D&O Claims, but such Non-Released D&O Claims shall remain subject to the limitations
contained in Article IV.E and Article IV.F of the Plan.

Article VIII.B of the Plan contains the following Third-Party Release:

          Except as expressly set forth in the Plan, effective on the Effective Date, in exchange for good and
valuable consideration, the adequacy of which is hereby confirmed, each Released Party is hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by each and all of the Releasing
Parties, in each case on behalf of themselves and their respective successors, assigns, and representatives, from
any and all Causes of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims asserted
or assertable on behalf of any of the Debtors, that such Entity would have been legally entitled to assert in its
own right (whether individually or collectively or on behalf of the Holder of any Claim against, or Interest in,
a Debtor or other Entity), based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their capital structure, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Debtors’ out-of-court restructuring efforts,
intercompany transactions between or among a Debtor and another Debtor, the formulation, preparation,
dissemination, negotiation, filing, or consummation of the Definitive Documents or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Definitive Documents, the pursuit of consummation of the Plan, the administration and
implementation of the Restructuring Transactions, or upon any other act or omission, transaction, agreement,
event, or other occurrence related to the Debtors taking place on or before the Effective Date, provided that




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nothing in Article VIII.B of the Plan shall be construed to release the Released Parties from actual fraud, willful
misconduct, or gross negligence as determined by a Final Order.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in Article VIII.B of the Plan, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
Court’s finding that each release described in Article VIII.B of the Plan is: (1) in exchange for the good and
valuable consideration provided by the Released Parties; (2) a good-faith settlement and compromise of such
Causes of Action; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair,
equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; (6) a sound exercise
of the Debtors’ business judgment; and (7) except to the extent contemplated by Article IV.E and Article IV.F
of the Plan, a bar to any of the Releasing Parties or the Debtors or Wind-Down Debtors or their respective
Estates or Wind-Down Entity asserting any Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.


Article VIII.C of the Plan provides for the following Exculpation:

         Effective as of the Effective Date, to the fullest extent permissible under applicable law and without
affecting or limiting either the Debtor release or the third-party release, and except as otherwise specifically
provided in the Plan, no Exculpated Party shall have or incur, and each Exculpated Party is exculpated from
any Cause of Action for any act or omission arising on or after the Petition Date and prior to the Effective Date
based on the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation or filing, or
consummation of the Disclosure Statement, the Plan, the Special Committee Investigation, any Definitive
Documents or any Restructuring Transaction, contract, instrument, release, or other agreement or document
created or entered into in connection with the Disclosure Statement or the Plan, the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of consummation of the Plan, the administration and
implementation of the Plan, including the issuance of Securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement (including, for the avoidance of doubt, providing any
legal opinion requested by any Entity regarding any transaction, contract, instrument, document, or other
agreement contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the Confirmation
Order in lieu of such legal opinion), except for Causes of Action related to any act or omission that is determined
in a Final Order of a court of competent jurisdiction to have constituted actual fraud, willful misconduct, or
gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the advice of counsel
with respect to their duties and responsibilities pursuant to the Plan.

The Exculpated Parties have, and upon Consummation of the Plan shall be deemed to have, participated in
good faith and in compliance with the applicable laws with regard to the solicitation of votes and distribution
of consideration pursuant to the Plan and, therefore, are not, and on account of such distributions shall not be,
liable at any time for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

Article VIII.D of the Plan provides for the following Injunction:

         The assets of the Debtors and of the Wind-Down Entity shall be used for the satisfaction of expense
obligations and the payment of Claims and Interests only in the manner set forth in the Plan and shall not be
available for any other purpose. All Persons and Entities who have held, hold, or may hold Claims or Interests
based upon any act, omission, transaction, or other activity of any kind or nature related to the Debtors, the
Wind-Down Entity, or the Debtors’ Chapter 11 Cases that occurred prior to the Effective Date, other than as
expressly provided in the Plan or the Confirmation Order, shall be precluded and permanently enjoined on
and after the Effective Date from interfering with the use and distribution of the Debtors’ assets in the manner
contemplated by the Plan.

         In addition, as of the Effective Date and subject to the occurrence of the Effective Date, except as
otherwise specifically provided in the Plan or the Confirmation Order, all Persons and Entities who have held,
hold, or may hold Claims or Interests that are fully satisfied pursuant to the Plan or any Claim or Interest that


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is subject to the releases and exculpations set forth in Article VIII.B and Article VIII.C of the Plan shall be
precluded and permanently enjoined on and after the Effective Date from enforcing, pursuing, or seeking any
setoff or relief with respect to such Claims or Interests, except for the receipt of the payments or distributions
that are contemplated by the Plan.




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Dated: ______________, 2023       /s/ Draft
New York, New York                KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  Joshua A. Sussberg, P.C.
                                  Christopher Marcus, P.C.
                                  Christine A. Okike, P.C.
                                  Allyson B. Smith (admitted pro hac vice)
                                  601 Lexington Avenue
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                                  Telephone:       (212) 446-4800
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                                  Email:           jsussberg@kirkland.com
                                                   cmarcus@kirkland.com
                                                   christine.okike@kirkland.com
                                                   allyson.smith@kirkland.com

                                  Counsel to the Debtors and Debtors in Possession




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                                 Exhibit 7

                           Plan Supplement Notice
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    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
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    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )      Chapter 11
                                                                         )
                                                         1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                              )      Case No. 22-10943 (MEW)
                                                                         )
                                          Debtors.                       )      (Jointly Administered)
                                                                         )

                                    NOTICE OF FILING OF PLAN SUPPLEMENT

PLEASE TAKE NOTICE THAT on [●], 2023, the United States Bankruptcy Court for the Southern District of New
York (the “Court”) entered an order [Docket No. [●]] (the “Disclosure Statement Order”) that (a) conditionally
approved the Second Amended Disclosure Statement Relating to the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. [●]] (as modified,
amended, or supplemented from time to time, the “Disclosure Statement”) for the purposes of solicitation, (b)
authorized the Debtors to solicit votes with regard to the acceptance or rejection of the Third Amended Joint Plan of
Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
[●]] (as modified, amended, or supplemented from time to time, the “Plan”),2 (c) approved the solicitation materials
and documents to be included in the solicitation packages (the “Solicitation Packages”); and (d) approved procedures
for soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan.

PLEASE TAKE FURTHER NOTICE THAT as contemplated by the Plan and the Disclosure Statement Order, the
Debtors filed with the Court the Notice of Assumption of Executory Contracts and Unexpired Leases and Notice of
Assumption and Assignment of Executory Contracts and Unexpired Leases on February 1, 2023, the Customer
Onboarding Protocol and the Schedule of Retained Causes of Action as part of the Plan Supplement on February 8,
2023 [Docket No. [●]], and the remainder of the Plan Supplement on February 15, 2023 [Docket No. [●]]. The Plan
Supplement contains the following documents each as defined in the Plan: (a) the Schedule of Assumed Executory
Contracts and Unexpired Leases; (b) the Schedule of Retained Causes of Action; (c) the Schedule of Assumed and
Assigned Executory Contracts and Unexpired Leases; (d) the Customer Onboarding Protocol; (e) the Restructuring
Transactions Memorandum; (f) the Wind-Down Trust Agreement; and (g) any additional documents necessary to
effectuate or that is contemplated by the Plan, including any compensation program for any of the Debtors’ employees

1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2
       Capitalized terms not otherwise defined herein shall have the meaning given to them in the Debtors’ Motion for Entry of an
       Order (I) Scheduling a Combined Disclosure Statement Approval and Plan Confirmation Hearing (II) Conditionally
       Approving the Adequacy of the Debtors’ Disclosure Statement, (III) Approving (A) Procedures for Solicitation, (B) Forms of
       Ballots and Notices, (C) Procedures for Tabulation of Votes and (D) Procedures for Objections, and (IV) Granting Related
       Relief [Docket No. 779] or the Plan, as applicable.




                                                                1
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to be established as contemplated in the Plan and the Definitive Documents to facilitate the transfer of Acquired Assets
pursuant to the Asset Purchase Agreement and the wind-down of the Debtors’ Estates.

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will consider the adequacy of the
Disclosure Statement and Confirmation of the Plan (the “Combined Hearing”) will commence on March 2, 2023 at
[●] [●].m., prevailing Eastern Time, or such other time that the Court determines, before the Honorable Michael E.
Wiles, in the United States Bankruptcy Court for the Southern District of New York, located at One Bowling Green,
Courtroom 617, New York, New York 10004. In accordance with General Order M-543 dated March 20, 2020, the
Hearing will be conducted telephonically. Any parties wishing to participate must do so by making arrangements
through CourtSolutions by visiting https://www.court-solutions.com.

PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the Plan is February 22, 2023
at 4:00 p.m. prevailing Eastern Time (the “Plan and Disclosure Statement Objection Deadline”). Any objection to
the Plan must: (a) be in writing; (b) conform to the Bankruptcy Rules, the Local Rules, and any orders of the Court;
(c) state, with particularity, the basis and nature of any objection to the Plan and, if practicable, a proposed
modification to the Plan that would resolve such objection; and (d) be filed with the Court (contemporaneously with
a proof of service) and served upon the following parties so as to be actually received on or before February 22,
2023 at 4:00 p.m. prevailing Eastern Time:

                                                        Debtors

                                           Voyager Digital Holdings, Inc.
                                              33 Irving Place, Suite 3060
                                                New York, NY 10003
                                    Attention: Stephen Ehrlich and David Brosgol

                  Counsel to the Debtors                                    Counsel to the Committee

                 Kirkland & Ellis LLP                                    McDermott Will & Emery LLP
                 601 Lexington Avenue                                        One Vanderbilt Avenue
              New York, New York 10022                                     New York, NY 10017-3852
  Attention: Joshua A. Sussberg; Christopher Marcus;           Attention: Darren Azman; Joseph B. Evans; Grayson
          Christine A. Okike; Allyson B. Smith                             Williams; Gregg Steinman

                                                 United States Trustee

                    Office of the United States Trustee for the Southern District of New York
                                            U.S. Federal Office Building
                                           201 Varick Street, Room 1006
                                               New York, NY 10014
                                     Attention: Richard Morrissey; Mark Bruh


PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the Disclosure Statement, the
Plan, the Plan Supplement, or related documents, you should contact Stretto, Inc., the claims, noticing, and solicitation
agent retained by the Debtors in these chapter 11 cases (the “Claims, Noticing, and Solicitation Agent”),
by: (a) calling the Claims, Noticing, and Solicitation Agent at (855) 473-8665 (Toll Free) or +1 (949) 271-6507
(International), (b) e-mailing the Claims, Noticing, and Solicitation Agent at VoyagerInquiries@Stretto.com with a
reference to “In re: Voyager - Solicitation Inquiry” in the subject line, or (c) writing to the Claims, Noticing, and
Solicitation Agent at Voyager Inquiries, c/o Stretto 410 Exchange, Suite 100 Irvine, CA 92602. You may also obtain
copies of any pleadings filed with the Court for free by visiting the Debtors’ restructuring website,
https://cases.stretto.com/Voyager/, or for a fee via PACER at: http://pacer.psc.uscourts.gov.




                                                           2
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ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND INJUNCTION
PROVISIONS, AND ARTICLE VIII.B CONTAINS A THIRD-PARTY RELEASE. THUS, YOU ARE
ADVISED TO REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT
BE AFFECTED THEREUNDER.

YOUR RECOVERY UNDER THE PLAN REMAINS UNAFFECTED WHETHER OR NOT YOU ELECT
TO OPT IN TO THE THIRD-PARTY RELEASE.




                                      3
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Dated: ______________, 2023       /s/ Draft
New York, New York                KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  Joshua A. Sussberg, P.C.
                                  Christopher Marcus, P.C.
                                  Christine A. Okike, P.C.
                                  Allyson B. Smith (admitted pro hac vice)
                                  601 Lexington Avenue
                                  New York, New York 10022
                                  Telephone:       (212) 446-4800
                                  Facsimile:       (212) 446-4900
                                  Email:           jsussberg@kirkland.com
                                                   cmarcus@kirkland.com
                                                   christine.okike@kirkland.com
                                                   allyson.smith@kirkland.com

                                  Counsel to the Debtors and Debtors in Possession




                                              4
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                                  Exhibit 8

       Notice of Rejection of Executory Contracts and Unexpired Leases
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                                                     Pg 103 of 114


    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    601 Lexington Avenue
    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )      Chapter 11
                                                                         )
                                                         1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                              )      Case No. 22-10943 (MEW)
                                                                         )
                                          Debtors.                       )      (Jointly Administered)
                                                                         )

                           NOTICE REGARDING EXECUTORY CONTRACTS
                   AND UNEXPIRED LEASES TO BE REJECTED PURSUANT TO THE PLAN

PLEASE TAKE NOTICE THAT on [●], 2023, the United States Bankruptcy Court for the Southern District of New
York (the “Court”) entered an order [Docket No. [●]] (the “Disclosure Statement Order”) that (a) conditionally
approved the Second Amended Disclosure Statement Relating to the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. [●]] (as modified,
amended, or supplemented from time to time, the “Disclosure Statement”) for the purposes of solicitation, (b)
authorized the Debtors to solicit votes with regard to the acceptance or rejection of the Third Amended Joint Plan of
Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
[●]] (as modified, amended, or supplemented from time to time, the “Plan”),2 (c) approved the solicitation materials
and documents to be included in the solicitation packages (the “Solicitation Packages”); and (d) approved procedures
for soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan.

PLEASE TAKE FURTHER NOTICE THAT, on [●], 2023, the Debtors filed the Schedule of Assumed Executory
Contracts and Unexpired Leases and the Schedule of Assumed and Assigned Executory Contracts and Unexpired
Leases (together, the “Assumption Schedules”) with the Court as part of the Plan Supplement for the Third Amended
Joint Chapter 11 Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates [Docket No. [●]] (the “Plan
Supplement”), as contemplated under the Plan. All Executory Contracts and Unexpired Leases that are not being
assumed or assumed and assigned pursuant to the Assumption Schedules are automatically rejected as of the Effective
Date. The determination to reject those Executory Contracts and Unexpired Leases that are not on the Assumption
Schedules is subject to revision.


1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2
       Capitalized terms not otherwise defined herein shall have the meaning given to them in the Debtors’ Motion for Entry of an
       Order (I) Scheduling a Combined Disclosure Statement Approval and Plan Confirmation Hearing, (II) Conditionally
       Approving the Adequacy of the Debtors’ Disclosure Statement, (III) Approving (A) Procedures for Solicitation, (B) Forms of
       Ballots and Notices, (C) Procedures for Tabulation of Votes and (D) Procedures for Objections, and (IV) Granting Related
       Relief [Docket No. 779] or the Plan, as applicable.


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      PLEASE TAKE FURTHER NOTICE THAT YOU ARE RECEIVING THIS NOTICE BECAUSE
THE DEBTORS’ RECORDS REFLECT THAT YOU ARE A PARTY TO AN EXECUTORY CONTRACT
 OR UNEXPIRED LEASE THAT WILL BE REJECTED PURSUANT TO THE PLAN. THEREFORE,
YOU ARE ADVISED TO REVIEW CAREFULLY THE INFORMATION CONTAINED IN THIS NOTICE
                   AND THE RELATED PROVISIONS OF THE PLAN.3

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will consider the adequacy of the
Disclosure Statement and Confirmation of the Plan (the “Combined Hearing”) will commence on March 2, 2023 at
[●]:00 [●].m., prevailing Eastern Time, or such other time that the Court determines, before the Honorable Michael
E. Wiles, in the United States Bankruptcy Court for the Southern District of New York, located at One Bowling Green,
Courtroom 617, New York, New York 10004. In accordance with General Order M-543 dated March 20, 2020, the
Hearing will be conducted telephonically. Any parties wishing to participate must do so by making arrangements
through CourtSolutions by visiting https://www.court-solutions.com.

PLEASE TAKE FURTHER NOTICE THAT all proofs of Claim with respect to Claims arising from the rejection
of Executory Contracts or Unexpired Leases, if any, must be filed with the Court within 30 days after the date of entry
of the order of the Court (including the Confirmation Order) approving such rejection. Any Claims arising from the
rejection of an Executory Contract or Unexpired Lease not filed within such time shall not be enforceable against the
Debtors or the Wind-Down Debtors, their Estates, or their property without the need for any objection by the Wind-
Down Debtors or further notice to, or action, order, or approval of the Court.

PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the Plan is February 22, 2023
at 4:00 p.m, prevailing Eastern Time (the “Plan and Disclosure Statement Objection Deadline”). Any objection to
the Plan must: (a) be in writing; (b) conform to the Bankruptcy Rules, the Local Rules, and any orders of the Court;
(c) state with particularity the basis and nature of any objection to the Plan and, if practicable, a proposed modification
to the Plan that would resolve such objection; and (d) be filed with the Court (contemporaneously with a proof of
service) and served upon the following parties so as to be actually received on or before February 22, 2023 at 4:00
p.m, prevailing Eastern Time:
                                                            Debtors

                                             Voyager Digital Holdings, Inc.
                                                33 Irving Place, Suite 3060
                                                  New York, NY 10003
                                      Attention: Stephen Ehrlich and David Brosgol

                   Counsel to the Debtors                                         Counsel to the Committee

                   Kirkland & Ellis LLP                                       McDermott Will & Emery LLP
                   601 Lexington Avenue                                           One Vanderbilt Avenue
                New York, New York 10022                                        New York, NY 10017-3852
    Attention: Joshua A. Sussberg; Christopher Marcus;              Attention: Darren Azman; Joseph B. Evans; Grayson
            Christine A. Okike; Allyson B. Smith                                Williams; Gregg Steinman




3    Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the Assumed Executory Contract and
     Unexpired Lease List, nor anything contained in the Plan, shall constitute an admission by the Debtors that any such contract
     or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability thereunder.
     Further, the Debtors expressly reserve the right to (a) remove any Executory Contract or Unexpired Lease from the Rejection
     Schedule and assume such Executory Contract or Unexpired Lease pursuant to the terms of the Plan, up until the Effective
     Date and (b) contest any Claim asserted in connection with rejection of any Executory Contract or Unexpired Lease.




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                                                 United States Trustee

                    Office of the United States Trustee for the Southern District of New York
                                            U.S. Federal Office Building
                                           201 Varick Street, Room 1006
                                               New York, NY 10014
                                     Attention: Richard Morrissey; Mark Bruh


PLEASE TAKE FURTHER NOTICE THAT any objections to Plan in connection with the rejection of the
Executory Contract(s) and Unexpired Lease(s) identified above and/or related rejection damages proposed in
connection with the Plan that remain unresolved as of the Combined Hearing will be heard at the Combined Hearing
(or such other date as fixed by the Court).

PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the Disclosure Statement, the
Plan, the Plan Supplement, or related documents, you should contact Stretto, Inc., the claims, noticing, and solicitation
agent retained by the Debtors in these chapter 11 cases (the “Claims, Noticing, and Solicitation Agent”),
by: (a) calling the Claims, Noticing, and Solicitation Agent at (855) 473-8665 (Toll Free) or +1 (949) 271-6507
(International), (b) e-mailing the Claims, Noticing, and Solicitation Agent at VoyagerInquiries@Stretto.com with a
reference to “In re: Voyager - Solicitation Inquiry” in the subject line, or (c) writing to the Claims, Noticing, and
Solicitation Agent at Voyager Inquiries, c/o Stretto 410 Exchange, Suite 100 Irvine, CA 92602. You may also obtain
copies of any pleadings filed with the Court for free by visiting the Debtors’ restructuring website,
https://cases.stretto.com/Voyager/, or for a fee via PACER at: http://pacer.psc.uscourts.gov.

              ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION,
           AND INJUNCTION PROVISIONS, AND ARTICLE VIII.B CONTAINS A THIRD-
       PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN
          CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

 THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY. IF YOU HAVE
   QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN OR ABOUT ANYTHING
STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN ADDITIONAL INFORMATION, CONTACT
                   THE CLAIMS, NOTICING, AND SOLICITATION AGENT.




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  22-10943-mew        Doc 861-1   Filed 01/13/23 Entered 01/13/23 10:54:31           Exhibit
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Dated: ______________, 2023       /s/ Draft
New York, New York                KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  Joshua A. Sussberg, P.C.
                                  Christopher Marcus, P.C.
                                  Christine A. Okike, P.C.
                                  Allyson B. Smith (admitted pro hac vice)
                                  601 Lexington Avenue
                                  New York, New York 10022
                                  Telephone:       (212) 446-4800
                                  Facsimile:       (212) 446-4900
                                  Email:           jsussberg@kirkland.com
                                                   cmarcus@kirkland.com
                                                   christine.okike@kirkland.com
                                                   allyson.smith@kirkland.com

                                  Counsel to the Debtors and Debtors in Possession




                                              4
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                                   Exhibit 9
Notice of Assumption and Assignment of Executory Contracts and Unexpired Leases
                          (Asset Purchase Agreement)
      22-10943-mew             Doc 861-1          Filed 01/13/23 Entered 01/13/23 10:54:31                           Exhibit
                                                      Pg 108 of 114


    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    601 Lexington Avenue
    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          )
    In re:                                                                )      Chapter 11
                                                                          )
    VOYAGER DIGITAL HOLDINGS, INC., et al.,1                              )      Case No. 22-10943 (MEW)
                                                                          )
                                           Debtors.                       )      (Jointly Administered)
                                                                          )

                                     NOTICE TO CONTRACT PARTIES
                            TO POTENTIALLY ASSUMED EXECUTORY CONTRACTS

                              YOU ARE RECEIVING THIS NOTICE BECAUSE
                         YOU OR ONE OF YOUR AFFILIATES IS A COUNTERPARTY
                           TO AN EXECUTORY CONTRACT WITH ONE OR MORE
                    OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.
         PLEASE TAKE NOTICE that on December 21, 2022, the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of an Order (I) Authorizing Entry Into the
                                                                                                          2
Binance US Purchase Agreement and (II) Granting Related Relief [Docket No. [●]] (the “APA Motion”), authorizing
the Debtors to, among other things, enter into the Asset Purchase Agreement between the Debtors and BAM Trading
Services Inc. (d/b/a Binance.US) (“Binance US”) for the sale of substantially all of the Debtors’ assets. The Debtors
will consummate the sale transaction provided therein pursuant to a chapter 11 plan.3




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2      Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Plan (as defined herein)
       or the APA Motion.

3      On December 21, 2022, the Debtors filed the Third Amended Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor
       Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 777] (as modified, amended, or supplemented from
       time to time, the “Plan”).


                                                                 1
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PLEASE TAKE FURTHER NOTICE that, pursuant to the APA Motion and the terms of the Asset Purchase
Agreement, the Debtors will assume and assign to Binance US certain contracts (the “Assigned Contracts”) listed on
the Schedule of Assumed and Assigned Executory Contracts and Unexpired Leases (the “Assigned Contract
Schedule”) filed with the Court as part of the Plan Supplement for the Third Amended Joint Chapter 11 Plan of
Voyager Digital Holdings, Inc. and Its Debtor Affiliates [Docket No. [●]] (the “Plan Supplement”), one or more of
which you are a counterparty, upon approval of the Sale. The Assigned Contracts Schedule can also be viewed on the
Debtors’ case website (https://cases.stretto.com/Voyager/). The Debtors have conducted a review of their books and
records and have determined that the cure amount for unpaid monetary obligations under such Assigned Contracts is
as set forth on Exhibit A attached hereto (the “Cure Costs”).

PLEASE TAKE FURTHER NOTICE that if you disagree with the proposed Cure Costs, object to a proposed
assignment to Binance US of any Assigned Contract, or object to the ability of Binance US to provide adequate
assurance of future performance with respect to any Assigned Contract, your objection (a “Cure Objection”) must:
(i) be in writing; (ii) conform to the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the
Southern District of New York, and all General Orders applicable to chapter 11 cases in the United States Bankruptcy
Court for the Southern District of New York; (iii) state with specificity the nature of the objection and, if the objection
pertains to the proposed Cure Costs, state the correct cure amount alleged to be owed to the objecting contract
counterparty, together with any applicable and appropriate documentation in support thereof; (iv) be filed
electronically with the Court on the docket of In re Voyager Digital Holdings, Inc., No. 22-10943 (MEW) by registered
users of the Court’s electronic filing system and in accordance with all General Orders applicable to chapter 11 cases
in the United States Bankruptcy Court for the Southern District of New York (the “Court”) (which are available on
the Court’s website at http://www.nysb.uscourts.gov); and (v) be served so as to be actually received by
February 22, 2023, at 4:00 p.m., prevailing Eastern Time (the “Cure Objection Deadline”), on counsel for the
Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A. Sussberg
(jsussberg@kirkland.com);          Christopher       Marcus       (cmarcus@kirkland.com);           Christine        Okike
(christine.okike@kirkland.com); and Allyson B. Smith (allyson.smith@kirkland.com).

PLEASE TAKE FURTHER NOTICE that if no objection to (a) the Cure Costs, (b) the proposed assignment and
assumption of any Assigned Contract, or (c) adequate assurance of Binance US’s ability to perform is filed by the
Cure Objection Deadline, then (i) you will be deemed to have stipulated that the Cure Costs as determined by the
Debtors are correct, (ii) you will be forever barred, estopped, and enjoined from asserting any additional cure amount
under the proposed Assigned Contract, and (iii) you will be forever barred, estopped, and enjoined from objecting to
such proposed assignment to Biance US on the grounds that Binance US has not provided adequate assurance of future
performance as of the closing date of the Sale.

PLEASE TAKE FURTHER NOTICE that any Cure Objection in connection with the Asset Purchase Agreement
that otherwise complies with these procedures yet remains unresolved as of the commencement of the Hearing, shall
be heard at the Hearing or a later date to be fixed by the Court.

PLEASE TAKE FURTHER NOTICE that, notwithstanding anything herein, the mere listing of any Assigned
Contract on the Assigned Contracts Schedule does not require or guarantee that such Assigned Contract will be
assumed by the Debtors at any time or assumed and assigned, and all rights of the Debtors and Binance US with
respect to such Assigned Contract are reserved. Moreover, the Debtors explicitly reserve their rights, in their
reasonable discretion, to seek to reject or assume each Assigned Contract pursuant to section 365(a) of the Bankruptcy
Code and in accordance with the procedures allowing the Debtors and/or Binance US, as applicable, to designate any
Assigned Contract as either rejected or assumed on a post-closing basis.

PLEASE TAKE FURTHER NOTICE that, nothing herein (i) alters in any way the prepetition nature of the
Assigned Contracts or the validity, priority, or amount of any claims of a counterparty to any Assigned Contract
against the Debtors that may arise under such Assigned Contract, (ii) creates a postpetition contract or agreement, or
(iii) elevates to administrative expense priority any claims of a counterparty to any Assigned Contract against the
Debtors that may arise under such Assigned Contract.


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                                                            2
  22-10943-mew        Doc 861-1   Filed 01/13/23 Entered 01/13/23 10:54:31           Exhibit
                                      Pg 110 of 114



Dated: __________, 2023           /s/ Draft
New York, New York                KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  Joshua A. Sussberg, P.C.
                                  Christopher Marcus, P.C.
                                  Christine A. Okike, P.C.
                                  Allyson B. Smith (admitted pro hac vice)
                                  601 Lexington Avenue
                                  New York, New York 10022
                                  Telephone:       (212) 446-4800
                                  Facsimile:       (212) 446-4900
                                  Email:           jsussberg@kirkland.com
                                                   cmarcus@kirkland.com
                                                   christine.okike@kirkland.com
                                                   allyson.smith@kirkland.com

                                  Counsel to the Debtors and Debtors in Possession




                                              3
22-10943-mew   Doc 861-1    Filed 01/13/23 Entered 01/13/23 10:54:31      Exhibit
                                Pg 111 of 114




                                  Exhibit 10
       Notice of Assumption of Executory Contracts and Unexpired Leases
                              (Wind-Down Entity)
      22-10943-mew            Doc 861-1          Filed 01/13/23 Entered 01/13/23 10:54:31                          Exhibit
                                                     Pg 112 of 114




    Joshua A. Sussberg, P.C.
    Christopher Marcus, P.C.
    Christine A. Okike, P.C.
    Allyson B. Smith (admitted pro hac vice)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    601 Lexington Avenue
    New York, New York 10022
    Telephone:       (212) 446-4800
    Facsimile:       (212) 446-4900

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )      Chapter 11
                                                                         )
    VOYAGER DIGITAL HOLDINGS, INC., et al.,1                             )      Case No. 22-10943 (MEW)
                                                                         )
                                          Debtors.                       )      (Jointly Administered)
                                                                         )

                                     NOTICE TO CONTRACT PARTIES
                            TO POTENTIALLY ASSUMED EXECUTORY CONTRACTS

PLEASE TAKE NOTICE THAT on [●], 2023, the United States Bankruptcy Court for the Southern District of New
York (the “Court”) entered an order [Docket No. [●]] (the “Disclosure Statement Order”) that (a) conditionally
approved the Second Amended Disclosure Statement Relating to the Third Amended Joint Plan of Voyager Digital
Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. [●]] (as modified,
amended, or supplemented from time to time, the “Disclosure Statement”), for the purposes of solicitation, (b)
authorized the Debtors to solicit votes with regard to the acceptance or rejection of the Third Amended Joint Plan of
Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
[●]] (as modified, amended, or supplemented from time to time, the “Plan”),2 (c) approved the solicitation materials
and documents to be included in the solicitation packages (the “Solicitation Packages”); and (d) approved procedures
for soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan.

PLEASE TAKE FURTHER NOTICE THAT, on [●], 2023, the Debtors filed the Schedule of Assumed Executory
Contracts and Unexpired Leases (the “Assumed Contracts Schedule”) with the Court as part of the Plan Supplement
for the Third Amended Joint Chapter 11 Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates [Docket
No. [●]] (the “Plan Supplement”), as contemplated under the Plan.

PLEASE TAKE FURTHER NOTICE that, on the Effective Date, the Wind-Down Entity will assume the contracts
(the “Assumed Contracts”) listed on the Assumed Contracts Schedule, attached hereto as Exhibit A, one of more of

1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
       are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013). The location of
       the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.

2
       Capitalized terms not otherwise defined herein shall have the meaning given to them in the Debtors’ Motion for Entry of an
       Order (I) Scheduling a Combined Disclosure Statement Approval and Plan Confirmation Hearing (II) Conditionally
       Approving the Adequacy of the Debtors’ Disclosure Statement, (III) Approving (A) Procedures for Solicitation, (B) Forms of
       Ballots and Notices, (C) Procedures for Tabulation of Votes and (D) Procedures for Objections, and (IV) Granting Related
       Relief [Docket No. 779] or the Plan, as applicable.


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which you are a counterparty. The Assumed Contracts Schedule can also be viewed on the Debtors’ case website
(https://cases.stretto.com/Voyager/). The Debtors have conducted a review of their books and records and have
determined that the cure amounts for unpaid monetary obligations under such Assumed Contracts are as set forth on
Exhibit A attached hereto (the “Cure Costs”).

PLEASE TAKE FURTHER NOTICE that if you disagree with the proposed Cure Costs, your objection (a “Cure
Objection”) must: (i) be in writing; (ii) conform to the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy
Rules for the Southern District of New York, and all General Orders applicable to chapter 11 cases in the United States
Bankruptcy Court for the Southern District of New York; (iii) state with specificity the nature of the objection and, if
the objection pertains to the proposed Cure Costs, state the correct cure amount alleged to be owed to the objecting
contract counterparty, together with any applicable and appropriate documentation in support thereof; (iv) be filed
electronically with the Court on the docket of In re Voyager Digital Holdings, Inc., No. 22-10943 (MEW) by registered
users of the Court’s electronic filing system and in accordance with all General Orders applicable to chapter 11 cases
in the United States Bankruptcy Court for the Southern District of New York (the “Court”) (which are available on
the Court’s website at http://www.nysb.uscourts.gov); and (v) be served so as to be actually received by February
22, 2023, at 4:00 p.m., prevailing Eastern Time (the “Cure Objection Deadline”), on counsel for the Debtors,
Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A. Sussberg
(jsussberg@kirkland.com);          Christopher       Marcus       (cmarcus@kirkland.com);         Christine      Okike
(christine.okike@kirkland.com); and Allyson B. Smith (allyson.smith@kirkland.com.

PLEASE TAKE FURTHER NOTICE that if no objection to is filed by the Cure Objection Deadline, then (i) you
will be deemed to have stipulated that the Cure Costs as determined by the Debtors are correct, (ii) you will be forever
barred, estopped, and enjoined from asserting any additional cure amount under the proposed Assumed Contract, and
(iii) you will be forever barred, estopped, and enjoined from objecting to such proposed assumption.

PLEASE TAKE FURTHER NOTICE that any Cure Objection that otherwise complies with these procedures yet
remains unresolved as of the commencement of the Combined Hearing, shall be heard at the Combined Hearing or a
later date to be fixed by the Court.

PLEASE TAKE FURTHER NOTICE that, notwithstanding anything herein, the mere listing of any Assumed
Contract on the Assumed Contract Schedule does not require or guarantee that such Assumed Contract will be assumed
by the Debtors at any time or assumed and assigned, and all rights of the Debtors with respect to such Assumed
Contract are reserved. Moreover, the Debtors explicitly reserve their rights, in their reasonable discretion, to seek to
reject or assume each Assumed Contract pursuant to section 365(a) of the Bankruptcy Code and in accordance with
the procedures allowing the Debtors to designate any Assumed Contract as either rejected or assumed on a post-
closing basis.

PLEASE TAKE FURTHER NOTICE that, nothing herein (i) alters in any way the prepetition nature of the
Assumed Contracts or the validity, priority, or amount of any claims of a counterparty to any Assumed Contract
against the Debtors that may arise under such Assumed Contract, (ii) creates a postpetition contract or agreement, or
(iii) elevates to administrative expense priority any claims of a counterparty to any Assumed Contract against the
Debtors that may arise under such Assumed Contract.



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Dated: __________, 2023           /s/ Draft
New York, New York                KIRKLAND & ELLIS LLP
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                                  Christopher Marcus, P.C.
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                                  Counsel to the Debtors and Debtors in Possession




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